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                         Oral Argument Not Yet Scheduled
                                  No. 18-7154




                           d
                                       IN THE


        United States Court of Appeals
               FOR THE DISTRICT OF COLUMBIA CIRCUIT



               PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED,
                                                               Petitioner-Appellee,
                                       —v.—

    FEDERAL REPUBLIC     OF   NIGERIA and MINISTRY OF PETROLEUM RESOURCES
                      OF THE   FEDERAL REPUBLIC OF NIGERIA,
                                                          Respondents-Appellants.


                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                   CASE NO. 18-cv-0594 (HON. CHRISTOPHER R. COOPER)



                                 JOINT APPENDIX


                                           CURTIS, MALLET-PREVOST, COLT
                                           & MOSLE LLP

   KEVIN A. MEEHAN                         JOSEPH D. PIZZURRO
   JUAN O. PERLA                           1717 Pennsylvania Avenue, NW
   101 Park Avenue                         Washington, DC 20006
   New York, NY 10178                      (202) 452-7373
   (212) 696-6000                          jpizzurro@curtis.com

    Attorneys for Respondents-Appellants Federal Republic of Nigeria and Ministry
                of Petroleum Resources of the Federal Republic of Nigeria

                         (Counsel continued on inside cover)
USCA Case #18-7154       Document #1780490   Filed: 04/01/2019   Page 2 of 242


   KOBRE & KIM LLP

   MICHAEL S. KIM
   JOSEF M. KLAZEN
   1919 M Street NW
   Washington, DC 20036
   (202) 664-1900
   michael.kim@kobrekim.com
   josef.klazen@kobrekim.com

            —and—

   DARRYL GLEN STEIN
   800 Third Avenue, 6th Floor
   New York, NY 10022
   (212) 488-1200
   darryl.stein@kobrekim.com

   Attorneys for Petitioner-Appellee
     Process and Industrial
     Developments Limited
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                                                                           APPEAL,STAYED,TYPE−E
                                    U.S. District Court
                         District of Columbia (Washington, DC)
                   CIVIL DOCKET FOR CASE #: 1:18−cv−00594−CRC

  PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED                 Date Filed: 03/16/2018
  v. FEDERAL REPUBLIC OF NIGERIA et al                        Jury Demand: None
  Assigned to: Judge Christopher R. Cooper                    Nature of Suit: 890 Other Statutory
  Case in other court: 18−07154                               Actions
  Cause: 09:0202 Award under Convention on Foreign Arbitral   Jurisdiction: Federal Question
  Awards
  Petitioner
  PROCESS AND INDUSTRIAL                       represented by Michael S. Kim
  DEVELOPMENTS LIMITED                                        KOBRE & KIM LLP
                                                              1919 M Street, NW
                                                              Suite 410
                                                              Washington, DC 20036
                                                              (202) 664−1900
                                                              Fax: (202) 664−1920
                                                              Email: michael.kim@kobrekim.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Josef Maxim Klazen
                                                              KOBRE & KIM LLP
                                                              1919 M Street, NW
                                                              Suite 410
                                                              Washington, DC 20036
                                                              202−664−1900
                                                              Email: jef.klazen@kobrekim.com
                                                              ATTORNEY TO BE NOTICED

                                                              Marcus Johnson Green
                                                              KOBRE & KIM, LLP
                                                              800 Third Avenue
                                                              6th Floor
                                                              New York, NY 10022
                                                              (212) 488−1200
                                                              Email: marcus.green@kobrekim.com
                                                              ATTORNEY TO BE NOTICED


  V.
  Respondent
  FEDERAL REPUBLIC OF NIGERIA                  represented by Joseph Dominic Pizzurro
                                                              CURTIS, MALLET−PREVOST, COLT &
                                                              MOSLE LLP
                                                              1717 Pennsylvania Avenue, NW
                                                              Washington, DC 20006
                                                              (202) 452−7373
                                                              Fax: (202) 452−7333
                                                              Email: jpizzurro@curtis.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Juan Otoniel Perla
                                                              CURTIS, MALLET−PREVOST, COLT &
                                                              MOSLE, LLP
                                                              101 Park Avenue
                                                              New York, NY 10178−0002
                                                              (212)696−6170
                JA-1
        Case: 1:18-cv-00594-CRC As of: 03/25/2019 04:35 PM EDT 2 of 6
USCA Case #18-7154     Document #1780490       Filed: 04/01/2019 Page 6 of 242
                                                                  Fax: (212)697−1559
                                                                  LEAD ATTORNEY
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

                                                                  Kevin Arthur Meehan
                                                                  CURTIS, MALLET−PREVOST, COLT
                                                                  AND MOSLE, LLP
                                                                  101 Park Avenue
                                                                  New York, NY 10178
                                                                  212−696−6000
                                                                  Fax: 212−697−1559
                                                                  LEAD ATTORNEY
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

  Respondent
  MINISTRY OF PETROLEUM                           represented by Joseph Dominic Pizzurro
  RESOURCES OF THE FEDERAL                                       (See above for address)
  REPUBLIC OF NIGERIA                                            LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                  Juan Otoniel Perla
                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

                                                                  Kevin Arthur Meehan
                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED


   Date Filed   #   Docket Text
   03/16/2018    1 PETITION TO CONFIRM ARBITRATION AWARD against FEDERAL REPUBLIC
                   OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA ( Filing fee $ 400 receipt number 0090−5378116) filed by
                   PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED. (Attachments: # 1
                   Summons, # 2 Summons, # 3 Civil Cover Sheet)(Green, Marcus) (Entered:
                   03/16/2018)
   03/16/2018    2 MEMORANDUM re 1 Petition to Confirm Arbitration Award, filed by PROCESS
                   AND INDUSTRIAL DEVELOPMENTS LIMITED by PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED. (Green, Marcus) (Entered: 03/16/2018)
   03/16/2018    3 AFFIDAVIT re 1 Petition to Confirm Arbitration Award, (Declaration of Seamus
                   Ronald Andrew) by PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                   6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                   11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16,
                   # 17 Exhibit 17, # 18 Exhibit 18)(Green, Marcus) (Entered: 03/16/2018)
   03/16/2018    4 AFFIDAVIT re 1 Petition to Confirm Arbitration Award, (Declaration of Marcus J.
                   Green) by PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Green, Marcus) (Entered: 03/16/2018)
   03/16/2018    5 LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                   Interests by PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED (Green,
                   Marcus) (Entered: 03/16/2018)
   03/16/2018       Case Assigned to Judge Christopher R. Cooper. (jd) (Entered: 03/20/2018)


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   03/19/2018    6 ERRATA (Corrected first page of Petition) by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED 1 Petition to Confirm Arbitration Award, filed by
                   PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED. (Attachments: # 1
                   Errata)(Green, Marcus) (Entered: 03/19/2018)
   03/20/2018    7 SUMMONS (2) Issued Electronically as to FEDERAL REPUBLIC OF NIGERIA,
                   MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF
                   NIGERIA. (Additional attachment(s) added on 3/20/2018: # 1 Notice and Consent)
                   (jd) (Entered: 03/20/2018)
   03/20/2018    8 AFFIDAVIT REQUESTING FOREIGN MAILING re 1 Petition to Confirm
                   Arbitration Award, 7 Summons Issued Electronically by PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED. (Green, Marcus) (Entered: 03/20/2018)
   03/22/2018    9 REQUEST from Plaintiff's for the Clerk to effect service of one copy of the summons,
                   complaint, and notice of suit, together with a translation of each into the official
                   language of the foreign state, by FEDEX, to the head of the ministry of foreign affairs,
                   pursuant to 28 U.S.C. 1608(a)(3). (See docket entry no. 8 to view.) (td) (Entered:
                   03/22/2018)
   03/22/2018   10 CERTIFICATE OF CLERK of mailing one copy of the summons and complaint,
                   together with a translation of each into the official language of the foreign state on
                   3/22/18, by FEDEX, to the agency or instrumentality of the foreign state, pursuant to
                   28 U.S.C. 1608(a)(3). (Attachments: # 1 FedEx Mailing Labels) (td) (Entered:
                   03/22/2018)
   04/16/2018   11 NOTICE of Appearance by Michael S. Kim on behalf of PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED (Kim, Michael) (Entered: 04/16/2018)
   04/16/2018   12 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to
                   FEDERAL REPUBLIC OF NIGERIA served on 3/27/2018, answer due 5/26/2018;
                   MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF
                   NIGERIA served on 3/27/2018, answer due 5/26/2018. (Kim, Michael) (Entered:
                   04/16/2018)
   05/29/2018   13 NOTICE of Appearance by Josef Maxim Klazen on behalf of PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED (Klazen, Josef) (Entered: 05/29/2018)
   06/04/2018   14 AFFIDAVIT FOR Default by PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Klazen, Josef) Modified text on
                   6/8/2018 (ztd). (Entered: 06/04/2018)
   06/05/2018       NOTICE OF ERROR re 14 Motion for Entry of Default; emailed to
                    josef.klazen@kobrekim.com, cc'd 2 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Do Not Refile. In the future, please use the default forms
                    on the courts website. (ztd, ) (Entered: 06/05/2018)
   06/05/2018   15 SET ASIDE PURSUANT TO MINUTE ORDER FILED 7/13/18. . . . . Clerk's
                   ENTRY OF DEFAULT as to FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                   PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA (ztd)
                   Modified on 7/16/2018 (ztd). (Entered: 06/05/2018)
   06/12/2018   16 NOTICE of Appearance by Joseph Dominic Pizzurro on behalf of FEDERAL
                   REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE
                   FEDERAL REPUBLIC OF NIGERIA (Pizzurro, Joseph) (Entered: 06/12/2018)
   06/12/2018   17 MOTION to Set Aside Default , MOTION to Dismiss by FEDERAL REPUBLIC OF
                   NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA (Attachments: # 1 Memorandum in Support, # 2
                   Declaration −Joseph D. Pizzurro, # 3 Exhibit −1, # 4 Exhibit −2, # 5 Text of Proposed
                   Order, # 6 Certificate of Service)(Pizzurro, Joseph) (Entered: 06/12/2018)
   06/14/2018   18 NOTICE Request to Issue Additional Summonses by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED (Klazen, Josef) (Entered: 06/14/2018)
   06/14/2018   19 REQUEST FOR SUMMONS TO ISSUE Additional Summonses re 18 Notice (Other)
                   filed by PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED. Related
                   document: 18 Notice (Other) filed by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED.(Klazen, Josef) (Entered: 06/14/2018)
                JA-3
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   06/18/2018   20 Summons (2) Issued as to FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                   PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA. (ztd)
                   (Entered: 06/18/2018)
   06/18/2018   21 AFFIDAVIT REQUESTING FOREIGN MAILING re 1 Petition to Confirm
                   Arbitration Award, 20 Summons Issued by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED. (Kim, Michael) (Entered: 06/18/2018)
   06/21/2018   22 REQUEST from Plaintiff's for the Clerk to effect service upon defendants of one copy
                   of the summons, complaint, and notice of suit, together with a translation of each into
                   the official language of the foreign state, by FEDEX, to the head of the ministry of
                   foreign affairs, pursuant to 28 U.S.C. 1608(a)(3). (SEE DOCKET ENTRY NO. 21 TO
                   VIEW.) (ztd) (Entered: 06/21/2018)
   06/21/2018   23 CERTIFICATE OF CLERK of mailing one copy of the summons and complaint,
                   together with a translation of each into the official language of the foreign state, upon
                   defendants, on 6/21/18, by FEDEX, to the agency or instrumentality of the foreign
                   state, pursuant to 28 U.S.C. 1608(a)(3). (Attachments: # 1 FedEx Mailing Waybills)
                   (ztd) (Entered: 06/21/2018)
   06/26/2018   24 Memorandum in opposition to re 17 MOTION to Set Aside Default MOTION to
                   Dismiss filed by PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED.
                   (Attachments: # 1 Declaration, # 2 Exhibit 1 to Declaration, # 3 Exhibit 2 to
                   Declaration, # 4 Certificate of Service)(Klazen, Josef) (Entered: 06/26/2018)
   06/29/2018   25 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to
                   FEDERAL REPUBLIC OF NIGERIA served on 6/27/2018, answer due 8/26/2018;
                   MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF
                   NIGERIA served on 6/27/2018, answer due 8/26/2018. (Klazen, Josef) (Entered:
                   06/29/2018)
   07/03/2018   26 REPLY to opposition to motion re 17 MOTION to Set Aside Default MOTION to
                   Dismiss filed by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                   PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA.
                   (Pizzurro, Joseph) (Entered: 07/03/2018)
   07/06/2018   27 DECLARATION of Service by Josef M. Klazen of Summons and Complaint
                   Executed as to (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Klazen, Josef) Modified
                   text on 7/13/2018 (ztd). (Entered: 07/06/2018)
   07/13/2018       MINUTE ORDER granting in part and denying in part 17 Respondents' Motion to Set
                    Aside the Clerk's Entry of Default and To Dismiss. The motion is GRANTED to the
                    extent it seeks to set aside the Clerk's entry of default because Petitioner did not
                    properly effectuate service of process under 28 U.S.C. section 1608(a)(3) by
                    addressing the process documents to the "head of the ministry of foreign affairs." See
                    Barot v. Embassy of Zambia, 785 F.3d 26, 27 (D.C. Cir. 2015) (finding that strict
                    adherence to 1608(a) is required). (The Court would have set aside entry of default in
                    any case in light of Nigeria's recent appearance in the case, belated as it may be.) The
                    motion is DENIED to the extent it seeks dismissal of the petition. Signed by Judge
                    Christopher R. Cooper on 7/13/2018. (lccrc3) (Entered: 07/13/2018)
   08/27/2018   28 MOTION to Dismiss for Lack of Jurisdiction Under The FSIA by FEDERAL
                   REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE
                   FEDERAL REPUBLIC OF NIGERIA (Attachments: # 1 Memorandum in Support, #
                   2 Declaration −Joseph D. Pizzurro, # 3 Exhibit −A, # 4 Exhibit −B, # 5 Text of
                   Proposed Order, # 6 Certificate of Service)(Pizzurro, Joseph) (Entered: 08/27/2018)
   08/27/2018   29 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Kevin Arthur Meehan,
                   :Firm− Curtis, Mallet−Prevost, Colt & Mosle LLP, :Address− 101 Park Avenue, NY,
                   NY 10178. Phone No. − 212−696−6197. Fax No. − 917−368−8835 Filing fee $ 100,
                   receipt number 0090−5659476. Fee Status: Fee Paid. by FEDERAL REPUBLIC OF
                   NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA (Attachments: # 1 Declaration −Kevin Arthur Meehan, # 2
                   Text of Proposed Order, # 3 Certificate of Service)(Pizzurro, Joseph) (Entered:
                   08/27/2018)
   08/27/2018   30 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Juan Otoniel Perla,
                   :Firm− Curtis, Mallet−Prevost, Colt & Mosle LLP, :Address− 101 Park Avenue, NY,
                JA-4
        Case: 1:18-cv-00594-CRC As of: 03/25/2019 04:35 PM EDT 5 of 6
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                    NY 10178. Phone No. − 212−696−6084. Fax No. − 212−697−1559 Filing fee $ 100,
                    receipt number 0090−5659557. Fee Status: Fee Paid. by FEDERAL REPUBLIC OF
                    NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                    REPUBLIC OF NIGERIA (Attachments: # 1 Declaration −Juan Otoniel Perla, # 2
                    Text of Proposed Order, # 3 Certificate of Service)(Pizzurro, Joseph) (Entered:
                    08/27/2018)
   08/28/2018       MINUTE ORDER: Upon consideration of the Respondents' Motion 30 for Admission
                    of Attorney Juan Otoniel Perla Pro Hac Vice, it is hereby ORDERED that the Motion
                    is GRANTED. Signed by Judge Christopher R. Cooper on 08/28/2018. (lccrc3)
                    Modified on 8/29/2018 (zlsj). (Entered: 08/28/2018)
   08/28/2018       MINUTE ORDER: Upon consideration of the Respondents' Motion 29 for Admission
                    of Attorney Kevin Arthur Meehan Pro Hac Vice, it is hereby ORDERED that the
                    Motion is GRANTED. Signed by Judge Christopher R. Cooper on 08/28/2018.
                    (lccrc3) Modified on 8/29/2018 (zlsj). (Entered: 08/28/2018)
   09/05/2018   31 MOTION for Briefing Schedule by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED (Attachments: # 1 Text of Proposed Order, # 2
                   Certificate of Service)(Klazen, Josef) (Entered: 09/05/2018)
   09/06/2018       MINUTE ORDER: Defendants shall file any opposition to Plaintiff's 31 Motion for
                    Setting a Briefing Schedule on or before September 11, 2018 and Plaintiff shall file
                    any reply on or before September 14, 2018. Plaintiff's deadline for opposing
                    Defendants' 28 Motion to Dismiss is hereby vacated until further order of the Court.
                    So Ordered. Signed by Judge Christopher R. Cooper on 09/06/2018. (lccrc3) (Entered:
                    09/06/2018)
   09/11/2018   32 Memorandum in opposition to re 31 MOTION for Briefing Schedule filed by
                   FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES
                   OF THE FEDERAL REPUBLIC OF NIGERIA. (Attachments: # 1 Text of Proposed
                   Order, # 2 Certificate of Service)(Pizzurro, Joseph) (Entered: 09/11/2018)
   09/14/2018   33 REPLY to opposition to motion re 31 MOTION for Briefing Schedule On the Petition
                   to Confirm Arbitration Award filed by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED. (Attachments: # 1 Certificate of Service)(Klazen,
                   Josef) (Entered: 09/14/2018)
   10/01/2018   34 ORDER granting 31 Motion for Briefing Schedule. It is hereby ORDERED that the
                   parties shall adhere to a briefing schedule as follows: Respondents shall file their
                   opposition to 1 Petition to Confirm Arbitration Award on or before October 31, 2018;
                   Petitioner shall file its reply on or before November 21, 2018. See full Order for
                   details. Signed by Judge Christopher R. Cooper on 10/1/2018. (lccrc3) (Entered:
                   10/01/2018)
   10/02/2018       Set/Reset Deadlines: Respondent's Opposition to Petition due by 10/31/2018.
                    Petitioner's Reply due by 11/21/2018. (lsj) (Entered: 10/02/2018)
   10/04/2018       MINUTE ORDER: A hearing on the Petition to Confirm Arbitration Award is set for
                    December 20, 2018 at 10 AM in Courtroom 27A. Signed by Judge Christopher R.
                    Cooper on 10/04/2018. (lccrc3) (Entered: 10/04/2018)
   10/04/2018       Set/Reset Hearings: Petition Hearing set for 12/20/2018 at 10:00 AM in Courtroom
                    27A before Judge Christopher R. Cooper. (lsj) (Entered: 10/04/2018)
   10/05/2018   35 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 34 Order on Motion for
                   Briefing Schedule, by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                   PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA. Filing
                   fee $ 505, receipt number 0090−5725071. Fee Status: Fee Paid. Parties have been
                   notified. (Pizzurro, Joseph) (Entered: 10/05/2018)
   10/09/2018   36 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                   Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid this date
                   10/5/18 re 35 Notice of Appeal to DC Circuit Court,. (ztd) (Entered: 10/09/2018)
   10/09/2018       MINUTE ORDER: In light of Respondents' 35 Notice of Appeal, it is hereby
                    ORDERED that the case is stayed until further notice and the hearing scheduled for
                    December 20, 2018 is vacated. Signed by Judge Christopher R. Cooper on 10/09/2018.

                JA-5
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                    (lccrc3) Modified on 10/9/2018 (lsj). (Entered: 10/09/2018)
   10/15/2018   37 MOTION to Certify Appeal as Invalid or Frivolous, Retain Jurisdiction, and Lift Stay
                   re 35 Notice of Appeal to DC Circuit Court, by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED (Attachments: # 1 Text of Proposed Order, # 2
                   Certificate of Service)(Klazen, Josef). Added MOTION to Lift Stay on 10/22/2018
                   (ztd). (Entered: 10/15/2018)
   10/16/2018       USCA Case Number 18−7154 for 35 Notice of Appeal to DC Circuit Court, filed by
                    MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF
                    NIGERIA, FEDERAL REPUBLIC OF NIGERIA. (jf) (Entered: 10/16/2018)
   10/17/2018       MINUTE ORDER: Respondents shall file any response to 37 Petitioner's Motion to
                    Retain Jurisdiction and Lift Stay by 5 P.M. on October 19, 2018; Petitioner shall file
                    any reply by 5 P.M. on October 23, 2018. Signed by Judge Christopher R. Cooper on
                    10/17/2018. (lccrc3) (Entered: 10/17/2018)
   10/17/2018       Set/Reset Deadlines: Respondents' Response due by 10/19/2018. Petitioner's Reply
                    due by 10/23/2018. (lsj) (Entered: 10/17/2018)
   10/19/2018   38 Memorandum in opposition to re 37 MOTION to Certify Appeal as Invalid or
                   Frivolous, Retain Jurisdiction, and Lift Stay re 35 Notice of Appeal to DC Circuit
                   Court, filed by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM
                   RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA. (Attachments: # 1
                   Text of Proposed Order, # 2 Certificate of Service)(Pizzurro, Joseph) (Entered:
                   10/19/2018)
   10/23/2018   39 REPLY to opposition to motion re 37 MOTION to Certify Appeal as Invalid or
                   Frivolous, Retain Jurisdiction, and Lift Stay re 35 Notice of Appeal to DC Circuit
                   Court, MOTION to Lift Stay filed by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED. (Attachments: # 1 Certificate of Service)(Klazen,
                   Josef) (Entered: 10/23/2018)
   11/01/2018   40 OPINION and ORDER denying 37 Motion to Certify Respondents' Appeal as Invalid
                   or Frivolous, Retain Jurisdiction, and Lift Stay. Signed by Judge Christopher R.
                   Cooper on 11/01/2018. (lccrc3) (Entered: 11/01/2018)




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 UNITED STATES DISTRICT COURT
 DISTRICT OF COLUMBIA
 ------------------------------------ x
 PROCESS AND INDUSTRIAL
 DEVELOPMENTS LIMITED,                :

                               Petitioner,            :

 v.                                                   :
                                                            Civil Action No. 18-594
 FEDERAL REPUBLIC OF NIGERIA and    :
 MINISTRY OF PETROLEUM RESOURCES OF
 THE FEDERAL REPUBLIC OF NIGERIA,   :

                      Respondents.    :
 ------------------------------------ x


                    PETITION TO CONFIRM ARBITRATION AWARD

        Petitioner Process and Industrial Developments Limited (“P&ID”) hereby petitions this

 Court for an order and judgment confirming a final, binding arbitration award (the “Final

 Award”) issued in London, England, on January 31, 2017, by a duly constituted arbitral tribunal

 (the “Tribunal”) in In the Matter of the Arbitration Act 1996 (England & Wales) and In the

 Matter of an Arbitration Under the Rules of the Nigerian Arbitration and Conciliation Act (Cap

 A18 LFN 2004) Between Process and Industrial Developments Limited, Claimant, and the

 Ministry of Petroleum Resources of the Federal Republic of Nigeria, Respondent (the

 “Arbitration”). A duly certified true and correct copy of the Final Award is attached as Exhibit

 17 to the accompanying Declaration of Seamus Ronald Andrew, dated March 16, 2018 (the

 “Andrew Declaration”). In support of this Petition, P&ID respectfully states as follows:

                                             THE PARTIES

        1.      Petitioner P&ID is an engineering and project management company organized

 and existing under the laws of the British Virgin Islands. P&ID was created in 2006 as a vehicle




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 for implementing a project devised by two Irish nationals who had been involved in major

 engineering and infrastructure projects in Nigeria for several decades. In 2010, P&ID entered

 into a contract with Nigeria’s Ministry of Petroleum Resources, acting for and on behalf of the

 Federal Government of Nigeria, whereby P&ID would help Nigeria harness abundant natural gas

 reserves to solve the growing electricity crisis in Nigeria. When Nigeria failed to perform its

 contractual obligations, P&ID commenced an arbitration pursuant to the contract’s arbitration

 clause, resulting in the Final Award that remains unpaid and that P&ID is now seeking to enforce

 in the United States.

        2.      Respondent Federal Republic of Nigeria (the “Republic” or “FRN”) is a “foreign

 state” within the meaning of the Foreign Sovereign Immunities Act. See 28 U.S.C. § 1603(a).

 Respondent Ministry of Petroleum Resources of the Federal Republic of Nigeria (the “Ministry”)

 is a political organ of the Republic and does not have a separate legal personality. As Nigeria

 explained in the arbitration: “The [Ministry] is a policy instrument of the government of the

 Federal Republic of Nigeria; it is not a juristic person.” (Andrew Decl. Ex. 4 at 4 (Notice of

 Preliminary Objection dated October 3, 2013).)

        3.      In the Arbitration and in the Final Award, the Ministry was named as the

 respondent, as it had entered into the underlying contract in its name, for and on behalf of the

 Federal Government of Nigeria. Because the Ministry is part of the Republic and does not have

 a separate legal personality, P&ID hereby seeks entry of judgment against the Republic as well

 as the Ministry. This Petition will refer to the Ministry and the Republic collectively as

 “Nigeria.”




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                                  JURISDICTION AND VENUE

        4.      This proceeding arises under the 1958 Convention on the Recognition and

 Enforcement of Foreign Arbitral Awards (the “New York Convention”). Chapter 2 of the

 Federal Arbitration Act, codified at 9 U.S.C. § 201 et seq., applies the New York Convention to

 award-recognition actions brought in the courts of the United States.

        5.      This Court has jurisdiction over the subject matter of this proceeding under 9

 U.S.C. § 203, which provides that “[t]he district courts of the United States . . . have original

 jurisdiction over” any “action or proceeding falling under the [New York] Convention.” This

 proceeding “fall[s] under the Convention” because it arises out of a commercial contract between

 P&ID and Nigeria, neither of which are citizens of the United States. See 9 U.S.C. § 202. In

 addition, the Final Award was made in the territory of the United Kingdom, a nation that is a

 contracting State to the New York Convention, and which is a State other than the State where

 P&ID seeks recognition and enforcement.

        6.      The Court also has jurisdiction over the subject matter of this proceeding under 28

 U.S.C. § 1330(a), as Nigeria is not entitled to sovereign immunity in connection with the cause

 of action set forth herein. Specifically, Nigeria is not immune for two independent reasons.

 First, Nigeria is subject to this Court’s jurisdiction under 28 U.S.C. § 1605(a)(6), which creates

 an exception to foreign states’ sovereign immunity for cases brought to confirm arbitral awards

 “governed by a treaty or other international agreement in force for the United States calling for

 recognition and enforcement of arbitral awards.” As noted above, the Final Award in this case is

 governed by the New York Convention, an international agreement of the type contemplated by

 Section 1605(a)(6). Second, Nigeria is subject to this Court’s jurisdiction under 28 U.S.C.




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 § 1605(a)(1), because Nigeria’s signing an agreement to arbitrate waived its sovereign immunity

 as to any action to confirm an award issued pursuant to that agreement.

        7.      This Court has personal jurisdiction over Nigeria under 28 U.S.C. § 1330(b),

 which confers “[p]ersonal jurisdiction over a foreign state . . . as to every claim for relief” for

 which the foreign state does not enjoy sovereign immunity under 28 U.S.C. §§ 1605–1607, and

 over which the Court has subject matter jurisdiction.

        8.      Venue is proper in this District under 9 U.S.C. § 204 and 28 U.S.C. § 1391(f)(4).

 Section 1391(f)(4) provides that venue lies in this District for any action “brought against a

 foreign state or political subdivision thereof.”

                                    FACTUAL BACKGROUND

        9.      The Final Award results from a dispute between P&ID and Nigeria that arose

 under a Gas Supply and Processing Agreement dated January 11, 2010 (the “Agreement”). The

 descriptions of the respective parties in the Agreement were P&ID and “The Ministry of

 Petroleum Resources for and on behalf of the Federal Government of Nigeria.” A duly certified

 true and correct copy of the Agreement is attached to the Andrew Declaration as Exhibit 1.

        10.     The Agreement set forth the terms of an arrangement under which P&ID would

 build the necessary facilities and, over a period of 20 years, refine associated natural gas (also

 known as “wet gas”) into non-associated natural gas (or “lean gas”) to be used by Nigeria in

 powering its national electric grid. Nigeria was to supply P&ID with agreed-upon quantities of

 wet gas—at first, 150 million, and eventually, 400 million standard cubic feet per day—during

 the 20-year period of supply. P&ID, in turn, was to strip away the heavy hydrocarbons known as

 Natural Gas Liquids (“NGLs”) that make wet gas unsuitable for electricity generation, then




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 return to Nigeria the lean gas thus created. This refining process was to take place at the gas

 processing facilities to be built by P&ID on a site in Calabar, Nigeria.

         11.    As compensation under the Agreement, P&ID would be permitted to retain the

 NGLs separated during the refinement process and sell them for its own account. Although they

 render wet gas unsuitable for electricity generation, NGLs—which include ethane, propane, and

 butane—are independently (and profitably) marketable. P&ID therefore stood to make a

 substantial profit from its sale of millions of metric tons of NGLs over the 20-year term of the

 Agreement.

         12.    Among other things, the Agreement required Nigeria to:

                ensure that all necessary pipelines and associated infrastructure are
                installed and all requisite arrangements with agencies and/or third
                part[ies] are in place to ensure the supply and delivery of Wet Gas
                in accordance with [the scope of work set forth in the Agreement]
                so as to facilitate the timely implementation of gas processing by the
                [Gas Processing Facilities] as provided for in this Agreement.

         13.    Nigeria failed to satisfy these obligations in two key respects. First, Nigeria failed

 to secure a supply of the agreed-upon quantities of wet gas. Second, and relatedly, Nigeria failed

 to complete construction of infrastructure necessary to transport wet gas from a source chosen by

 Nigeria to the Calabar site. In particular, Nigeria never completed the Adanga Pipeline, which

 was intended to carry wet gas to the Calabar site where P&ID was to build the gas processing

 facilities.

         14.    Nigeria’s failures to comply with these obligations caused the collapse of the

 project contemplated by the Agreement. Nigeria abandoned the Adanga pipeline, ceased its

 efforts to secure a suitable source of wet gas, and eventually stopped responding to P&ID’s

 correspondence. Nigeria’s breach ensured that no wet gas was ever delivered to the Calabar site.




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        15.     As a result of Nigeria’s failure to perform its obligations under the Agreement,

 P&ID lost 20 years’ worth of profits from the sale of NGLs.

                        THE ARBITRATION AND THE FINAL AWARD

        16.     Article 20 of the Agreement provided for arbitration in the event of a dispute

 between the Parties:

                The Parties agree that if any difference or dispute arises between
                them concerning the interpretation or performance of this
                Agreement and if they fail to settle such difference or dispute
                amicably, then a Party may serve on the other a notice of arbitration
                under the rules of the Nigerian Arbitration and Conciliation Act
                (Cap A18 LFN 2004) which, except as otherwise provided herein,
                shall apply to any dispute between such Parties under this
                Agreement . . .

                The arbitration award shall be final and binding upon the Parties . . .

                The venue of the arbitration shall be London, England or otherwise
                as agreed by the Parties . . .

        17.     Based on Nigeria’s failure to perform under the Agreement, and consistent with

 the terms of the arbitration clause, P&ID commenced the Arbitration by serving a Notice of

 Arbitration on August 22, 2012. By that time, P&ID had been a willing participant in

 discussions with Nigeria and other stakeholders about an alternative solution for over a year,

 with no sign of progress. A true and correct copy of the Notice of Arbitration is attached to the

 Andrew Declaration as Exhibit 2.

        18.     The Tribunal was duly constituted according to a procedure set forth in the

 Agreement and included, as presiding arbitrator, Leonard, Lord Hoffmann, former Lord of

 Appeal in Ordinary (during Lord Hoffmann’s tenure, the highest judicial position in the United

 Kingdom, and the equivalent today of a U.K. Supreme Court Judge). The other arbitrators were

 Sir Anthony Evans, Q.C., former justice of the Court of Appeal of England and Wales and

 former chief justice of the Dubai International Financial Centre Courts (appointed by P&ID), and



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 Chief Bayo Ojo, S.A.N., former Attorney General of Nigeria (appointed by Nigeria). As

 stipulated in the Agreement, the venue of the arbitration was London, United Kingdom.

        19.     The Tribunal considered several rounds of written submissions from both parties

 (accompanied by exhibits, witness statements, and expert reports), held two rounds of hearings

 (one day on issues relevant to Nigeria’s liability, and two days on the calculation of P&ID’s

 damages), and issued three awards.

        20.     In its first Part Final Award, issued on July 3, 2014, the Tribunal considered

 certain preliminary issues, including (i) whether the Tribunal had jurisdiction to decide its own

 jurisdiction, (ii) the capacity of the Ministry to enter into the Agreement on behalf of the

 Nigerian government, and (iii) the validity of the Agreement in light of P&ID’s incorporation in

 the British Virgin Islands rather than in Nigeria. The Tribunal ruled, among other things, that it

 had jurisdiction to decide its own jurisdiction; it explained that this authority derived from the

 United Kingdom’s Arbitration Act 1996, which it identified as “the law of the seat of

 arbitration.” (Andrew Decl. Ex. 7 ¶ 51.) The tribunal also ruled that the Agreement was valid.

 Notably, the Tribunal determined that the Ministry’s execution of the Agreement raised no

 capacity-to-contract issue, because there is no legal distinction between the Nigerian government

 and its various Ministries. As the Tribunal put it, “[t]he Ministries are the Government,

 operating in different spheres.” (Andrew Decl. Ex. 7 ¶ 40 (emphasis in original).)

        21.     In its second Part Final Award, issued on July 17, 2015 (the “Liability Award”),

 the Tribunal addressed the issue of liability: it determined that Nigeria’s failure to satisfy its

 contractual obligations constituted a repudiation of the Agreement, and that P&ID was entitled to

 accept the repudiation and recover its damages caused thereby. A true and correct copy of the

 Liability Award is attached to the Andrew Declaration as Exhibit 8.




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        22.     Nigeria attempted to have the Liability Award set aside by the English courts,

 which, under the United Kingdom’s Arbitration Act 1996, have supervisory jurisdiction over

 U.K.-seated arbitrations. In December 2015, Nigeria applied to the Commercial Court in

 London for “[a]n order setting aside and/or remitting for further consideration all or part of the”

 Liability Award. (Andrew Decl. ¶ 16 and Ex. 9.) Nigeria understood that the seat of arbitration

 was in England: In a witness statement submitted in support of Nigeria’s set-aside application,

 Folakemi Adelore, the Ministry’s Director of Legal Services, explained Nigeria’s delay in filing

 the application by writing that Nigeria “understood that in order to challenge the Award, it would

 need to instruct a firm of solicitors in the U.K. given that any such challenge would have had to

 be before the English courts under the English Arbitration Act 1996.” (Andrew Decl. Ex. 9 at

 21.) Ms. Adelore further informed the Commercial Court that “[t]he issue of jurisdiction of this

 Court and the seat of the Arbitration had first to be considered.” (Id. at 23.)

        23.     On February 10, 2016, the Commercial Court dismissed Nigeria’s set-aside

 application, finding (1) that the application was filed more than four months too late, and (2) that

 Nigeria’s objections to the Tribunal’s liability finding had “no merit.” A true and correct copy of

 the Commercial Court’s order dismissing Nigeria’s application to set aside the Liability Award is

 attached to the Andrew Declaration as Exhibit 10.

        24.     Two weeks after the Commercial Court in London denied Nigeria’s application to

 set aside the Liability Award, Nigeria decided to try for a better outcome in its own courts by

 initiating proceedings in the Federal High Court of Nigeria to set aside the Tribunal’s Liability

 Award and to restrain the parties from acting further in the Arbitration. (Andrew Decl. ¶ 20 and

 Ex. 11.) After conducting the Arbitration in London for three years—consistent with the

 Agreement—and seeking (and failing) to have the Liability Award set aside by the English




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 courts, Nigeria did an about-face and suddenly took the position that the seat of arbitration was

 Nigeria and that the Nigerian courts therefore had exclusive supervisory jurisdiction over the

 arbitration.

          25.     After P&ID had learned of the Nigerian proceedings (in which it did not

 participate), it asked the Tribunal to issue a ruling on the seat of the Arbitration, which would

 determine the effect—if any—of the Nigerian proceedings on the Arbitration. By order dated

 April 26, 2016, the Tribunal determined that the parties had consented to London as the seat of

 Arbitration, both in the Agreement and through their conduct throughout the Arbitration. A true

 and correct copy of the Tribunal’s April 26, 2016 order (entitled “Procedural Order No. 12”) is

 attached to the Andrew Declaration as Exhibit 12. As Lord Hoffmann later wrote to the parties,

 given the Tribunal’s decision “that the seat of the arbitration is in England,” “the Federal High

 Court [of Nigeria] had no jurisdiction to set aside” the Liability Award. (Andrew Decl. ¶ 24 and

 Ex. 14.)

          26.    When the Federal High Court of Nigeria subsequently granted the order requested

 by Nigeria (purporting to set aside the Liability Award and suspend further proceedings in the

 Arbitration), the Arbitration nonetheless proceeded. Nigeria claimed to “maintain[] its position

 on the award on liability” (Andrew Decl. ¶ 25 and Ex. 15), yet it continued to participate in the

 Arbitration.1




 1
     Nigeria separately asked that the Nigerian court set aside Procedural Order No. 12 and remove
     the arbitrators from the Tribunal. (Andrew Decl. ¶ 26 and Ex. 16 at 1.) That request was not
     granted and the proceeding was dismissed. (Andrew Decl. ¶ 26.)




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          27.     On January 31, 2017, following multiple written submissions and two days of

 hearings on the issue of P&ID’s damages, the Tribunal issued a 34-page Final Award.2 The

 Tribunal found that “[i]f the contract had been performed, P&ID would have received for 20

 years an income from the sale of natural gas liquids extracted from the wet gas supplied by the

 Government.” (Andrew Decl. Ex. 17 at 16.) Accordingly, P&ID’s damages were measured as

 the present value of that 20-year income, less capital and operating expenditures which would

 have been incurred in the course of building and running the facility. (Id.) Based on this

 calculation, a majority of the Tribunal found as follows:

                  We, Leonard, Lord Hoffmann and Sir Anthony Evans, having read
                  the parties’ written evidence, pleadings and submissions and having
                  heard their oral evidence and submissions, and having carefully
                  considered the same and for the reasons stated above, make our
                  Final Award as follows, namely we order the Respondent to pay the
                  Claimant the sum of $6,597,000,000 together with interest at the rate
                  of 7% from 20 March 2013 until the date of this award and at the
                  same rate thereafter until payment.

 (Andrew Decl. Ex. 17 at 33–34.)

          28.     As of March 16, 2018, interest has accrued on the Final Award in the amount of

 $2,303,889,287.67, and interest continues to accrue at a rate of $1,265,178.08 per day. (Andrew

 Decl. ¶ 27.)

          29.     Nigeria has not applied to have the Final Award set aside in the United Kingdom

 (or anywhere else), and the time for doing so expired nearly a year ago. The United Kingdom’s

 Arbitration Act 1996 requires that a party seeking to overturn an arbitration award do so within

 28 days after the award is provided to the parties. The parties here received the Final Award on




 2
     Chief Ojo, the arbitrator appointed by Nigeria, issued a dissenting decision stating that he would
     have awarded a lower sum. (Andrew Decl. ¶ 28 and Ex. 18.) Chief Ojo’s dissent did not dispute
     the Tribunal’s finding on liability.



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 February 10, 2017. Nigeria’s time for applying to set aside the Final Award expired on March

 10, 2017. (Andrew Decl. ¶ 29.)

                    BASIS FOR CONFIRMATION OF THE FINAL AWARD

        30.      The Final Award is a well-reasoned award, issued by prominent jurists, in a

 proceeding in which both parties actively participated. There is no reason why the award should

 not be confirmed.

        31.      Under the New York Convention, as incorporated into U.S. law through the

 Federal Arbitration Act, an arbitral award must be confirmed unless one of a limited number of

 grounds for refusal or deferral applies: “Within three years after an arbitral award falling under

 the Convention is made, any party to the arbitration may apply to any court having jurisdiction

 under this chapter for an order confirming the award as against any other party to the arbitration.

 The court shall confirm the award unless it finds one of the grounds for refusal or deferral of

 recognition or enforcement of the award specified in the said Convention.” 9 U.S.C. § 207.

        32.      The party opposing confirmation has the burden of showing that such a ground

 applies. See Int’l Trading Indus. Inv. Co. v. DynCorp Aero. Tech., 763 F. Supp. 2d 12, 20

 (D.D.C. 2011). (Under the New York Convention, “confirmation proceedings are generally

 summary in nature. . . . The showing required to avoid summary confirmation is high and the

 burden of establishing the requisite factual predicate to deny confirmation of an arbitral award

 rests with the party resisting confirmation.”). Nigeria cannot meet that burden here.

        33.      The grounds on which a court can refuse or defer confirmation are:

             the lack of a valid arbitration agreement between the parties;
             that the award resolves a dispute outside the scope of the parties’ arbitration
              agreement;
             that the award resolves a dispute that, under the laws of the country where
              confirmation is sought, cannot be resolved through arbitration;




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             that the award debtor had no notice of the arbitration proceedings or was unable to
              meaningfully participate;
             that the tribunal was composed and/or the arbitration used procedures inconsistent
              with the parties’ arbitration agreement;
             that the award is not yet binding or has been set aside by a competent authority of the
              country in which, or under the law of which, the award was made; or
             that confirming the award would contravene the public policy of the country where
              confirmation is sought.

 See New York Convention art. V.

        34.      As explained further in the accompanying Memorandum of Law, none of these

 grounds applies here. The plain language of Article 20 of the Agreement makes clear that P&ID

 and Nigeria agreed that certain disputes could be resolved by arbitration. (Andrew Decl. Ex. 1 at

 14–15.) The Arbitration concerned precisely such a dispute—i.e., one “concerning the

 interpretation or performance of [the] Agreement.” (See id. at 14.) Nothing in the laws of the

 United States prohibits resolving this type of dispute through arbitration; to the contrary, the

 United States has long favored arbitration for the resolution of international commercial disputes.

 See Belize Soc. Dev. Ltd. v. Gov’t of Belize, 668 F.3d 724, 727 (D.C. Cir. 2012) (noting Supreme

 Court’s endorsement of “an emphatic federal policy in favor of arbitral dispute resolution,”

 which “applies with special force in the field of international commerce”) (citing Mitsubishi

 Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985)). Nigeria had notice of

 the Arbitration and actively participated in each of its stages. The Tribunal was composed and

 followed the procedures according to the parties’ agreement to arbitrate. The award is binding

 on the parties, as provided in the arbitration clause, and the Final Award has not been set aside at

 the seat of arbitration (i.e., the United Kingdom). Finally, confirming the award would offend no

 public policy of the United States.




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          35.    Accordingly, the New York Convention requires confirmation of the Final

 Award.

                                    COUNT I
                (CONFIRMATION OF FINAL AWARD UNDER 9 U.S.C. § 207)

          36.    P&ID incorporates each and every allegation in the preceding paragraphs as if set

 forth fully herein.

          37.    The Final Award is governed by the New York Convention (made applicable in

 this proceeding by Chapter 2 of the Federal Arbitration Act, 9 U.S.C. § 201 et seq.) because the

 Final Award arises out of a commercial contract between P&ID and Nigeria, neither of which are

 citizens of the United States. See 9 U.S.C. § 202. In addition, the Final Award was made in the

 United Kingdom, a nation that is a State party to the New York Convention, and which is a State

 other than the State where recognition and enforcement is hereby sought.

          38.    9 U.S.C. § 207 provides that, in an action to confirm an award governed by the

 New York Convention, the “court shall confirm the award unless it finds one of the grounds for

 refusal or deferral of recognition or enforcement of the award specified in the said Convention.”

 9 U.S.C. § 207.

          39.    None of the New York Convention’s enumerated grounds for refusing or

 deferring recognition apply to the Final Award. Under 9 U.S.C. § 207, the Final Award should

 therefore be confirmed.

          40.    P&ID respectfully requests that the Court confirm the Final Award by entering

 judgment in favor of P&ID and against Respondents Federal Republic of Nigeria and Ministry of

 Petroleum Resources of the Federal Republic of Nigeria in the amount of the Final Award with

 interest as provided therein, plus the costs of this proceeding.




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                                   PRAYER FOR RELIEF

        WHEREFORE, Petitioner Process and Industrial Developments Limited respectfully

 requests:

        a.    an order of this Court pursuant to 9 U.S.C. § 207 confirming the Final Award and
              entering judgment thereon;

        b.    a judgment in favor of Petitioner and against the Federal Republic of Nigeria and
              the Ministry of Petroleum Resources of the Federal Republic of Nigeria that
              conforms to the Final Award, including interest at 7% annually to be calculated
              from March 20, 2013, and costs;

        c.    an award of post-judgment compound interest under 28 U.S.C. § 1961;

        d.    an award of costs incurred by Petitioner in bringing this proceeding, including
              reasonable attorneys’ fees;

        e.    an order of this Court retaining jurisdiction over the matter for any further
              proceedings as may be necessary to enforce the Final Award and any further
              awards or judgments which may be obtained by Petitioner against Nigeria; and

        f.    any other relief that this Court, in the interests of justice, deems necessary and
              proper.




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 Dated: March 16, 2018
        Washington, D.C.


                                      /s/ Marcus J. Green
                                      Michael S. Kim
                                          D.C. Bar No. 1032401
                                          michael.kim@kobrekim.com
                                      Josef M. Klazen (pro hac vice application
                                      forthcoming)
                                          D.C. Bar No. 1003749
                                          josef.klazen@kobrekim.com
                                      Marcus J. Green
                                          D.C. Bar No. 999223
                                          marcus.green@kobrekim.com
                                      KOBRE & KIM LLP
                                      1919 M Street NW
                                      Washington, DC 20036
                                      Telephone: (202) 664-1900

                                      Attorneys for Petitioner Process and Industrial
                                      Developments Limited




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           5.      The Arbitration arose out of a Gas Supply and Processing Agreement (the

    "Agreement") dated January 11, 201 0, between P&ID and the Ministry of Petroleum Resources

    for and on behalf of Federal Government of Nigeria (collectively, "Nigeria"). A duly certified

    true and correct copy of the Agreement is attached as Exhibit 1.

           6.      The Agreement provided, inter alia, that in the event of "any difference or

    dispute ... concerning the interpretation or performance of [the] Agreement," either party could

    submit the dispute for arbitration by "serv[ing] on the other a notice of arbitration under the rules

    of the Nigerian Arbitration and Conciliation Act (Cap A18 LFN 2004)." Ex. 1 at 14-15.

           7.      On August 22, 2012, P&ID commenced the Arbitration by serving a Notice of

    Arbitration. A true and correct copy of the Notice of Arbitration is attached as Exhibit 2.

           8.      Nigeria had notice of, participated in, and was represented by counsel at each

    stage of the Arbitration.

           9.      Consistent with the procedure set forth in the Agreement, the parties appointed

    arbitrators to the arbitral tribunal (the "Tribunal") presiding over the Arbitration. P&ID

    appointed Sir Anthony Evans, Q.C., a former justice of the Court of Appeal of England and

    Wales. Nigeria selected ChiefBayo Ojo, S.A.N., a former Attorney General ofNigeria. Sir

    Evans and Chief Ojo then appointed as presiding arbitrator Lord Leonard Hoffman, former Lord

    of Appeal in Ordinary, or Law Lord, of the Appellate Committee of the House of Lords, then the

    highest court in the United Kingdom (and since replaced by the UK Supreme Court).

            10.    On June 28, 2013, P&ID served upon the Tribunal and upon Nigeria's legal

    representatives a Statement of Case setting forth the grounds for its claim in the Arbitration. A

    true and correct copy ofP&ID's Statement of Case is attached as Exhibit 3.

            11.    On October 3, 2013, Nigeria filed a Notice of Preliminary Objection, asserting

    that the Agreement was void. A true and correct copy of Nigeria's Notice of Preliminary


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    Objection is attached as Exhibit 4. Among other things, Nigeria argued that the Agreement was

    void because the Ministry "is a policy instrument of the government of the Federal Republic of

    Nigeria; it is not a juristic person" and therefore lacks the capacity to enter into contracts.

    (Andrew Decl. Ex. 4 at 4.)

            12.     As part of its response to Nigeria's Notice of Preliminary Objection, P&ID

    submitted a written witness statement by the Chairman ofP&ID, and an expert report on

    Nigerian law from the Honorable S.M.A. Belgore, a former Justice of the Nigerian Supreme

    Court. A true and correct copy ofP&ID's February 10, 2014 Witness Statement is attached as

    Exhibit 5, and a true and correct copy of Justice Belgore's expert opinion is attached as Exhibit

    6. In his expert opinion, Justice Belgore agreed with Nigeria's contention that "the Ministry of

    Petroleum Resources of the Federal Republic ofNigeria does not have a separate legal

    personality," but explained that the Agreement was still valid because the Ministry "is perfectly

    able to enter into a contract," but "[w]hen it does so, it does not act as an entity separate from

    Government- rather it acts as Government." (Andrew Decl. Ex. 6 at 4-5 (emphasis in

    original).)

            13.     On July 8, 2014, the Tribunal issued to the parties a unanimous Part Final Award

    dated July 3, 2014, determining that it had jurisdiction over the Arbitration and rejecting the

    challenges to the validity of the Agreement raised in Nigeria's Notice of Preliminary Objection

    and supporting submissions. A true and correct copy of the Part Final Award dated July 3, 2014

    is attached as Exhibit 7. The Tribunal rejected Nigeria's capacity-to-contract defense, explaining

    that "the distinction between the various Ministries and the Government is illusory," such that

    "[t]he Ministries are the Government, operating in different spheres." (Andrew Decl. Ex. 7 ,-r 40

    (emphasis in original).)




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           14.     Over the following year, the parties litigated Nigeria's liability to P&ID, with

    each party submitting several written arguments. Each side also relied on witness-statement

    evidence. In addition, P&ID submitted another expert report from Justice Belgore.

            15.    On July 17, 2015, the Tribunal issued a second unanimous Part Final Award (the

    "Liability Award"), determining, inter alia, that Nigeria "repudiated the [Agreement] by failure

    to perform its obligations" thereunder and that P&ID was "entitled to damages (in an amount to

    be assessed) for the Government's repudiation of the [Agreement]." A true and correct copy of

    the Liability Award is attached as Exhibit 8.

            16.    On December 23, 2015, Nigeria applied to the Commercial Court in London,

    under Section 68 of the Arbitration Act 1996, for "[a]n order setting aside and/or remitting for

    further consideration all or part of the" Liability Award. A true and correct copy ofNigeria's

    application to the Commercial Court in London is attached as Exhibit 9.

            17.    Under the Arbitration Act 1996, an English court only has jurisdiction to set aside

    an arbitral award ifthe seat ofthe arbitration is within the Court's jurisdiction. See Arbitration

    Act 1996, s. 2(1) ("The provisions of this Part apply where the seat of the arbitration is in

    England and Wales or Northern Ireland.").

            18.    In its application to the Commercial Court in London to have the Liability Award

    set aside, Nigeria submitted a witness statement from Folakemi Adelore, the Director of Legal

    Services of the Ministry. See Exhibit 9 at 18-29. In her witness statement, Ms. Adelore wrote,

    "The Ministry understood that in order to challenge the Award, it would need to instruct a firm

    of solicitors in the U.K. given that any such challenge would have had to be before the English

    courts under the English Arbitration Act 1996." !d. at 21. In explaining Nigeria's delay in filing

    the application, Ms. Adelore stated that "[t]he issue of jurisdiction of this Court and the seat of

    the Arbitration had first to be considered." !d. at 23.


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            19.    On February 10, 2016, the Commercial Court in London dismissed Nigeria's

    application to set aside the Liability Award, finding, inter alia, that (1) the application was

    "made more than 4 months after the expiry of the 28 day time limit" for such applications, and

    (2) "the grounds of the appeal have no merit." A true and correct copy of the Commercial

    Court's February 10, 2016 Order is attached as Exhibit 10.

           20.     On February 24, 2016, after the Commercial Court had dismissed Nigeria's set-

    aside application, Nigeria filed an Originating Motion initiating a proceeding in the Federal High

    Court of Nigeria, where it sought, inter alia, an order setting aside and/or remitting for further

    consideration all or part of the Liability Award. A true and correct copy ofNigeria's February

    24, 2016 Originating Motion is attached as Exhibit 11. In its Originating Motion, Nigeria

    contended that the seat of arbitration was in fact Nigeria and that the "Nigerian courts have

    exclusive supervisory jurisdiction in relation to matters arising from the arbitration proceedings."

    (Andrew Decl. Ex. 11 at 2.)

           21.     P&ID did not contest the Nigerian proceedings. After P&ID had become aware

    of the Nigerian proceedings, it notified the Tribunal and subsequently requested that the Tribunal

    make a ruling on the seat of the arbitration to determine the significance, if any, of the Nigerian

    proceedings to the Arbitration.

           22.     On April26, 2016, the Tribunal issued a reasoned decision (entitled "Procedural

    Order No. 12") determining that London, United Kingdom, was the seat of the Arbitration. A

    true and correct copy of Procedural Order No. 12 is attached as Exhibit 12.

           23.     Nearly one month after the Tribunal issued Procedural Order No. 12, the Federal

    High Court ofNigeria issued a three-page order, without analysis, "setting aside and/or remitting

    for further consideration all or part of the" Liability Award. A true and correct copy of the

    Federal High Court ofNigeria's order, dated May 24, 2016, is attached as Exhibit 13.


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           24.     After having been informed of the Federal High Court ofNigeria's decision, Lord

    Hoffmann informed the parties that the Tribunal would be proceeding with the Arbitration. He

    explained: "As the parties will be aware from Procedural Order No. 12, the Tribunal has decided

    that the seat of the arbitration is in England. It follows that the Federal High Court had no

    jurisdiction to set aside its award." A true and correct copy of Lord Hoffman's May 27, 2016 e-

    mail is attached as Exhibit 14.

           25.     Notwithstanding the Nigerian court's order, the parties continued with the

    Arbitration and litigated the damages (or "quantum") phase of the proceedings. On June 21,

    2016, Nigeria wrote to the Tribunal that it intended "to participate in the damages phase of the

    arbitration while maintaining its position on the award on liability." A true and correct copy of

    Nigeria's June 21, 2016 e-mail is attached as Exhibit 15. Thus, while the Nigerian order

    purported to have set aside the Liability Award, Nigeria continued to participate in the quantum

    phase of the Arbitration.

           26.     On May 6, 2016, Nigeria filed another Originating Motion with the Federal High

    Court of Nigeria, which requested that the court set aside Procedural Order No. 12 (in which the

    Tribunal determined that London, United Kingdom, was the seat of the arbitration) and

    disempanel the Tribunal. A true and correct copy ofNigeria's May 12, 2016 Originating Motion

    filed on May 6, 2016 is attached as Exhibit 16. This Originating Motion appears to have been

    refiled on May 9, 2016. Reports from P&ID's Nigerian counsel, who monitored but did not

    participate in the Nigerian proceedings on behalf ofP&ID, suggested that this Originating

    Motion was filed yet again on May 13, 2016, and had been entitled Suit No.

    FHC/L/CS/624/2016. No such relief was granted by the Nigerian court, and P&ID's Nigerian

    counsel have confirmed that, on November 21, 2016, the court struck out Suit No.

    FHC/L/CS/624/2016 for lack of appearance of counsel for Nigeria.


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           27.     On February 10, 2017, the Tribunal issued to the parties a Final Award dated

    January 31, 2017. A duly certified true and correct copy of the Final Award is attached as

    Exhibit 17. The Final Award ordered the Ministry to pay damages to P&ID in the amount of

    $6,597,000,000 plus interest to be calculated at a rate of7 percent per annum from March 20,

    2013. By my calculation, as of March 16,2018, $2,303,889,287.67 in interest had accrued on

    the Final Award. Interest continues to accrue at a daily rate of $1,265, 178.08.

           28.     ChiefOjo issued a Dissenting Final Award dated January 31,2017. A true and

    correct copy ofChiefOjo's Dissenting Final Award is attached as Exhibit 18.

           29.     To my knowledge, Nigeria has made no attempt to set aside the Tribunal's Final

    Award. Under Section 70(3) of the Arbitration Act 1996, the time within which Nigeria could

    have filed any such challenge or appeal with the English courts pursuant to Sections 67-69 of the

    Arbitration Act 1996 expired at latest on March 10, 2017, which was 28 days after the Tribunal

    issued the Final Award to the parties.

           30.     I declare under penalty of perjury under the laws of the United States of America

    that the foregoing is true and correct.



    Executed on this 16th day of March, 2018.



                                                                  Seamus Ronald Andrew




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          EXHIBIT 1




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SAVILLE                        ~CQ
--SCRIVENER NOTARIES--

                                        KINGDOM OF FNG1 ,AND}
                                                                                ss
On e Carey Lane                         CITY OF LONDON
London EC2V 8AE
Tel: +44 (0)2 0 7776 9800
Fax: +44 (0)2 0 7776 980 1           TO ALL TO WHOM THESE PRESENTS SHALL COME, 1
www.savillenotaries.com              CHRlSTOPHER GERARD HIGGINS of the City of London
mail@savillenotaries.com             NOTARY PUBLIC by royal authority duly admitted and sworn DO
                                     HEREBY CERTIFY the genuineness of the signature of SEAMUS
Sophie Milburn                       RONALD ANDREW subscribed at foot of the certification
Nicholas Thompson                    hereunto annexed, such signature having been subscribed today in
Robert Kerss                         my presence in London, England by the said Seamus Ronald
Andrew MacNab
                                     Andrew, whose personal identity and capacity I attest, a solicitor of
Chri stopher Higgins
                                     the Senior Courts of England and Wales and designated member and
(General Notary)
                                     the managing partner of the law firm styled SCA ONTIER LLP of
                                     London, England;
Eleonora Ceolin
(General Notary)
Richard Savi lle
                                     AND I DO FURTHER CERTIFY THAT the said SCA ONTIER
(Consultant)                         LLP is a limited liability partnership duly organised and existing in
                                     accordance with the laws of England and Wales, registered with the
                                     Registrar of Companies for England and Wales under number
                                     OC327289 and with registered office at One New Ludgate, 60
                                     Ludgate Hill, London, EC4M 7A W, England.

                                     IN FAITH AND TESTIMONY WHEREOF I the said notary have
                                     subscribed my name and set and affixed my seal of office at London
                                     aforesaid this fourteenth day of March two thousand and eighteen.




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                                                       NOTARIES

                                    Re()ul.m,d by thP Faculty Office of t he Archbishop of Canterbury
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                                                                          242Ontier LLP
                                                                                                            One New Ludgate
       SCA ONTIER                                                                                                    5th Floor
                                                                                                               6o Ludgate Hill
                                                                                                          London EC4M 7AW
                                                                                                          T: +44(o)2o 7183 1701
                                                                                                          F: +44(o)2o 7183 1702
                                                                                                 DX248 London/Chancery Lane
                                                                                                           www.scaontier.com




                                          CERTIFICATION


          I, the undersigned Seamus Ronald Andrew, English solicitor and Managing Partner of
   SCA Ontier LLP, hereby certify that the attached document consisting of one covering page and
   19 numbered pages is, to the best of my information and belief, a true, faithful, and complete
   photocopy of a Gas Supply and Processing Agreement for Accelerated Gas Development,
   entered into on or about January 11, 2010, by the Ministry of Petroleum Resources of the Federal
   Republic of Nigeria and Process and Industrial Developments Limited. This certification is
   made on information and belief as counsel instructed by Process and Industrial Developments
   Limited to represent it in an arbitration proceeding arising out of the attached Gas Supply and
   Processing Agreement for Accelerated Gas Development.




               Seamus Ronald Andrew
                   14 March 2018




                                                       SCA Ontier LLP is a limited liability partnership registered in England
                                     Registered No.OC32728g. A list of the members is open to inspection at the registered office

                JA-31                                           Authorised and Regulated by the Solicitors Regul ation Authority
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                      GAS SUPPLY AND PROCESSING AGREEMENT




                                       FOR




                          ACCELERATED GAS DEVELOPMENT




                                     BETWEEN




                   THE MINISTRY OF PETROLEUM RESOURCES OF THE
                           FEDERAL REPUBLIC OF NIGERIA




                                       AND




                  PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED




                       DATED THE 11TH DAY Of JANUARY 2010




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       THIS GAS SUPPLY AND PROCESSING AGREEMENT is entered into this 11th
       day of January 2010.

       BETWEEN

       THE MINISTRY OF PETROLEUM RESOURCES FOR AND ON BEHALF OF THE
       FEDERAL GOVERNMENT OF NIGERIA (FGN) (hereinafter referred to as "the
       Government") whose office address is situated at the 11th Floor, Block IJ,
       NNPC Towers, Herbert Macaulay Way, .Central Business District, Abuja,
       Nigeria hereby represented by .~.F:'~ ........ I.~.\J".~.;;.:1.'.\.:.. -..• ..... .l. .•t.i.J •. t.Ut;\J:·.-/ ......... ,
       the Honourable Minister of Petroleum Resources, which expression shall
       where the context so admits includes its assigns and successors in office of
       the first part.

       AND

       PROCESS          AND        INDUSTRIAL             DEVELOPMENTS      a corporation
                                                                                       LIMITED
       organised and existing under the laws of the British Virgin Islands and it's
       assignees (which expression shall, where the context so permits means and
       include _ any suc;_cessors or permitted assigns) ·hereby represented
       by ..... }:\.LCI:U~C:~ .. ~Y.I.t'!~hereinafter referred to as "P&ID") of the other
       part.


       Each of the Parties rr•dY be referred to individually as "Party" or collectively as
       "the Parties".

       WHEREAS:

                a)     The Government holds as a key strategic objective, the production
                       of adequate quantities of natural gas to satisfy the power
                       generation and other domestic uses needed for national
                       economic growth.

                b)     The Government of Nigeria has SL !)stantial undiscovered potential
                       gas reserves, discovered but undeveloped gas reserves, developed
                       gas reserves and associated gas reserves in its onshore and
                       offshore territories largely in acreage allocated to international
                       and indigenous operators.

                c)     The Government through the NNPC owns approximately fifty-
                       seven (57) percent of the gas resources ir. acreage allocated to the
                       international operators.                                        ,~r·
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              d)   The Government desires to develop and utilise it's gas resources
                   at optimal capacity to meet the growth In gas demand at the
                   various sectors of the economy including domestic, regional and
                   export markets;

              e)   The Government is currently engaged in the development of a
                   strategic natural gas policy, to ensure the smooth achievement of
                   its objective for the effective development of gas in Nigeria to
                   meet short term supply requirement for power generation;

              f)   The Government has explored viable structures that could be
                   used to meet the highlighted objectives and considered P&ID as
                   capable of implementing and executing the Project;

              g)   The Government has identified certain number of oil/gas flared
                   points and desires to eliminate gas flaring and wishes to set up a
                   domestic LPG production base as well as make the lean gas
                   produced available for various other domestic uses.

              h)   P&ID possesses the requisite finance, technology and competence
                   for the fast track development of the Project.

              i)   P&ID has undertaken all necessary studies, including the
                   identification of suitable associated gas fields and is ready to
                   commence a fast track development of the project in accordance
                   with the terms of this Agreement.

             j) The Parties are entering into this Agreement to ensure the fastrack
                 implementation of the Project and to ensure the timely provision
                 of pipeline quality lean Gas for power generation.

        IN CONSIDERATION OF THE MUTUAL RIGHTS, INTERESTS, COVENANTS AND
        OBLIGATIONS CONTAINED HEREIN IT IS HEREBY AGREED BETWEEN THE
        PARTIES AS FOLLOWS:

        1.   DEFINITIONS AND lNTEReRETATIONS

             i.    "Affiliate" means with respect to a Party, any company or legal
                   entity that Controls, or is controlled by, such Party or is controfled
                   by a company or legal entity that also controls such Party. For
                   purposes of this Agreement, "control1 ' means the right, directly or
                   indirectly, to exercise fifty percent (SO%} or more of the voting
                   rights in the election of directors, or if there are no such vot'ng
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                     rights, ownership of fifty percent (SO%) or more of the equity
                     share capital or other ownership interests, and "controls and
                     "controlled shall be construed accordingly;

              ii.    "Agreement" means this Gas Processing Agreement;

              iii.   "CDM Project" means a clean development project as provided
                     for in the Kyoto Convention and a CDM Project is duly authorised
                     to engage in approved market based mechanisms in relation the
                     Carbon Credits;

              iv.    "Effective Date" means the date of signing of this Agreement;

              v.     "GPFs" means the Gas Processing Facilities to be constructed and
                     operated at the Site and off-shore from the Site where applicable;

              vi.    "Lean Gas" means pipeline quality gas having a composition of not
                     less than 95 mol percent Methane and Ethane;

              vii.   "MMSCuFD" means Millions of Standard Cubic Feet per Day;

              viii. "NGLS 11 means all hydrocarbons remaining after processing the
                    Wet Gas removing the Lean Gas;

              ix.    "Parties" means the Ministry of Petroleum Resources of the
                     Federal Government of Nigeria represented by the Honourable
                     Minister of Petroleum Resources and Process and Industrial
                     Developments Limited;

              x.     "Pioneer Status" means tax free status in Nigeria for P&ID and its
                     assignees in relation to the Project encompassing the provision of
                     equipment and materials for the project and as operators of the
                     plant for the first 5 years of operations.

             xi.     "Project" means the establishment of the GPFs and the supply of
                     Wet Gas thereto and the delivery of Lean Gas and their successful
                     operation by the Parties as set out in this Agreement;

             xii     Project Team" means the management team appointed by P&ID
                     to carry out the implementation of the Project and shall include
                     the P&tD nominees to the Joint Operating Committee.

              xiii."Proprietary Information" means all data and Information
                    generated pursuant to the work carried out by the parties
                    including but not limited to reports, documents, drawings and
                    graphs, and any patentable inventions made during and as a_
                     ~                                                         ._   }
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                    result of all work carried out by the P&ID Project Management
                     Team for this project, inclusive of any and all patents or patent
                     applications with regard thereto;

              xiv. "Site" means the land in Calabar on which the GPFs are located.

              xv.   "Start Date" means the earliest date on which the Government
                     commences the regular supply and delivery of not less than
                     150 MMSCuFD of Wet Gas to the Site;

              xvi. "Wet Gas" means associated gas removed, during oil
                     production, at the separator having a Propane content of not
                     less than 3.5 mol percent and a Butane content of not less than
                    1.8 mol percent, compressed and delivered, via pipeline to the
                    Site;

              Except where expressly provided to the contrary in this Agreement:

             the Schedules and the Appendices form part of this Agreement and in
             the event of any conflict between the main body of this Agreement
             and a Schedule the main body of this Agreement shall prevail;

              reference to any Party or any Person includes that Party's or that
              Person's successors and permitted assigns;

             reference to any consent not to be unreasonably withheld is deemed
             to be qualified by the requirement that such consent shall not be
             unreasonably conditioned or delayed;

             reference to include and including is deemed to be qualified by the
             additional term without limitation;

             reference to any publication, statute, rule, regulation, instrument or
             standard means the same as amended, supplemented or replaced
             from time to time;

             reference to any agreement means the                same   as   amended,
             supplemented or replaced from time to time;


             in the computation of periods of time from a specified day or Day to a
             later specified day or Day:

             (i)
                                                                             t;~ ·
                    from means from and including and until and to means .to and
                    ~ding; and                                           -

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                           ll-filllstry of Petroleum Resources

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              (ii)     any requirement that an action may or shall be taken within a
                       specified number of Days means that such action may or shall be
                       taken within the number of Days so specified starting at 00:00
                       hours local Nigerian time on the Day on which the requirement
                       to take such action arose;

        2.    OBJECTIVE

             The objective of this Agreement is to provide for the construction of
             Gas Processing Facilities by P&ID encompassing the provision of Wet
             Gas by the Government and the processing of the said Wet Gas by
             P&ID utilising two or more process streams with a total capacity of up
             to 400 MMSCuFD together with all utilities, support and maintenance
             facilities at the Site and the provision of lean Gas by P&ID to the
             Government as set forth in this Agreement and its Appendices and to
             operate and maintain the facilities in an efficient manner.

        3.    SCOPE OF THE WORK

             The scope of works of this Agreement is as follows:

              a.     P&ID shall construct GPFs on the Site allocated to them by Cross
                     River State Government with related ancillary plant and
                     equipment off-shore as required. The GPFs shall be constructed
                     on a timefy basis to ensure the earliest possible delivery to the
                     Government, or its nominees, of approximately 340 MMSCuFD
                     lean Gas for power generation and industrial use by third parties.

             b.      To ensure this fastrack is achieved P&ID will construct and
                     incorporate two or more process streams with a total capacity of
                     400 MMSCuFD together with all utilities, maintenance and
                     support facilities at the Site in accordance with the schedule of
                     works forming Appendix B hereto.

             c.      The Government shall make available at the P&ID Site boundary,
                     400 MMSCuFD Wet Gas (free of water) in the manner set out In
                     Appendix A having a minimum C3 (Propane) content of 3.5% mol
                     and C4 (Butane) content of 1.8% mol from OMLs 123 and OML 67
                     or such other locations as the Government may decide from time
                     to time to ensure the ongoing feedstock delivery volume and
                     quality requirements for the duration of this Agreement a~
                     defined under Article 5 of this Agreement.               (< ~·
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              d.   P&ID will process the Wet Gas to be supplied by the Government
                   and shall provide to the Government or its nominees
                   approximately 85% of the wet gas feedstock molecular volume In
                   the form of Lean Gas at the Site boundary.

        4.    FUNDING

              a. Save as otherwise provided in this Agreement~ each Party shall bear
                 the costs and expenses of its own personnel during the period of
                 this Agreement.

        5.    DURATION OF !HE AGREEMENT

             This Agreement shall come into being on the Effective Date being the
             date of signing of the Agreement as defined in Article 1 herein and
             shall remain in force for a period of twenty (20} years with effect from
             the Start Date of the Agreement after which it shall automatically
             terminate without prior notice to the Parties except where extended
             by a mutual agreement of the Parties or until the Capital Cost of the
             Project is fully repaid whichever occurs latest subject to the
             Government at all times having the right to audit the Accounts of the
             P&ID.

        6.   RESPONSIBiliTIES OF THE GOVERNMENT

             a)    The Government shall deliver to the Site boundary the agreed
                   quantities and quality of gas as defined under Article 3c and in the
                   manner set out In Appendix A of this Agreement;

             b)    The Government shall ensure that all necessary pipelines and
                   associated infrastructure are installed and all requisite
                   arrangements with agencies and/or third party are in place to
                   ensure the supply and delivery of Wet Gas in accordance with
                   Article 3 so as to facilitate the timely implementation of gas
                   processing by the GPFs as provided for in this Agreement.

             c}    The Government agrees to assist P&ID, and where necessary
                   intercede with the relevant Government agencies, to obtain all
                   requisite permits, licenses and approvals required from the
                   relevant Government agencies or others for the fastrack
                   implementation of this project.                         ' (

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              d)   If the Government or any of its agencies changes or amends any
                   statute, rule, regulation, instrument or standards, and such
                   change or amendment adversely affects the rights of P&ID under
                   this Agreement, the Parties shall amend the terms of this
                   Agreement in a manner tf1at will restore the rights of P&ID. The
                   Government shall grant to P&ID all such waivers and exemptions
                   necessary to ensure that the rights of P&ID are not adversely
                   affected by any change or amendment to statute, rule, regulation,
                   instrument or standards.

        7.    RESPONSIBILITIES OF P&ID

              a) P&ID shall use best endeavours to ensure the fastrack
                 implementation of this Project to construct and incorporate two or
                 more process streams with a total capacity of 400 MMSCuFD
                 together with all utilities maintenance and support facilities at the
                 Site. Thereafter P&ID shall maintain and operate the GPFs on a
                 professional basis to ensure a regular supply of Lean Gas
                 (approximately 340 MMSCuFD) for power generation;

              b) c) P&ID shalt, during the Project implementation period, submit to
                 the JOC as set out in Article 9 updated work programs or such other
                 documentation as may be necessary to enhance the development
                 of the Project;

              c) P&ID shall do all that is necessary to obtain relevant approvals
                 required for the success of the Project.

        8.   COMMERCIAL TERMS
             a) The Government shall deliver to the Site boundary, 400 MMSCuFD
                of Wet Gas as set out in Article 3 c) and in Appendix A of this
                Agreement having a minimum C3 (Propane) content of 3.5% mol
                and C4 (Butane) of 1.8% mol at No Cost to P&ID.

             b) P&ID will process the Wet Gas, recompress the residual Lean Gas,
                representing approximately 85% of the Wet Gas feed, and make it
                available, for power generation or other Industrial usage at the
                discretion of the Government, at the Site boundary at No Cost to
                the Government.

             c) Title to and ownership of the Wet Gas to be delivered by the
                 Government to the Site shall remain vested in the Government and
                shall be delivered back to the Government at the Site boynd~r:y

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                   after processing ~n the form of Lean Gas but the NGLs removed from the Wet
                  Gas during processing shaH be retained by P&ID and shall be deemed the sole
                  property of P&ID and the said NGLs may be sold by P&ID either domestically
                  within Nigeria or exported in accordance with commercial criteria.

              d) P&ID shall provide all funding necessary for the timely construction,
                 implementation and efficient operation of the GPFs and the said GPFs will be
                 the sole property of P&ID and may be sold or otherwise disposed of by P&ID
                 subject always to the provisions ofthis Agreement PROVIDED that Government
                 shall be given the right of first refusal.

              e) As further consideration P&ID shall transfer to the Government or its nominee
                 a total of ten percent (10%} of the Equity of P&ID in the following manner:

                           (i)        P&ID shall transfer to the Government or it's nominee five percent
                                      (5%) the Equity of P&ID upon the commencement of the delivery of
                                      not less than 150 MMSCuFD of Wet Gas to the Site as set forth as
                                      Phase 1 in Appendix A

                           (ii)       P&ID shall transfer to the Government or its nominee a further five
                                      percent {5%) of the Equity of P&ID the said Equity to be transferred
                                      pro rata as the delivery of the remaining 250 MMSCuFD is
                                      successfully implemented as set forth as Phase 2 in Appendix A.

                           (iii}      All of the Equity to be transferred under this Article 8 (f) shall
                                      consist of fully paid Ordinary Shares free of all liens and charges and
                                      no sums whatsoever shall be payable by the Government in respect
                                      of the Equity so transferred.

             f)   Following the initial transfer of five percent (5%) Equity to the Government or
                  its nominee as provided for at Article 8 (e) above no new shares whether
                  Ordinary, Preference or otherwise may be issued without the written
                  agreement of the Government such agreement not to be unreasonably
                  withheld and the Government shall be entitled to representation on the Board
                  of P&ID in proportion to the Equity held by the Government at any given time.

             g) The Parties are aware that the 24inch Adanga pipeline presently under
                 construction from the Addax operated OML 123 directly to Calabar and due
                 for completion in 2010 wiU have a throughput capacity of 600 MMSCUFD and
                 can adequately provide the required first delivery of 150 MMSCuFD of Wet Gas
                 to the Site and that an additional pipeline of up to 70km in length may be
                 required to link up to the Adanga pipeline in order to facilitate the delivery of
                the remaining 250 MMSCuFD of Wet Gas to the Site from other sources to be
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           _...
                  chosen by the Government. It such a requirement is necessary, P&ID
                  undertakes to build and install the said additional pipeline to provide for the
                   delivery of the remaining 250 MMSCuFD of Wt Gas to the Site, at no cost to
                  the Government, and P&ID will retain the ownership and provide the
                  maintenance for the pipeline.

                  h) P&ID shall enjoy Pioneer Status with no import duties, clearance
                     charges or taxes payable within Nigeria in respect of all equipment and
                     materials utilised in the construction and commissioning of the GPFs and
                     with no taxes payable in respect ot the operation of the GPFs for a
                     period of five (5) years from the commencement of commercial
                     operations at the GPFs.

                  i) The Government will actively support the designation of the Project     as
                     a CDM Project and P&ID will toke all necessary steps to achieve such
                     designation. All earnings or revenues arising from the Project status as a
                     CDM Project will accrue 50% (fifty percent) to P&ID and 50 (fifty
                      percent) to the Government.

     9.           JOINT OPERATING COMMITTEE

                  a)    The Joint Operating Committee (JOC) established by the Parties under
                        the previous Memorandum of Understanding dated 22nd JulY 2009 and
                        comprising of two representatives from the Ministry of Petroleum
                        Resources and two representatives from NNPC nominated by the
                        Government and two representatives nominated by P&ID, shall meet
                        at regular i_ntervals during the Project implementation period to diSC\1•;s
                        in detail the implementation progress of the Project. Where deemed
                        necessary by any JOC member of the GovernmenT or P&ID shall
                        nominate such other expert support from other agencies as may be
                        necessary to ensure that Project timelines are maintained.

                  b)    The JOC shall carry out further adivities as may be determined by the
                        PartJes.

                  c)    Any cost that may accrue from the JOC activities shall be borne
                        equaily by the Parties.

     10.          NIGERIAN CONTENT

                  a)      The Nigerian content of project development, construction and
                          operation shall be maximised to the extent reasonably possible without
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        11.   FORCE MAJEURE

              a)   Any failure or de1ay on the part of either Party in the performance
                   of its obligations or duties under this Agreement, shall be excused
                   to the extent attributable to force majeure save for obligations to
                   pay sums due and payable. A force majeure situation includes
                   delays, defaults or Inability to perform under this Agreement due
                   to any event beyond the reasonable control of either Party. Such
                   event may be, but is not limited to, any act, event, happening, or
                   occurrence due to natura,! causes, acts or perils of navigation, fire,
                   hostilities, war (declared or undeclared), blockage, labour
                   disturbances, strikes, riots, insurrection, civil commotion,
                   quarantine restrictions, epidemics, storms, floods, earthquakes,
                   accidents, blowouts, lightning, and, acts of or orders of the
                   Government. If activities under this Agreement are delayed,
                   curtailed or prevented by force majeure, then the time for
                   carrying out the obligation and duties thereby affected, and rights
                   and obligations hereunder, shall be extended for a period equal to
                   the period of such delay.

              b)    The Party who is unable to perform its obligations as a result of
                   the force majeure event shall promptly notify the other Party
                   thereof not later than forty-eight (48) hours after becoming aware
                   of the establishment of the force majeure event, stating the
                   cause, and both Parties shall do aU that is reasonably within their
                   powers to remove such cause.

        12.   CONFIDENTIALITY

              Each of the Parties, their employees, agents and representatives
              hereby undertake that they shall not, whether during the period of this
              Agreement or at any time after the expiration or termination thereof,
              disclose any information acquired by it, from or through the other
              Party (either directly or indirectly, oral or written) to any person, firm
              or company. Such information shall Include all information, data,
              designs, drawings, computer programmes, reco-rdings, writings,
              correspondences and any other technical, commercial or operational
              information relating to the other Party's business and activities or any
              of its Affiliate companies ("Confidentiallnformation").
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              The a~ove provisions shall not extend to Information which: '/J   (
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              (i)     Prior to the time of disdosure or acquisition has become lawfully
                      in the public domain or was obtained by the Party disclosing it
                      without any confidentiality obligations, or was obtained from a
                      third party who Is lawfully entitled to be in possession of such
                      information;

              (ii)    Any Party shall disclose, where such disclosure is demanded by
                      an order of a court of competent jurisdiction, or a tax authority,
                      or a lawfully constituted commission of inquiry, provided that
                      prior to making such disclosure, written notification of the
                      demand received by such Party has been given to the other
                      Party and thereafter the Party being compelled to make the
                      disclosure can do so.

        13.   PROPRIETARY INFORMATION

              (i)     All intellectual property and other proprietary rights in and to
                      the Proprietary Information shall be the joint property of the
                      Parties;

              (ii)    The Parties and their Affiliates shall only be entitled to use the
                      Proprietary Information in the evaluation, pursuit and
                      development of the project and for no other purpose.

              (iii)   The Parties agree that Proprietary information shall be
                      confidential and that no Party or its Affiliates shall use, copy,
                      sell, trade, publish or otherwise disclose the Proprietary
                      information to anyone save as otherwise provided in this
                      Agreement or with the written approval of the other Party.
                      Notwithstanding the foregoing, a Party may disclose Proprietary
                      information if and to the extent:

                      (a) that such information is already in the public domain, other
                          than as a result of a breach of the obligation with respect to
                          Proprietary information and Confidential information under
                          this Agreement by any of the Parties;

                      (b)   required to be disclosed under applicable laws including
                            rules of applicable stock exchange, tax authority,
                            Governmental authorities or courts or competent pan_elpf .---
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                    (c)   such disclosure is to be made to its Affiliates and the
                          directors agents, officers and employees of the Party and
                          their AffiHates; and

                    (d) such disclosure to professional advisers and consultants of
                        any Party and its Affiliates on a need to know basis.

        14.   INDEMNITY

              Each Party shall be responsible for any claims made by or injury to its
              representative(s) and in respect of damage to such Party's property
              while such representative is providing services arising from the
              activities under this Agreement. In that regard, each Party agrees to
              indemnify, defend and hold harmless the other Party from and against
              any claims, or causes of action arising out of or in connection with such
              personal injury or damage to property.

        15.   CHANGES TO AGREEMENT

              No amendments, modifications or changes to this Agreement shall be
              valid unless approved in writing by both Parties.

        16.   ASSIGNMENT

              Either Party may assign its rights and obligations to an Affiliate as
              defined in this Agreement or to a designated financial institution
              where such an assignment comprises an integral constituent element
              of the financing structure of the Project but assignment to a non-
              affiliate shall not be permitted without the written consent of the
              other party such consent not to be unreasonably withheld but in all
              cases of assignment the assignor shall not be released of any of its
              liabilities and responsibilities under this Agreement.

        17.   THIRD pARTIES

              a)    This Agreement is intended for the Parties hereto, and nothing
                    contained in this Agreement shall be construed to create any
                    duty to, standard of care with reference to, or rights In any
                    person not a Party to this Agreement. This Agreement shall not
                    confer any right to any third party claiming the right to
                    ~~ment or benefits under this Agreement.               ( ~ )



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              b)     No Partnership: None of the provisions of this Agreement shatl
                     be deemed to constitute a Partnership between the Parties, and
                     no Party shall have the authority to bind or shall be deemed to
                     be the agent of the other Parties In any way.

        18.   LANGUAGE

              The language for the purposes of administering this Agreement shall
              be English.

        19.   WRITTEN PRESS RELEASES

              The Parties shall consult, coordinate and agree on the release of any
              written press releases, announcements or responses to media
              enquiries concerning this Agreement in advance of any such
              announcement. If a Party or its Affiliate wishes to issue or make a press
              release, it shall not do so unless prior to its release, such Party
              furnishes to the other Party a copy of such press release for its review
              and written approval (which approval shall not be unreasonably
              withheld).

              The Party shall provide a copy of such press release and related
              background information to the other Party within a minimum of seven
              (7) days, If practical, but in any event not less than seventy-two (72)
              hours, prior to its planned release.

        20.   APPLICABLE LAW     and DISPUTE RESOLUTION
              The Agreement shall be governed by, and construed in accordance
              with the laws of the Federal Republic of Nigeria.

              The Parties agree that if any difference or dispute arises between them
              concerning the interpretation or performance of this Agreement and if
              they fail to settle such difference or dispute amicably, then a Party may
              serve on the other a notice of arbitration under the rules of the
              Nigerian Arbitration and Conciliation Act (Cap A18 LFN 2004) which,
              except as otherwise provided herein, shall apply to any dispute
              between such Parties under this Agreement. Within thirty (30) days of
              the notice of arbitration being issued by the initiating Party, the Parties
              shall each appoint an arbitrator and the arbitrators thus appointed by
              the Parties shall within fifteen (15) days from the date the last
              arbitrator was appointed, appoint a third arbitrator to complete the
              tribunal. In the event that the arbitrators do not agree on the·
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              appointment of such third arbitrator within the aforementioned fifteen
              (15) days, or any extension of such deadline that the Parties may
              mutually agree, such an arbitrator or third arbitrator shall be
              appointed by the President of the Court of Arbitration of the
              International Chamber of Commerce ("ICC',) in accordance with the
              relevant ICC rules on the appllcation of either Party (notice of the
              intention to apply having been duly issued to the other) and, when
              appointed, the third arbitrator shall convene meetings of the
              arbitration panel, act as chairman thereof and decide the differences
              or dispute should the arbitrators fail to reach a unanimous decision.
              No arbttrator shall be appointed If such person has been empJoyed or
              contracted by either of the Parties or their respective Affiliates within
              five (5) years prior to the notice of arbitration.

              When an arbitrator refuses or neglects to act, or is incapable of acting
              or dies, a new arbitrator shall be appointed in his place and the above
              provisions of appointing arbitrators shall, mutatis mutandis, govern the
              appointment of such arbitrator.

              The arbitration award shall be final and binding upon the Parties. The
              award shall be delivered within two months after the appointment of
              the third arbitrator or within such extended period as may be agreed
              by the Parties. The costs of the arbitration shalt be borne equally by
              the Parties. Each Party shall, however, bear its own lawyers, fees.

              The venue of the arbitration shall be London, England or otherwise as
              agreed by the Parties. The arbitration proceedings and record shall be
              in the English tanguage.

              The Parties shall agree to appropriate arbitration terms to exclusively
              resolve any disputes arising between them from this Agreement.

        21.   ENTIRE UNDERSTANDING

              This Agreement including Appendix A and Appendix B comprises the
              full and complete understanding of the Parties hereto with respect to
              all the matters addressed in this Agreement and the said Appendix A
              and Appendix B shall form an integral part of this Agreement.

        22.   WARRANTIES

              Each Party represents and warrants that it has the right and authority
              to enter into this Agreement and to perform and observe all of its

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              obligations under this Agreement and that the execution, delivery and
              performance of this Agreement has been duly and validly authorised
              by all necessary corporate or other action, and that by entering into
              this Agreement, it will not violate, conflict with, or cause a material
              default under any other contract, agreement, indenture, decree,
              judgement, undertaking, conveyance, lien, or encumbrance to which it
              is a party or by which it may become subject.

        23.   NOTICES

              Any notice, request, demand or other correspondence required under
              this Agreement or any notice which either Party may desire to give to
              the other Party shall be in writing and shall be hand-delivered, sent by
              facsimile, or similar means of delivery to the Party intended to receive
              the same, as the case may be, and shall be effective upon receipt at
              the following addresses:

              If to Government: Honourable Minister of Petroleum Resources
                                NNPC Towers
                                Herbert Macaulay Way
                                Abuja, Nigeria


              If to: Process and Industrial Developments Limited (P&ID}

                                The Chairman
                                Process and Industrial Developments Limited
                                158 Buchanan Crescent,
                                Off Aminu Kano Crescent
                                Wuse II, Abuja
                                FCT, Nigeria

                                Attention: Mr. Neil C. Hitchcock, Projects Director             '
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        IN WITNESS whereof the Parties have executed this AGREEMENT by their
        duly authorised signa tortes effective the day and year first above written:

        SIGNED, SEALED AND DELIVERED




        By the within named ...............
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        SIGNED, SEALED AND DELIVERED




        By the within named .......... ~~....                                                      o............... .. ................ .. . ..


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        Signature:

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                                         APPENDIX A

           Delivery of Wet Gas to P&ID

           Phase 1      During or before the last quarter of 2011 a continuous
                        supply of 150 MMSCuFD of Wet Gas, having a minimum
                        Propane content of 3.5 mol% and minimum Butane content
                        of 1.8 mol%, will be supplied to the Site for processing by
                        P&ID.

           Phase 2      On or before the third quarter of 2012 a further additional
                        continuous supply of 250 MMSCuFD of Wet Gas, having a
                        minimum Propane content of 3.5 mol% and minimum
                        Butane content of 1.8 mol%, will be supplied to the Site for
                        processing by P&ID.


           Delivery of lean Gas to the Government

           Phase 1      During the last quarter of 2011 following supply of the 150
                        MMSCuFD of Wet Gas to the Site, P&ID will process the gas
                        and return to the Government, at the Site, a continuous
                        supply of lean Gas amounting to approximately 85% by
                        volume of the Wet Gas provided. The lean Gas will be
                        compressed to 92 bar G.

           Phase 2     On or before the third quarter of 2012 following supply of
                       the additional 250 MMSCuFD of Wet Gas to the Site, P&ID
                       will process the gas and return to the Government, at the
                       Site boundary, a continuous supply of Lean Gas amounting
                       to approximately 85% by volume of the Wet Gas provided.
                       The Lean Gas will be compressed to 92 bar G. - ,.    ·"
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                                         APPENDIX B


                                      SCHEDULE OF WORK

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                    EXHIBIT 2




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          The Honourable Minister of Petroleum Resources,
          F-ederal Ministry of Petroleum Resqyrces,
           '         ~h                     " ~--..~~·f'"'""'"'
          6tock0,11 Floor,                   J~Cfer•;cf;.~&"f'lu•·a;··-··
                                                                 J\ . .,   .f Mftlllf:.\'ti
          NNPC Towers                        ,,,..                       • ..
          Hl?rbert Macaulay Way,
          Central Business District,
                                                     2 ? Al/G ZOll'                                     '    '
          P.M B. 449, Abuja.
                                                      ti: •.   _... ,.   -H~   __ _,,                 22"d August 2012


          H~,;nourable   Minister,

          Re:      Gas Supply and Processing Aereement for Accelerated Gas Development
                   between the Ministry of Petroleum Resources of the Federal Republic of
                   Nigeria and Process and Industrial Developments limited dated 11 January
                   2010- Notice of Arbitration

          We reter     to the above-referenced agreement dated 11 January 2010 ("the
          Agreement"). As you will be aware, a dispute has arisen between the partie~ m respect
          of the performance of the Agreement concerning the failure of the Government of
          Nigeria ("the Government"} to make available to Process and Industrial Developments
          ltd ("P&IO") the quantity of wet gas stipulated in clause 3{c) and Appendix A of the
          A.greE:ment for ~hase 1 ofthe Project.


          P&ID have sought to resolve this matter amicably with the Government. We have
          wntten to you and to other Government departments and officials on a number of
          or;cas>ons odentofving the Government's failure to comply with its obligations under the
          Agreement, seekmg assistance and inter'-!ention with other partres, and, more recently,
          rnalong proposals for the amendment of the Agreement so as to permit the parties to
          work together to progress the implementation of the Project. We appreciate that you,
          your department, and many others. have taken steps to resolve the issues that have

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           ar1sPn. Unfortunately, however, the Government remam:; in breach of its obligations to
           P&i:J under the Agreement.

           :~, 'hf:' circumstances, P&ID 1s compelled to refer th1s dispute to arbitration tn
           accordance with clause 20 of the Agreement and would respectfully ask that you treat
           this letter as its Notice of Arbitration for those purposes.


           Fe~   convenience, we set out the terms of clause 20   1n   full:

                 '' 20. APPliCABLE LAW qnd DISPUTE RESOLUTION
                 The Agreemt-nt shall be governed by, and construed in accordance with the laws of
                 theFederal Republic of Nigeria

                 fne Parties agree that if ony difference or dispute arises between them concerning
                 rhe interpretation or performance of this Agreement and if they fail to settle such
                 dtf/erence or dispute amicably, then a Party may serve on the other a notice of
                 arbitration under the rules of the Nigerian Arbitration and Conciliation Act (Cap AlB
                 LFN 2004) which, except as otherwise provided herein, shall apply to any dispute
                 bf'tween such Parties under this Agreement. Withm thirty {30) days of the notice of
                 arbitration being issued by the initiating Party, the Parties shall each appoint on
                 arbitrator and the arbitrators thus appointed by the Parties shall within fifteen (15)
                 days from rhe date the last arbitrator was appointed. appoint a third arbitrator to
                 compete the tribunal. In the event that the arbitrators do not agree an the
                 appointment of such third arbitrator within the aforementioned fifteen (15) days, or
                 any extension of such deadline that the Parties may mutually agree, such an
                 arbitrator or third arbitrator shall be appointed by the President of the Court of
                 Arbitration of the International Chamber of Commerce ("ICC") in accordance wtth
                 the relevant ICC rules on the application of either Party (notice of the intention to
                 apply having been duly issued to the other) and, when appointed, the thtrd
                 orbitrator shall convene meetings of the arbitration panel, act as chairman thereof
                 and decide the differences or dispute should the arbitrators fail to rea'h a
                 "''JOntmous decision. No arbitrator shalt be appointed if such person has been
                 employed or contracted by either of the parties ar their respective Affiliates within
                 five (S) years prior to the notice of arbitration.

                 When on arbitrator refuses or neglects to act, or is mcapable of acting or dtes, a
                 new arbitrator shall be appointed in his place and the above provisions of
                 appointrng arbitrators shall, mutatis mutandis, govern the appointment of such
                 arbitrator

                 The arbitration award shall be final and binding upon the Parties. The award shalf
                 be deltvt>red within twa months after the appointment of the third arbitrator or
                 within such extended period as may be agreed by the parties. The costs af the
                 arbftratton shall be borne equally by the Parties. Each Party shalf, however, bear its
                 own lawyers' fees.




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              The venue of the arbitration shall bf! London, England or otherwise as agreed by   rh~.>
              Porties. The arbitration proceedings and record shall be in the English language

              The Part1es shall agree to appropriate arbitration terms to eKclusively resolve any
              disputes arising between them/rom this Agreement."

          <n accordance with the provisions of Arttcle 3 of Schedule 1 to the Nigerian Arbitratton
          and ConctHation Act:

             fl) Please accept this letter as P&IO's demand that any and all disputes concerning
                   the interpretation or performance of the Agreement be referred to
                   arbitration. including but not necessarily limited to the dispute identified
                   above in respect of the Government's breach{es) of clause 3 and Appendix A
                   of the Agreement.

             ! 2) The names and address of the parties are:

                   (a) (for the Ministry of Petroleum Resources (for an on behalf of the Federal
                       Government of Nigeria)

                             The Honourable Minister of Petroleum Resources
                             NNPC Towers
                             Herbert Macaulay Way
                             AbuJa
                             Nigeria

                   fb)lfor P&ID)

                             The Chairman
                             Process and Industrial Developments Ltd
                             158 Buchanan Crescent
                             Off Aminu Kanu Cresent
                             Wuse II, Abuja, FCT
                             Nigeria

                             Attn: Mr. Neil C. Hitchcock, Projects Director

                   let   Please note that the current address of P&ID is as follows:

                             12, Vaal Street,
                             ott Rhine Street, Ministers Hill,
                             Maitama,
                             AbuJa,
                             FCT, Nigena

             (3) The arbitration agreement is contained in clause 20 of the Agreement set out
                   above.

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              ,'4) The dispute arises out of the Agreement.

                  Sl The claim 1s for breach of contract as described above. P&ID reserves the right
                       to make such further or alternative claims as it may be advised to make in
                       relat1on to the matters referred to above. At present, P&IO estimates its loss
                       of profit as a re:oult of the matters referred to above over the 20 year term of
                       Phase 1 of the Project to be not less than US$1,991,816,709 (one billion nine
                        hundred and ninety one mtllion e1ght hundred and sixteen thousand seven
                        hundred and nine US Dollars). P&ID reserves the right to modify the amount of
                        its claim, including so as to claim in respect of other losses and/or in respect of
                        eJCpenses. P&IO will also claim interest on such sums as may be awarded to it
                        as weB as its legal costs and the costs of the arbitration.

              16) P&to will be seeking damages and/or other relief.

              (7) Clause 20 of the Agreement provides for the constitution of the arbitral tribuna!.
                        P&IO shall appoint its arbitrator within 30 days of the date of receipt by the
                        Government of th1s notice. P&ID calls on the Government to appoint its
                        arbitrator also within 30 days of the date of receipt of this notice.

           For the avoidance of doubt, nothing in this letter is intended to amount to an
           acceptance on the part of P&ID of any repudiatory breach of the Agreement on the part
           of the Government. So far as P&IO is concerned, the Agreement remains in full force.
           In particular, P&ID intends .notwithstanding the present dispute and the
           commencement of arbitration to proceed with Phase 2 of the Agreement.

           At> with our letter of 27 July 2012, the necessitY of writing to you in these terms and
           that   1t   has been necessary to give this notice of commencement of arbitration is very
           mu~n regretted.     Notwithstanding that, it remains our earnest hope that the present
           difficulties can be resolved to the satisfaction of both parties so that the Project can be
           ;rnplemented for the benefit of all concerned as originally envisaged.

           Yours respectfully,




           Neil C. Hitchcock
           ProJects Director




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                    EXHIBIT 7




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      IN THE MATTER OF THE ARBITRATION ACT 1996 (ENGLAND AND WALES)

      AND


      AND IN THE MATTER OF AN ARBITRATION UNDER THE RULES OF THE
      NIGERIAN ARBITRATION AND CONCILIATION ACT (CAP Al8 LFN 2004)


      BETWEEN:


                 PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                     Claimant


                                         and


                    THE MINISTRY OF PETROLEUM RESOURCES
                     OF THE FEDERAL REPUBLIC OF NIGERIA
                                                                   Respondent




                             PART FINAL AWARD




                                         Tribunal:
                            Lord Hoffmann (Presiding Arbitrator)
                                      ChiefBayo Ojo
                                     Sir Anthony Evans




                                        June 2014




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                       A.      THE PARTIES AND THEIR LAWYERS


      1. The Claimant ("P&ID") is an engineering and project management company
         registered at Trident Chambers, P.O. Box 146, Road Town, Tortola, in the British
         Virgin Islands with a Nigerian office at 12 Vaal Street, off Rhine Street, Ministers
         Hill, Maitama, Ahuja. It is represented by Harcus Sinclair, 3 Lincoln' s Inn
         Fields, London WC2A 3AA, United Kingdom.


      2. The Respondent ("the Government" or "the Ministry") is the Ministry of
         Petroleum Resources of the Federal Government of the Federal Republic of
         Nigeria whose office address is 11th Floor, Block D, NNPC Towers, Herbert.
         Macaulay Way, Central Business District, Ahuja, Nigeria. It was first represented
         by Ajumogobia & Okeke, 2nd Floor, Sterling Towers, 20 Marina, Lagos, Nigeria
         and is now represented by Twenty Marina Solicitors LLP, 2"d Floor, Sterling
         Towers, 20 Marina, Lagos, Nigeria.




                               B.      SUMMARY OF THE DISPUTE


     3. On 11 January 2010 Claimant and Respondent ("the parties") entered into a
         written Gas Supply and Processing Agreement ("GSPA") whereby the
         Government agreed that for a term of20 years it would make to available to P&ID
         400 MMScuFD ofWet Gas and P&ID agreed to process the gas and return
         approximately 85% by volume to the Government in the form of Lean Gas.


     4. For the purpose of enabling the Wet Gas to be processed, P&ID agreed to
         construct two or more process streams with ancillary facilities.


     5. The supply of Wet Gas by the Government was to take place in two phases. In
        Phase 1, the Government was to supply 150 MMScuFD "during or before the last
        quarter of2011 ". In Phase 2, the remaining 250 MMScuFD were to be supplied
        "on or before the third quarter of2012".




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      6. The Claimant alleges that the Government, in breach of its obligations, did not
          provide any Wet Gas by the dates stipulated or at all. On 20 March 201 3, no Wet
          Gas having been delivered, P&ID wrote to the Ministry alleging that it had
         repudiated the GSPA and accepting the repudiation. It claims about US$ 6
         billion damages for lost profits.




                  C.          GOVERNING LAW AND ARBITRATION CLAUSE


      7. Clause 20 of the GSP A, so far as relevant, provides:


                       "The Agreement shall be governed by, and construed in accordance
                       with the laws of the Federal Republic of Nigeria.

                       The Parties agree that if any difference or dispute arises between them
                       concerning the interpretation or performance of this Agreement and if
                       they fail to such difference or dispute amicably, then a Party may serve
                       on the other a notice of arbitration under the rules of the Nigerian
                       Arbitration and Conciliation Act (Cap A18 LFN 2004) which, except
                       as otherwise provided herein, shall apply to any dispute between such
                       Parties under this Agreement. Within thirty (30) days of the notice of
                       arbitration being issued by the initiating Party, the Parties shall each
                       appoint an arbitrator and the arbitrators thus appointed by the Parties
                       shall within fifteen (15) days from the date the last arbitrator was
                       appointed, appoint a third arbitrator to complete the tribunal ...

                       The arbitration award shall be final and binding upon the Parties. The
                       award shall be delivered within two months after the appointment of
                       the third arbitrator or within such extended period as may be agreed
                       by the Parties. The costs of the arbitration shall be borne equally by
                       the Parties. Each party shall, however, bear its own lawyers' fees.

                    The venue of the arbitration shall be London, England or otherwise as
                    agreed by the Parties. The arbitration proceedings and record shall be
                    in the English language ... "



                                 D.          PROCEDURAL HISTORY


     8. The arbitration was commenced by a Notice of Arbitration served by the Claimant
         on 22 August 2012. By letter dated 19 September 2012 the Claimant appointed
         Sir Anthony Evans as arbitrator and by letter dated 30 November 201 2 the


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           Ministry, acting by Ibrahim H Dikko, its Legal Adviser, appointed Chief Bayo
           Ojo S.A.N. as arbitrator. On 29 January 2013 Sir Anthony Evans and ChiefBayo
           Ojo appointed Lord Hoffmann as Presiding Arbitrator.


      9. On 13 May 2013 Messrs Twenty Marina Solicitors, on behalf of the Respondent,
           agreed a procedural timetable as follows:



              I. The Claimant shall serve a Statement of Claim complying with Article 18 of
              the Rules ofthe Nigerian Arbitration and Conciliation Act 1990 ("the Rules") on
              or before [28 June 2013].

              2. The Respondent shall serve a Statement of Defence complying with Article 19
              ofthe Rules on or before (31 July 2013].

              3. There shall be a Procedural Conference on the earliest convenient date after [31
              July 2013].

              4. For the purpose of Article 2 of the Rules all timings shall be at London, United
              Kingdom.


     10. By e-mail dated 14 May 2013 the Presiding Arbitrator approved the timetable on
           behalf of the Tribunal as Procedural Order No I.


     11. The Claimant served a Statement of Case on 28 June 2013.


     12.      On 7 August 2013 the Presiding Arbitrator sent an e-mail to the parties in the
     following terms:


              The Tribunal notes with concern that the Respondent has neither complied
              with Procedural Order No 1, requiring it to serve a Statement of Defence on or
              before 30 July 2013, or applied for an extension ofthe time within which to do
              so.

              The Tribunal proposes to discuss the future progress of the arbitration with the
              parties at a telephone conference on 21 August 2013. The parties are
              requested to arrange a convenient time on that date with my clerk, Ms Kate
              Trott.




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      12. On 14 August 2013 the solicitors for the Claimant and the Respondent notified the
          Tribunal that a telephone hearing on 21 August 2013 would be convenient.


      13. On 16 August 2013 the Respondent's solicitors sent an e-mail to the Tribunal and
          the Claimant in the following terms:


             We regret to bring to your attention the fact that it has only become
             apparent to us as counsel that we will not have complete instructions
             that will enable us provide proper representation for the Respondent
             at the telephone hearing scheduled for 21 August 2013.

             Indeed the need to secure detailed information correspondence, reports
             and further instructions is also responsible for the delay in the
             submission of our statement of defence.

             In the circumstances, we are constrained to seek for a postponement of
             the telephone hearing to a date in the week commencing 2 September
             2013. We also seek an extension of time within which to submit a
             statement of defence by 30 days from the date of the telephone hearing.


      14. On 19 August 2013 the Claimant sent an e-mail to the Tribunal and the
         Respondent proposing that the Tribunal should make Procedural Order No 2 in
         the following terms:


                    UPON the Respondent having failed to serve any Statement of
                    Defence on or before 31 July 2013;

                    AND UPON the Respondent having failed, on or before 31 July 2013,
                    to show sufficient cause for such failure, as required by Article 28 of
                    the Arbitration Rules set out in the First Schedule to the Arbitration
                    and Conciliation Act ofNigeria ("the Rules").

                    IT IS ORDERED [BY CONSENT] THAT

                    1.     The arbitral proceedings shall continue;

                    2. The Respondent shall serve a Statement of Defence complying with
                    Article 19 of the Rules on or before Friday 4 October 2013;

                    3. There shall be a Procedural Conference on a date after Friday 4
                    October 2013;

                    4. In the event that the Respondent fails to serve a Statement of
                    Defence in accordance with paragraph 2 above, the Arbitral Tribunal



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                     shall be entitled to continue the proceedings in accordance with section
                     21 (b) of the Nigerian Arbitration and Conciliation Act 1990;

                     5. For the purpose of Article 2 of the Rules all timings shall be at
                     London, United Kingdom.

      15. On 19 August 2013 the Presiding Arbitrator sent an e-mail to the parties in the
         following terms:
                     1.     The Tribunal is minded to make an order in the terms of the draft
                     submitted by the Claimant 1s solicitors in their e-mail of 19 August
                     2013. If the Respondent has any objection, the Tribunal should receive
                     it before 6 pm London time on Friday 23 August 2013.
                     2.     The telephone conference arranged for 21 August 2013 is
                     vacated.


      16. No objection was received and on 14 September 2013 the Tribunal made
         Procedural Order No 2 in the terms of paragraphs I to 5 of the Claimant's draft.


     17. On 3 October 2013 the Respondent served a Notice of Preliminary Objection in
         which it alleged that the GSPA was void under Nigerian law because the Ministry
         lacked legal capacity to contract and because the Claimant had failed to comply
         with section 54 of the Companies and Allied Matters Act Cap 20 LFN 2004. It
         also alleged that the arbitration agreement was itself void for lack of capacity and
         that the tribunal therefore lacked jurisdiction.


     18. On 11 October 2013 the Claimant' s solicitors wrote to the Respondent's solicitors
         inviting them to agree that the Tribunal should rule upon its jurisdiction pursuant
         to section 31(4) ofthe Arbitration Act 1996 (England and Wales):

                    Where an objection is duly taken to the tribunal's substantive
                    jurisdiction and the tribunal has power to rule on its own jurisdiction, it
                    may-

                            (a)     rule on the matter in an award as to jurisdiction, or
                            (b)     deal with the objection in its award on the merits.

                    If the parties agree which of these courses the tribunal should take, the
                    tribunal shall proceed accordingly.




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      19. On 14 October 2013 the Respondent's solicitors replied accepting the proposal
          that the Tribunal should rule in an award on its jurisdiction.


      20. On 6 November 2013 the Presiding Arbitrator sent an e-mail to the parties in the
          following terms:


             1. The Tribunal agrees with the parties that it would be desirable that it should
             rule, as a preliminary issue, as to whether or not it has jurisdiction to decide
             upon the validity of the arbitration clause.

             2. The Tribunal also considers that as this question is bound to involve an
             investigation of whether the contract was in fact void for the reasons advanced
             by the Respondent, the Tribunal should also (but only in the event that it
             decides that it has jurisdiction to do so) proceed as a preliminary issue to
             decide whether the contract was void or not.


      21. On 22 November 2013 the Respondent's solicitors replied in the following terms:


                    The Respondent agrees that the question on whether or not the
                    Tribunal has jurisdiction to decide upon the validity of the arbitration
                    clause, is bound to involve an investigation of whether the contract
                    was in fact void, therefore the Tribunal may decide on this latter point
                    as a preliminary issue (but only in the event that it decides that it has
                    jurisdiction to do so).

     22. The Claimant's solicitors also agreed and on 7 January 2014 the Tribunal
         accordingly made the following Procedural Order No 3:


                IT IS ORDERED BY CONSENT THAT:

                    1.       The arbitral proceedings shall continue;

                    2.      The following questions shall be decided as preliminary issues
                    ("the Preliminary Issues"):

                         (a) Whether the Tribunal has jurisdiction to rule upon its own
                         jurisdiction to decide any of the matters in issue in the arbitration;

                         (b) If the answer to question (a) is yes, whether it has jurisdiction
                         to decide whether the contract is valid and binding upon the
                         parties;




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                        (c) If the answer to question (b) is yes, whether the contract is void
                        for any of the reasons stated in the Notice of Preliminary
                        Objection;


                    3.             The Respondent shall serve its submissions in relation
                    to the Preliminary Objection and the Preliminary Issue with documents
                    and evidence in support on or before Friday 24 January 2014;

                    4.             The Claimant shall serve its Response to the
                    Respondent's submissions with documents and evidence in support on
                    or before Friday 14 February 2014;

                    5.            The Respondent shall serve its Reply to the Claimant's
                    Response with documents and evidence in support on or before Friday
                    28 February 2014;

                    6.             There shall be a telephone conference upon a date to be
                    arranged not later than 25 January 2014 to fix a date for an oral hearing
                    on the preliminary issues and to deal with any other procedural
                    matters.

                    7.           The parties shall exchange skeleton arguments and
                   serve them upon the Tribunal four clear days before the date of the oral
                   hearing.

                   8.             For the purpose of Article 2 of the Rules all timings
                   shall be at London, United Kingdom.

                   9.              The parties have leave to apply to vary the provisions of
                   this Order.

     23. In accordance with paragraph 3 of Procedural Order No 3, the Respondent served
        its submissions on the preliminary issues on 24 January 2014. No evidence or
        documents were served in support.


     24. In accordance with paragraph 4 of Procedural Order No 3, the Claimant served its
        submissions on 14 February 2014, together with a witness statement by Mr
        Michael Quinn, Chairman ofP&ID (together with exhibits) and an expert report
        by the Hon Justice Belgore.




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      25. On 15 February 2014 the Tribunal made by consent Procedural Order No 4 fixing
          14 May 2014 as the date for an oral hearing of the preliminary issues at the
          International Disputes Resolution Centre, 70 Fleet Street, London EC4Y lEU.


      26. On 28 February 2014 the Respondent served a Reply to the Claimant's
          submissions.


      27. On 17 April2014 the Respondent notified the Tribunal that it was unable to serve
         an expert report in response to that of Justice Belgore by 18 April but hoped to be
         able to say when it would be able to do so by 25 April.


      28. On 7 May 20 14 the Respondent's solicitors notified the Tribunal that "due to the
         inability of our client to provide us with complete instructions for the engagement
         of an expert to prepare a statement in rebuttal to the statement of Justice Bel gore
         (Rtd)" it would be unable to serve its skeleton argument as provided in Procedural
         Order No 3 and might not be able to attend the hearing on 14 May 2014.


     29. On 8 May 2014 the Presiding Arbitrator asked the Respondent's solicitors for
         confirmation as to whether or not they would be attending the hearing on 14 May
         2014, indicating that if they were not going to attend, the Tribunal might decide to
         dispense with a hearing and rule on the preliminary issues on the basis of the
         written material which had been submitted.


     30. On 9 May 2014 the Respondent's solicitors replied:


             Due to the inability of our client to provide us with complete instructions in
             respect of this arbitration, we are constrained to inform the Tribunal that it
             appears we will be unable to attend the hearing scheduled for the 14th of May
             2014.

     31. No application was made for an adjournment of the hearing. On 11th May 2014
         the Tribunal notified the parties that it proposed to dispense with an oral hearing
         and by e-mail dated 11 May 2014 the Claimant notified the Tribunal that it did not
         require an oral hearing.




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      32. The materials before the Tribunal for the purposes of its rulings on the preliminary
          issues are accordingly the Claimant's Request for Arbitration and Statement of
         Case, the Notice of Preliminary Objection and the Respondent's Submissions in
         support and Reply; the Claimant's Submissions on the Preliminary issues, the
         witness statement of Mr Quinn and the expert report of Justice Bel gore.


                                        E. THE EVIDENCE


      33. We have been assisted by the expert report of Justice Belgore, who is a
         distinguished Nigerian jurist and former Chief Justice of his country. Although
         the Respondent adduced no expert evidence of its own, it cited a number of cases
         in its submissions. We have read and considered these, although for the most part
         we have not thought it necessary to refer to them. As the English law relevant to
         the preliminary issues is very similar to Nigerian law, the members of the
         Tribunal whose legal background is solely English have also been able to compare
         the views of Justice Belgore with the conclusions which they consider an English
         court would have reached.


     34. The witness statement of Mr Quinn has provided helpful background on
         uncontroversial matters but the only facts which we found it necessary to mention
         are the dates of incorporation ofthe Claimant and its sister company in Nigeria.


                                F.      THE PRELIMINARY ISSUES



         Issue (a): Whether the Tribunal has jurisdiction to rule upon its own jurisdiction
         to decide any of the matters in issue in the arbitration

     35. This question did not appear to be in dispute. Article 21 of the Arbitration Rules
         scheduled to the Nigerian Arbitration and Conciliation Act is clear upon the point:


                    1. The arbitral tribunal shall have the power to rule on objections that it
                    has no jurisdiction, including any objections with respect to the
                    existence or validity of the arbitration clause or of separate arbitration
                    agreement.

                    2. The arbitral tribunal shall have the power to determine the existence


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                     or the validity of the contract of which an arbitration clause forms a
                     part ...

                     4. In general, the arbitral tribunal should rule on a plea concerning its
                     jurisdiction as a preliminary question. However, the arbitral tribunal
                     may proceed with the arbitration and rule on such a plea in their final
                     award.


      36. By the law of the seat of arbitration, England, section 30(1) of the Arbitration Act
          1996 confers a similar jurisdiction:


             30.     Competence of tribunal to rule on its own jurisdiction.

             (1)     Unless otherwise agreed by the parties, the arbitral tribunal may rule
             on its own substantive jurisdiction, that is, as to-

             (a)whether there is a valid arbitration agreement,

             (b)whether the tribunal is properly constituted, and

             (c)what matters have been submitted to arbitration in accordance with the
             arbitration agreement.


         Issue (b) If the answer to question (a) is yes, whether it has jurisdiction to
         decide whether the contract is valid and binding upon the parties.


      37. Issue (b) has been separated from issue (c) because the Respondents recognize
         that even if the principal contract is for some reason invalid, the arbitration
         agreement is a separate contract and may nevertheless be valid, thereby giving the
         Tribunal jurisdiction to decide whether the principal contract is valid or not. This
         principle of severability is expressed in Article 21.2 of the Nigerian Arbitration
         Rules ("an arbitration clause .. . shall be treated as an agreement independent of the
         other terms of the contract") and section 7 of the English Arbitration Act 1996.
         The Respondent' s contention is that the grounds of invalidity upon which it relies
         affect the validity of both the principal contract and the arbitration clause, thereby
         depriving the Tribunal of jurisdiction.


     38. In practice, however, the dispute is about whether the alleged grounds of
         invalidity impair any part of the GSP A, whether its principal provisions or the
         arbitration clause. Thus an answers to issues (b) and (c) will be the same. Before




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             answering either (b) or (c), we shall therefore discuss in general terms the grounds
             of invalidity upon which the Respondent relies.


             (i) Lack of capacity


         39. The Respondent submits that it does not have capacity to contract because only
             persons recognized as such by the law, whether natural or juristic, can have such
             capacity and the Respondent is neither. No one suggests that the Ministry is a
             natural person and so the question is whether it is a juristic one. The GSP A is
             expressed to be made between the Claimant and "the Ministry of Petroleum
             Resources for and on behalf of the Federal Government of Nigeria". Is the
            Federal Government of Nigeria a juristic person, able to enter into contracts? It is
            hard to see how the contrary argument could be advanced and the Respondent
            does not attempt to do so. It accepts that "the Government of the Federation ... is
            constitutionally endowed with a legal personality".1 But it says that the Ministry,
            by contrast, is an "unincorporated department of government", lacking in a
            separate legal personality.


     40. Quite apart from the fact that the Ministry is expressed to contract for and on
            behalf of the Government, we think that the distinction between the various
            Ministries and the Government is illusory. The Ministries are the Government,
            operating in different spheres? As Justice Belgore points out, section 5(1) ofthe
            Constitution of the Federal Republic of Nigeria 1999 provides that the executive
            powers of the Federation are vested in the President and may be exercised by him
            "through ... Ministers ofthe Government ofthe Federation". By section 147 of the
            Constitution, the President may assign to any Minister "responsibility for any
            business of the Government".


     41. There may in some cases be room for argument over whether a public body is an
            organ of government or a separate legal entity but there appears to us no room for
            doubt that a Ministry is part of the Government.



     1   Submission of 24 January 2014, p. 5.
     2    Report of Justice Belgore, paragraph 10.


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          (ii) The Companies and Allied Matters Act 2004


      42. Section 54 of the Companies and Allied Matters Act 2004 ("CAMA") deals with
          foreign companies "intending to carry on business in Nigeria":


                    (1)      [E]very foreign company which before or after the
                    commencement of this Decree was incorporated outside Nigeria, and
                    having the intention of carrying on business in Nigeria shall take all
                    steps necessary to obtain incorporation as a separate entity in Nigeria
                    for that purpose, but until so incorporated, the foreign company shall
                    not carry on business in Nigeria or exercise any of the powers of a
                    registered company and shall not have a place of business or an
                    address for service of documents or processes in Nigeria for any
                    purpose other than the receipt of notices and other documents, as
                    matters preliminary to incorporation under this Decree.

           (2)       (2) Any act of the company in contravention of subsection (1) of
                     this section shall be void.

      43. The Respondent's submission is that the act of entering into the GSPA counted as
         an act of carrying on business in Nigeria and was therefore void.


      44. The facts, according to the uncontradicted witness statement ofMr Quinn, are that
         in 2006, with a view to carrying on the project envisaged by the GSP A, he and his
         colleagues caused two companies to be incorporated: the Claimant, incorporated
         on 30 May 2006 in the British Virgin Islands and Process and Industrial
         Developments (Nigeria) Ltd ("P&ID Nigeria"), incorporated on 21 July 2006 in
         Nigeria. The GSPA provided that when the project was operative, the
         Government was to receive a I 0% carried interest in its equity.


     45. The Claimant accepts that the business contemplated by the GSPA would have
         had to be carried on by P&ID Nigeria, in order to comply with section 54. But it
         submits that no such business was being carried on when the GSP A was executed
         and its execution was not in itself the carrying on ofbusiness.


     46. The Respondent relies upon the decision of the Court of Appeal (Ahuja Division)
         in Pawa Complex International Inc and Pawa Associates (Nig) Ltd v Petroleum
         (Special) Trust Fund (2008) 9 CLRN 16. The first appellant ("Pawa Florida")



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             was incorporated in Florida and the second appellant ("Pawa Nigeria") in Nigeria.
             The Trust Fund appointed Pawa Florida as consultant in connection with a
             development project. It caused Pawa Nigeria to be incorporated and at some
             indeterminate date gave it power of attorney to perform the consultancy contract.
             However, the judge found 3 that -


                         "apart from not effecting the legalization of [Pawa Nigeria] prior to
                         conunencing its intended business [Pawa Florida] went ahead to run
                         that business itself despite the appointment of [Pawa Nigeria] as its
                         attorney. Despite that purported appointment, [Pawa Florida]
                         continued to run the business as if the irrevocable power of attorney
                         had not been donated ... "

     47. Giving the judgment of the Court of Appeal, Peter-Odile JCA declined to interfere
            with these findings of fact. He approved an earlier dictum that section 54
            prohibited only "running business in Nigeria", which meant conducting it "as
            continuous operations or permanent occupation" . But in this case, that was what
            Pawa Florida had done. The case is no authority for the proposition that merely
            entering into a contract which contemplates a business which will be run by a
            Nigerian company can infringe section 54.


     48. Justice Belgore in his expert report likewise expresses the view that "entering into
            a contract to do business in Nigeria entity is not per se 'carrying on business' [in
            Nigeria]". We think that the authorities cited by the Justice support this
            proposition. Indeed, the language of the section may be said to contemplate that
            a foreign company will take steps which indicate an intention to carry on business
            in Nigeria (such as entering into the GSPA) and to require that a Nigerian
            company be incorporated only at the stage when such business is actually about to
            be commenced.


     49. We therefore consider that section 54 does not render any part of the GSP A
            unlawful.


            Issue (c): If the answer to question (b) is yes, whether the contract is void for any
            of the reasons stated in the Notice ofPreliminary Objection.

     3   At pp. 24-25.



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      50. It follows from our reasons for the answer to issue (b) that the answer to issue (c)
         is no.


                                        G.       DISPOSITION


      51. We, Leonard, Lord Hoffmann, ChiefBayo Ojo and Sir Anthony Evans, having
         read the parties submissions and pleadings and written evidence, and having
         carefully considered the same and for the reasons stated above, make our Part
         Final Award as follows:


                     (1)     We declare that -

                     (a)     The Tribunal has jurisdiction to rule upon its own jurisdiction
                     to decide any of the matters in issue in the arbitration;

                     (b)     The Tribunal has jurisdiction to decide whether the contract (i.e
                     the GSPA) is valid and binding between the parties;

                     (c)     The contract (i.e. the GSPA) is not void for any ofthe reasons
                     stated in the Notice of Preliminary Objections.

                      (2)    We reserve for later decision all other matters in dispute in the
                     reference.



      Place of arbitration: London, United Kingdom.




      Signed:




      Leonard, Lord Hoffmann




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     ChiefBayo Ojo




     Sir Anthony Evans




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                    EXHIBIT 8




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     IN THE MATTER OF THE ARBITRATION ACT 1996 (ENGLAND AND WALES)

     AND


     AND IN THE MATTER OF AN ARBITRATION UNDER THE RULES OF THE
     NIGERIAN ARBITRATION AND CONCILIATION ACT 1988


     BETWEEN:


                PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                     Claimant


                                            and


                    THE MINISTRY OF PETROLEUM RESOURCES
                     OF THE FEDERAL REPUBLIC OF NIGERIA
                                                                   Respondent




                             PART FINAL AWARD




                                            Tribunal:
                            Lord Hoffmann (Presiding Arbitrator)
                                   ChiefBayo Ojo, SAN
                                     Sir Anthony Evans




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                      A.        THE PARTIES AND THEIR LA WYERS
     1.      The Claimant ("P&ID") is an engineering and project management company
     registered at Trident Chambers, P.O. Box 146, Road Town, Tortola, in the British
     Virgin Islands with a Nigerian office at 12 Vaal Street, off Rhine Street, Ministers
     Hill, Maitama, Ahuja. It is represented by SC Andrew LLP of Napier House, 24
     High Holborn, London WC1V 6AZ, United Kingdom.

     Contact: Mr Seamus Andrew
     Telephone +44(0) 20 7183 1701
     E-mail seamus.andrew@scaontier.net

     2.     The Respondent ("the Government" or "the Ministry") is the Ministry of
     Petroleum Resources of the Federal Government of the Federal Republic ofNigeria
     whose office address is 11 111 Floor, Block D, NNPC Towers, Herbert Macaulay Way,
     Central Business District, Ahuja, Nigeria. It is represented by Mr Olasupo Shashore
     SAN of counsel and Twenty Marina Solicitors LLP, 2nd Floor, Sterling Towers, 20
     Marina, Lagos, Nigeria (Ms Lateefat Hakeem-Bakare).

     Contacts:
     Mr Olasupo Shashore SAN
     olasupo@shashore. com
     Ms Lateefat Hakeem-Bakare
     lateefat.hakeem-bakare@tmsli p.com


                           B.      SUMMARY OF THE DISPUTE

     3.       On 11 January 2010 P&ID and the Government ("the Parties") entered into a
     written Gas Supply and Processing Agreement ("GSPA") whereby the Government
     agreed that for a term of20 years it would make to available to P&ID 400 MMScuFD
     ofWet Gas and P&ID agreed to process the gas and return approximately 85% by
     volume to the Government in the form of Lean Gas. The relevant terms of the GSP A
     (other than the governing law and arbitration clause set out in paragraph 7 hereafter)
     are in the Annexure to this Award.

     4.     For the purpose of enabling the Wet Gas to be processed, P&ID agreed to
     construct two or more process streams with ancillary facilities.

     5.      The supply of Wet Gas by the Government was to take place in two phases.
     In Phase I, the Government was to supply 150 MMScuFD "during or before the last
     quarter of20 11 ". In Phase 2, the remaining 250 MMScuFD were to be supplied "on
     or before the third quarter of20 12".

     6.     There is no dispute that the Government never supplied any Wet Gas. On 20
     March 2013 P&ID wrote to the Government alleging that it had repudiated the GSPA
     and accepting the repudiation. It claims about US$ 6 billion damages for lost profits.
     The Government alleges that the agreement was on various grounds invalid or
     subsequently frustrated, varied or discharged by force majeure.




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               C.      GOVERNING LAW AND ARBITRATION CLAUSE

     7.    Clause 20 of the GSP A, so far as relevant, provides:

                    "The Agreement shall be governed by, and construed in accordance
                    with the laws of the Federal Republic ofNigeria.

                    The Parties agree that if any difference or dispute arises between them
                    concerning the interpretation or performance of this Agreement and if
                    they fail to settle such difference or dispute amicably, then a Party may
                    serve on the other a notice of arbitration under the rules of the Nigerian
                    Arbitration and Conciliation Act 1988 which, except as otherwise
                    provided herein, shall apply to any dispute between such Parties under
                    this Agreement. Within thirty (30) days of the notice of arbitration
                    being issued by the initiating Party, the Parties shall each appoint an
                    arbitrator and the arbitrators thus appointed by the Parties shall within
                    fifteen (15) days from the date the last arbitrator was appointed,
                    appoint a third arbitrator to complete the tribunal.. .

                    The arbitration award shall be final and binding upon the Parties. The
                    award shall be delivered within two months after the appointment of
                    the third arbitrator or within such extended period as may be agreed by
                    the Parties. The costs of the arbitration shall be borne equally by the
                    Parties. Each party shall, however, bear its own lawyers' fees.

    The venue of the arbitration shall be London, England or otherwise as agreed by the
    Parties. The arbitration proceedings and record shall be in the English language... "


                             D.      PROCEDURAL HISTORY

    8.      The arbitration was commenced by a Notice of Arbitration served by the
    P&ID on 22 August 2012. By letter dated 19 September 2012 P&ID appointed Sir
    Anthony Evans as arbitrator and by letter dated 30 November 2012 the Ministry,
    acting by Ibrahim H Dikko, its Legal Adviser, appointed ChiefBayo Ojo S.A.N. as
    arbitrator. On 29 January 2013 Sir Anthony Evans and ChiefBayo Ojo appointed
    Lord Hoffmann as Presiding Arbitrator.

    9. On 9 May 2013 the parties agreed a procedural timetable by which P&ID was to
    serve a Statement of Claim on or before 28 June 2013 and the Government was to serve a
    Statement of Defence on or before 31 July 2013. By e-mail dated 14 May 2013 the
    Presiding Arbitrator approved the timetable on behalf of the Tribunal as Procedural
    Order No 1.

    10.    P&lD served a Statement of Case on 28 June 2013.

    11.    On 14 September 2013 , no Statement of Defence having been served, the
    Tribunal made Procedural Order No 2 which directed that the Government serve a
    Statement of Defence by 4 October 2013 and that in default of such pleading the


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     Tribunal would be entitled to continue the proceedings in accordance with section
     21 (b) of the Nigerian Arbitration and Conciliation Act 1990.

     12.     On 3 October 2013 the Government served a Notice of Preliminary Objection
     in which it alleged that the GSP A was void under Nigerian law because the Ministry
     lacked legal capacity to contract and because P&ID had failed to comply with section
     54 of the Companies and Allied Matters Act Cap 20 LPN 2004. It also alleged that
     the arbitration agreement was itself void for lack of capacity and that the Tribunal
     therefore lacked jurisdiction.

     13.    On 7 January 2014 the Tribunal by consent made Procedural Order No 3 by
     which it directed that the following questions shall be decided as preliminary issues:

                      (a) Whether the Tribunal has jurisdiction to rule upon its
                      own jurisdiction to decide any of the matters in issue in the
                      arbitration;
                      (b) If the answer to question (a) is yes, whether it has
                      jurisdiction to decide whether the contract is valid and
                      binding upon the parties;
                      (c) If the answer to question (b) is yes, whether the
                      contract is void for any of the reasons stated in the Notice
                      of Preliminary Objection.

     14.     On 3 July 2014 the Tribunal issued a Part Final Award in which it ruled that it
     had jurisdiction to decide the matters in issue in the arbitration, that it had jurisdiction
     to decide whether the contract was valid and binding and that the contract was not
     void for any of the reasons stated in the Notice of Preliminary Objections.

     15.   On 21 July 2014 the Tribunal issued Procedural Order No 5, directing that the
     Government serve its Statement of Defence by 19 September 201 4 .

     16.     On 14 February 2015 P&ID tendered the witness statement ofMichael Quinn
     and the documents exhibited thereto as the factual evidence upon which it intended to
     rely in support of its Statement of Claim.

     17.     On 16 February 20 15, the Government not having served a Statement of
     Defence, the Tribunal made by Procedural Order No 6 a peremptory order within the
     meaning of section 42 of the Arbitration Act 1996 (UK) directing the Government to
     serve its Statement ofDefence by 27 February 2015.

     18.    On 27 February 2015 the Government served a Statement of Defence.

     19.   On 6 March 2015 P&ID served a Reply to the Govenunent's Statement of
     Defence.

    20.    On 9 April 2015, by Procedural Order No 7, the Tribunal directed that -
    (a)    the Govenunent should by 17 Aptil 2015 serve upon P&ID and the Tribunal
    the documents and other evidence upon which it intended to rely in support of its
    Statement of Defence;




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     (b)    Nigerian law should be treated as a question of law and not required to be
     proved as a question of fact but that the parties should be at liberty to adduce evidence
     ofNigerian law by 1 May 2015.

     21.    On 22 April2015 , the Govenunent not having served its documents and
     evidence according to Procedural Order No 7, the Tribunal made Procedural Order
     No 8 by which it ordered it to do so by 1 May 2015.

     22.    On 1 May 2015 P&ID served an expert report of the Hon. Justice Belgore on
     Nigerian law.

     23. On 4 May 2015 the Government served the witness statement of Mr lkechukwu
     Oguine in support of its Statement of Defence.

     24.     On 4 May 2015, after consultation with the parties, the Tribunal directed that
     there should be a Case Management Conference on 6 May 2015 at 10 am BST. On
     the same date the Presiding Arbitrator sent an e-mail to the parties in the following
     terms:
                     Dear colleagues

                     The Tribunal would be grateful if the parties would send it,
                     by 6 pm BST tomorrow Tuesday 5 May, an agenda for the
                     Case Management Conference, preferably agreed but
                     otherwise with each party's list of the matters to be
                     discussed. Presumably these will include (a) bifurcation of
                     liability and damages (b) requests for documents, if any (c)
                     payment of the deposit (d) hearing date and arrangements
                     for the hearing (e) timing of delivery of bundles and written
                     submissions (f) cross-examination of witnesses, if any.

                     Yours sincerely

                     Leonard Hoffmann

     25.    On 5 May 2015 P&ID's lawyers replied to the Presiding Arbitrator's e-mail:

                     Dear Lord Hoffmann,
                     Further to your emails of yesterday, the Claimant proposes
                     the following agenda for discussion at the Case
                     Management Conference tomorrow morning:

                     (a) bifurcation ofliability and damages;
                     (b) payment of the deposit;
                     (c) hearing date and arrangements for the hearing;
                     (d) timing of delivery of bundles and written submissions.

                    The Claimant has written to the Respondent's lawyers to
                    seek agreement to the above agenda, although none has yet
                    been forthcoming.



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     26.      This proposal omitted discussion of requests for documents or the cross-
     examination of witnesses. On 5 May 2015 Mr Shashore on behalf of the Government
     replied:

                      Dear Presiding Arbitrator

                     Respondent agrees with the proposed agenda for
                     tomorrow's meeting ....

     27.     On 6 May there was a Case Management Conference by telephone at which
     P&ID was represented by Mr Seamus Andrew and the Respondent by Mr Olasupo
     Shashore. Neither side requested the attendance of a witness for cross-examination at
     the hearing.

     28.      On 6 May 2015 the Tribunal made Procedural Order No 9 by which it ordered
     that -

                     (a)    the proceedings should bifurcated and that there
                     should first be a hearing on liability and then, ifP&ID was
                     successful, a hearing on damages;
                     (b)    the Government should serve by 8 May 2015 a
                     statement of any primary facts in the witness statement of
                     Michael Quinn which were challenged and of any other
                     facts alleged to be relevant to the question of liability.

    29.    On 12 May 2015 the Government served a notice pursuant to Procedural
    Order No 9 stating the six facts in Mr Quinn's witness statement which it challenged.

    30.   On 25 May 2015 P&ID served a written skeleton argument stating the
    arguments which it intended to advance at the oral hearing on 2 June 2015.

    31.    On 28 May 2015 the Government served a written statement ofthe arguments
    which it intended to advance on the oral hearing on 2 June 1015.

    32.   On 31 May 2015 P&ID served a written statement in reply to the
    Government' s statement of28 May 20 15.

    33.    On 1 June 201 5 the Tribunal held a hearing at the International Disputes
    Resolution Centre, 70 Fleet Street London. Mr Seamus Andrew made submissions on
    behalf of P&ID and Mr Olasupo Shashore made submissions on behalf of the
    Government.

    34.    At the hearing the Government applied for leave to cross-examine Mr Quinn
    and Justice Belgore. The Tribunal refused leave on the following grounds:

                     (a)   both parties had been invited by the Presiding
                     Arbitrator on 4 May 2015 to discuss at the Case
                     Management Conference on 6 May 20 15 the question of
                     whether any witnesses should be cross-examined and the
                     Government had made no application at that stage;


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                          (b)    The provision in Procedural Order No 9 requiring the
                          Government to serve notice of any primary facts in the
                          witness statement of Mr Quinn that it challenged was
                          intended to enable the parties to know which, if any,
                          relevant facts were in dispute. In the event, P&ID said that
                          none of the six disputed facts were essential to their claim
                          and they did not intend to rely upon them. It followed that
                          there was nothing upon which cross-examination was
                          required.
                          (c)    Mr Quinn had died since making his witness
                          statement and, as Justice Belgore had not been notified of
                          any wish to cross-examine him, he was not in attendance.

     35.     P&ID did not cross-examine Mr Ikechukwu Oguine on witness statement and
     the Government has submitted that the Tribunal is therefore "duty bound to accept the
     evidence of Mr Ikechukwu Oguine as the truth in this arbitral dispute and to find in
     favour of the Respondent".' The Tribunal rejects this submission. First, there is no
     rule that a court or tribunal is bound to accept the evidence of a witness who has not
     been cross-examined. There is only a general principle of fairness which requires a
     court or tribunal , if asked to reject the evidence of a witness, to take into account
     whether he or the party calling him has been given a fair opportunity, by cross-
     examination or otherwise, to deal with the grounds upon which it is said that his
     evidence should be rejected. Secondly, although Mr Ikechukwu Oguine made what
     was called a witness statement, he gave no relevant evidence. His statement consisted
     of references to documents on the record and submissions in similar terms to those
     made by Mr Shashore. Accordingly, he has not deposed to any facts which the
     Tribunal is being invited to reject.

     36.   On 12 June 2015 the Government served a written Response to P&ID's reply
     of28 May 2015. We shall call this the "Final Submission" or "FS".


                              E.          EVENTS PRECEDING THE GSPA

     37.    The following is an account of the events which formed the background to the
     GPSA. It is taken from those parts of the witness statement of Mr Michael Quinn
     which have not been contested by the Government. Footnote references are to the
     paragraphs of this statement.

     (a)     Besides producing oil, an oil well also discharges gas, called "associated gas"
     or " Wet Gas". Wet Gas consists of natural gas combined with liquids (condensate
     and a mixture of propane and butane, called "Natural Gas Liquids" or "NGLs" ). Wet
     Gas is not suitable for power generation but the NGLs can be stripped out of the gas
     stream and sold as condensate and Liquid Petroleum Gas, while the remaining dry or
     lean gas can be supplied to power stations or for commercial use. 2




     I   Final Submission paragraph 43.
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     (b)   There is a chronic shortage of electric power in Nigeria, causing
     unemployment and poor economic performance outside the pure oil and gas sector. 3

     (c)    Although the Government has built a number of gas turbine power plants,
     many stand unused for lack of lean gas feedstock. International oil companies
     ("IOCs") have for various reasons been unwilling to produce lean gas. 4

     (d)    The Government was anxious to increase the supply of lean gas to the
     domestic market. In November 2007 it published a Gas Master Plan, designed to
     encourage investment in the supply and use of gas for power generation and industry. 5

      (e)   P&ID put to the Government a proposal which, shortly stated, was that the
     Government should supply it with Wet Gas free of charge. It would then process the
     gas and return the resulting Lean Gas to the Government free of charge and retain the
     NGLs for its own account. 6 This proposal was in principle accepted by the
     Govenunent.

    (f)     During the negotiation of the GSP A, there was discussion of where the
    Government would obtain the Wet Gas which it was contracting to supply. Part was
    expected to come from OML (Oil Mining Lease) 123, which was being operated by
    Addax Petroleum ("Addax"). 7 At the time of execution of the GSPA the Government
    was constructing the Adanga Pipeline from OML 123 to Calabar, with a throughput
    capacity of 600 MMSCuFD. It contemplated that this would be sufficient capacity to
    carry the 150 MMSCuFD required for Phase 1. For Phase 2, some other source was
    needed. OML 67, operated by Exxon Mobil ("Exxon"), appeared to be a likely
    source, but would require the construction of an additional length of pipeline. P&ID
    agreed that if this was needed, it would at its own expense construct a pipeline up to
    70 km in length. 8


                     F.      EVENTS SUBSEQUENT TO THE GSPA

    3 8.    The following account of events which followed the signature of the GSP A is
    again taken from the uncontested parts of the affidavit of Michael Quinn:

    (a)     In March 201 I Mr Quinn was informed that Addax was unwilling to supply
    more than 100 MMSCuFD as it needed 50 MMSCuFD for reinjection to maintain
    pressure.9 Mr Quinn wrote to NNPC proposing variation by which P&ID would
    receive the 150 MMSCuFD of wet gas from the Addax field and return 50
    MMSCuFD of lean gas to Addax for reinjection. It would thereby still be able to
    secure the NGLs from 150 MMSCuFD. 10



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     (b)    This proposal was not acceptable to NNPC, which suggested instead that
     P&ID should be supplied with gas from a non-associated gas field. As such gas
     would not yield NGLs, the proposal was that P&ID should instead be paid for the Jean
     gas supplied to the Government.''

     (c)    P&ID was in principle willing to enter into such an arrangement but
     negotiations progressed slowly. 12

     (d)     Addax (on whose OML the associated gas would be found) was at first willing
     to agree but in June 2012 withdrew its support. 13

     (e)   On 27 July 2012 Mr Quinn wrote to the Government saying unless a formal
     amendment had been agreed and executed by 10 August 2012, the offer to amend the
     GSP A would be withdrawn. 14 No fom1al amendment was executed.

     (f)         On 22 August 2012 P&ID delivered the Request for Arbitration.


                                         G.      THE ISSUES

     39.    The issues raised by the Govenunent in its Statement of Defence, the written
     submissions ("WS") supplied to the Tribunal by Mr Shashore for the purposes of the
     hearing, and the Final Submission are as follows:

           (a)      Did the Government have authority to enter into the GSPA? 15

           (b)      Was the Government's obligation to supply Wet Gas limited to such as
                    Addax and Exxon were willing to provide? 16

           (c)      Did the Government have any obligations under the GSPA before it
                    commenced the supply ofWet Gas? 17

           (d)      Was the Government's obligation to supply Wet Gas conditional upon the
                    Claimant having previously constructed the gas processing facilities? 18

           (e)      Was the GSPA vitiated by a misrepresentation by P&ID or a mistaken
                    belief on the part of both Parties that the OMLS contained 250
                    MMSCuFD 19 or 400MMSCuFD 20 of Wet Gas?

           (f)      Was the GSPA frustrated by the refusal of Addax to provide Wet Gas?2 1

     II 126
     12 130
    13 133
    I~ 149
    1s Defence paragraphs 1 and 2; WS paragraphs 8-16; FS paragraphs 2-36.

    16 Defence paragraphs 4 and 14; WS 37-49; FS paragraphs 44-45 .

    11 Defence paragraph 6; WS paragraphs 70-74
    18 Defence paragraph 7; WS paragraphs 17-36 and 75 ; FS paragraphs 46-49.

    19 Defence paragraphs 8-9; WS paragraphs 50-58
    20 Defence paragraph 10, WS paragraphs 59-64
    2 1 Defence paragraph 12.




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           (g)       Was the Government discharged by force majeure? 22

           (h)       Is the validity of the GSPA affected by the P&ID's alleged motives for
                     entering into it?23

           (i)      Is the validity ofthe GSPA affected by the P&ID's alleged lack of a
                    legitimate expectation that the Government would be able to perform its
                    obligations?24

           (j)      Was the GSPA void as illegal or contrary to public policy? 25

           (k)      Did the GSPA become extinct by the P&ID's acceptance of a bilateral
                    offer? 26

     40.         We shall discuss each of these issues in turn.


                                          H      DISCUSSION

     (a)         Capacity

    41.     It was clear from the argument at the oral hearing on 2 June 2015 and even
    clearer from the Government's subsequent written Response that great stress is laid
    upon the lack of capacity of the Minister of Petroleum Resources to enter into the
    GSP A on behalf of the Govenunent. The Government's submission described the
    holder of the office at the time of the GSP A as having been a "friendly" Minister who
    purported to commit the Government to obligations and concessions which exceeded
    his powers.

    42.     The question of capacity to enter into the GSPA was raised by way of
    preliminary objection and considered by the Tribunal in its first Part Final Award. At
    that stage, however, the objection took a rather different fonn. It was argued that the
    Ministry of Petroleum Resources was not a juristic person and therefore unable to
    enter into contracts. The Tribunal decided that the contracting party was the Federal
    Government of Nigeria, on whose behalf the GSP A said the Minister was acting. The
    Government was admittedly a juristic person capable of entering into contracts. The
    powers being exercised were the executive powers of the Government, vested in the
    President but exercisable on his behalf in accordance with sections 5(1) and 147 of
    the Constitution.

    43.    Mr Andrew submitted that, as a result of the first Part Final Award, the
    question of the Minister's capacity to enter into the GSPA on behalf of the
    Government was res judicata or, alternatively, that the present form of objection
    should have been raised at the time and that it would be an abuse of process to take

    zz Defence paragraphs 13-14, WS 65-69
    23 Defence paragraphs 15
    24 Defence paragraphs 17 and 18; WS paragraphs 86-91
    25 Defence paragraph 2 1; WS paragraphs 92-10 I
    26
       Defence paragraph 20; WS paragraphs 82-85


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      the point now. We think that the argument now put forward is not the same as that
      which the Tribunal considered in the first Part Final Award and therefore not res
     judicata. As for abuse of process, we would agree that if the first Part Final Award
     had been intended to deal with all questions of capacity, the Government should not
     be allowed to raise the question of capacity again. But the Preliminary Objections
     with which the Tribunal dealt at that stage were only points which the Government
     had selected as providing it with a defence which did not involve looking into the
     merits and we do not think that they precluded the Government from raising different
     points later.

     44.       Mr Shashore's submission was that the Minister of Petroleum Resources
     lacked the capacity to commit the Government to the sale of gas and the other
     privileges and concessions granted by the GSP A. Prima facie, it would appear to us
     that dealing with natural gas from Nigerian oil fields was a matter within the remit of
     the Minister of Petroleum Resources. Section 1( 1) of the Petroleum Act 27 provides
     that "the entire ownership and control of all petroleum in, under or upon any lands to
     which this section applies shall be vested in the State." Petroleum is defined to
     include natural gas and the section applies to Nigeria and the sea offshore. The power
     to grant licences to prospect for and develop oil and gas and to sell or otherwise deal
     in oil and gas is vested in the Minister of Petroleum Resources.28 As we have seen,
     recitals (b) and (c) to the GSPA explained the Government's access to the gas it was
     proposing to supply to P&ID:

                       b)    The Government of Nigeria has substantial
                       undiscovered potential gas reserves, discovered but
                       undeveloped gas reserves and associated gas reserves in its
                       onshore and offshore territories largely in acreage
                       allocated to international and indigenous operators

                       c)    The Government through the NNPC owns
                       approximately fifty-seven (57) percent of the gas resources
                       in acreage allotted to the international operators.

    45.     It appears to us that prima facie it was a matter for the Government acting by
    the Minister of Petroleum Resources to deal with these gas resources which belonged
    to the State under section I of the Petroleum Act.

    46.    It is of course true that if there was legislation which specifically allocated
    exclusive responsibility for entering into contracts for the supply of such gas to some
    other body or Ministry, it would not be within the power of the Minister of Petroleum
    Resources to enter into a contract such as the GSP A. Mr Shashore referred us to a
    number of cases in support of this proposition,29 which we accept. He also cited in
    support Knight, Frank Rutley v Attorney General of Kano State 30, in which the Court


    21 1990, Chap P 10.
    2s Sections 2(1) and 4(1).
    29 Eleso v Government ofOgun State [1990] 2 NWLR at 443; P.H.MB. v Ej itagha [2000] 11 NWLR

    (Pt. 677) at pp. 163-70; Oikherhe v Jnwanfero [1997] 7 NWLR (Pt. 512) at p. 247; Emuze v Chancellor
    [2003] 8 M.J.S.C. at p. 16.
    30
        [1990]4NWLR(Pt. l42) 210



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     of Appeal decided that upon the true construction of the Constitution, the exclusive
     power to value tenements for rates was vested in the Local Government Council. It
     was therefore ultra vires for the Kano State Government to contract with Knight,
     Frank Rutley to carry out such a valuation.

     47.    In Mr Shashore's first written submissions, his candidate for a body with "the
     exclusive right to possess and supply gas" was the Nigerian National Petroleum
     Corporation ("NNPC")".

     48.     Before entering into question of whether statute had conferred such exclusive
     rights on the NNPC, we should observe that the objection is technical in the highest
     degree. Pursuant to a Memorandum of Understanding which preceded the GSPA31 , a
     Joint Operating Committee ("JOC") was established to "discuss in detail regarding
     the implementation of the Project." The Legal Director of the NNPC was a member
     of the JOC. 32 Dr Lukman, the Minister of Petroleum Resources who signed the
     GSP A, was chairman of the NNPC. 33 The Board of Directors of the NNPC were
     members of or appointed by the Government. 34 If the Minister thought (as he must
     have done) that the GSPA was in the public interest, there would have been no
     difficult in making the NNPC a party.

     49.     Be that as it may, and looking at the technicalities of the matter, we do not
     think there is anything in the constitution and powers of the NNPC to prevent the
     Govenunent from entering into a contract to provide Wet Gas. Section 5 of the
     Nigerian National Petroleum Corporation Act sets out the duties of the Corporation:

                      5. (1)     Subject to the provisions of this Act, the
                      Corporation shall be charged with the duty of-

                          (a)         exploring and prospecting for, working,
                          winning or otherwise acquiring, possessing and
                          disposing of petroleum;
                          (b)         refining, treating, processing and generally
                          engaging in the handling of petroleum for the
                          manufacture and production of petroleum products and
                          its derivatives;
                          (c)        purchasing and marketing petroleum, its
                          products and by-products;

                          (d)        providing and operating pipelines, tanker-
                          ships or other facilities for the carriage or conveyance
                          of crude oil, natural gas and their products and
                          derivatives, water and any other liquids or other
                          commodities related to the Corporation's operations;
                          (e)       constructing, equipping and maintaining tank
                          farms and other facilities for the handling and
                          treatment of petroleum and its products and

    3 1 Article  8 a)
    32 Quinn Witness Statement, paragraph 80.
    33 Nigerian National Petroleum Company Act, section 1(3 ).
    34
       Ibid. , section 1(2).


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                            derivatives;
                            (f)        carrying out research in connection with
                            petroleum or anything derived from it and promoting
                            activities for the purpose of turning to account the
                            results of such research;
                            (g)       doing anything required for the purpose of
                            giving effect to agreements entered into by the Federal
                            Government with a view to securing participation by
                            the Government or the Corporation in activities
                            connected with petroleum;
                            (h)        generally engaging in activities that would
                            enhance the petroleum industry in the overall interest
                            ofNigeria; and
                            (i)       undertaking such other activities as are
                            necessary or expedient for giving full effect to the
                            provisions of this Act.

     50.    None of these duties can be regarded as conferring exclusive powers. In fact,
     sub-paragraph (g) specifically contemplates that the Government will be entering into
     contracts within the scope of the NNPC ' s remit.

     51.     In his oral submissions and written Final Submission, Mr Shashore submitted
     that the body with exclusive powers was the Ministry of Energy. These powers, he
     said, were derived from the National Gas Supply and Pricing Policy, published by the
     Government in 2008, and the National Domestic Gas Supply and Pricing Regulations
     2008.

    52.     The main object of the Policy was to make more gas available for the
    "strategic domestic sector", including in particular the generation of electricity. The
    policy document points out that Nigerian (wet) gas is rich in liquids -

                        "such that the residue (lean) gas can be delivered at
                        relatively little or no cost as the project remains profitable
                        to the supplier on the strength of the liquids contract alone."

    53.     This of course was the business model which P&ID was proposing to the
    Government. The Policy proposes legislation by way of implementation (a
    " Downstream Gas Act"), but there is nothing in the document which allocates
    responsibility to any particular Ministry. 35 The Regulations create Department of Gas
    within the Ministry of Energy and confer upon it certain regulatory powers but
    nothing to suggest that it will enter into the business of selling gas, still less that it will
    have the exclusive power to do so.

    54.    It therefore appears to us that the Ministry of Petroleum Resources was an
    appropriate entity to enter into the GSP A on behalf of the Government and we reject
    the submission that it lacked the authority to do so.


    35It is interesting to no tice that the Regulations were made by the President as l\Iin.ister of E nergy under a
    nile-making power conferred by sectio n 9 o f the Petroleum .c\ct upon the ]Vfinister of Petroleum
    Resources.



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     (b)    Specific or unascertained Wet Gas?

    55.     Mr Shashore submits that the contract was for the supply of Wet Gas from
    OML 123 (Addax) and OML 67 (Exxon). He draws attention to Recital (i), which
    states that P&ID had "undertaken all necessary studies, including the identification of
    suitable associated gas fields". These were OML 123 and OML 67. P&ID located its
    proposed plant in a place convenient for receiving Wet Gas from OML 123 and
    offered to construct a new length of pipeline to bring gas from OML 67. In the course
    of negotiations P &ID wrote letters to the Minister of Petroleum Resources identifying
    OML 123 and OML 67 as fields from which its requirements ofWet Gas could be
    satisfied. It follows, he says, that the contract was for the supply of Wet Gas from
    OML 123 and 67.

    56.     The difficulty is that this is not what the GSP A says. Article 6 a) says that the
    responsibility of the Government is to deliver to the Site boundary "the agreed
    quantities and quality of gas as defined under Article 3c and in the manner set out in
    Appendix A ... " Appendix A specifies quantities and quality but says nothing about
    where the gas should come from. Article 3c, under the heading "Scope of the Work"
    says that the gas would be from OMLs 123 and OML 67 " or such other locations as
    the Govemment may decide from time to time to ensure the ongoing feedstock
    delivery volume and quality requirements ... "

    57.    It is clear from these provisions that although the parties regarded OML 123
    and 67 as the most likely source of Wet Gas for P&ID's plant, there was no
    contractual term that it should have to come from those fields and nowhere else. The
    Goverm11ent was at liberty to discharge its obligation to supply Wet Gas from any of
    the substantial sources which recital b) said were at its disposal.

    58.     It is therefore unnecessary for us to decide whether, if the contract had been
    for the supply of Wet Gas specifically from those two fields, the unco-operative
    attitude of Addax and Exxon would have excused the Govermnent from perfonnance
    throughout the life of the agreement. That may have been a large question on which
    we have little evidence. In our opinion, however, this was a contract for the supply of
    unascertained Wet Gas and therefore the Government' s inability to obtain it from
    OML 123 or OML 67 is not relevant.

    (c)    When did the Government's obligations begin?

    59.      Article 5 says "the Agreement shall come into being on the Effective Date".
    The duration of the Agreement is (subject to extension) 20 years "with the effect from
    the Start Date", which is defined to mean the earliest date on which the Govermnent
    starts to deliver the Phase 1 quantities of 150 MMSCuF of Wet Gas.

    60.     The Govemment obligations which P&ID says it has failed to perform and
    which constituted a repudiatory breach are those in Article 6 a) and b): to deliver the
    gas to the Site boundary and to ensure that all the necessary pipelines and
    infrastructure and arrangements with Third Parties are in place to "facilitate the timely
    implementation of gas processing".




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     61.     Mr Shashore submits that the Government's obligations commenced only at
     the "Start Date", that is, when it first started to deliver gas. In other words, it was
     under no obligation to deliver gas until it had started to deliver gas.

     62.      This extraordinary proposition is in our opinion the result of a
     misunderstanding about the significance of the term "Start Date". Its sole function is
     to determine the duration of the contract and to ensure that P&ID ' s 20 year franchise
     is not to be reduced by the Government 's delay in starting to deliver gas. But the
     obligations of the Government under Article 6 b) began on the Effective Date, when
     the contract took effect. That was the date on which it was signed.

     (d)    Did the Government not have to do anything till the GPFs had been
     built?

     63.     Mr Shashore submits that the Government had no obligation to deliver gas
     until there was a plant to receive it. That, no doubt is true, but the Government's
     obligations were not confined to the delivery of gas. By Article 6 b) it was also
     obliged to-
                      "ensure that all necessary pipelines and associated
                      infrastructures are installed and all requisite arrangements
                      with agencies and/or third party are in place to ensure the
                      supply and delivery of Wet Gas in accordance with Article
                      3 so as to facilitate the timely implementation of gas
                      processing by the GPFs as provided for in this
                      Agreement"

     64.    There is nothing in the GSP A to suggest that these obligations were
     conditional upon the completion by P&ID of the construction of the GPFs. It would
     have been commercially absurd for P&ID to go to the expense of building GPFs when
     the Government had done nothing to make arrangements for the supply of the Wet
     Gas.

    65.     In his oral argument and written Final Submission, Mr Shashore put forward a
    modified version of this argument. Article 3(c) said that the Government was to
    deliver the gas at "the Site Boundary". The "Site" was defined as "the land at Calabar
    on which the GPFs are located". Mr Shashore says that the Government could not
    have complied with this obligation until P&ID had a site. It had, it is true, been
    allocated and offered a site but had not yet bought it. So there was no possibility of
    compliance with an obligation to deliver to the Site boundary until P&ID has a Site.

    66. We think this argument takes the matter no further than the first version. Of
    course the Government could not actually deliver gas until there was a Site and, as we
    have said, until there was a plant to receive it. But that does not excuse the
    Government's failure to comply with 6 b). There is no suggestion that its failure to
    comply with those obligations was caused by uncertainty as to where the Site was
    going to be. It was assumed by everyone that it would be on the land allocated in
    Calabar.




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     (e)        Misrepresentation or mistake

     67.     The Government next submits that it was induced to enter into the GSP A by a
     false representation that OML 123 had at least 180 - 200 MMSCuFD or at any rate
     over 150 MMSCuFD or alternatively that it was the subject of a common mistake and
     that "the GSPA was therefore void and unenforceable from inception."36

     68.      One of the difficulties about these defences is that the Government has called
     no evidence to support them. The only witness statement submitted on behalf of the
     Government is that of Mr fkechukwu Oguine, a lawyer who works for NNPC and
     who does not claim to have first-hand knowledge of any of the relevant events. All he
     says is that he has read the documents. His reading of the documents appears to have
     been somewhat imperfect because, in alleging misrepresentation, he had read the
     statement in Article 8 g) that "the Adanga pipeline ... will have a throughput capacity
     of600 MMSCuFD" to mean that "OML 123 [will] contain ... 600 MMSCuFD", which
     he says was untrue. Perhaps it was, but that was not what Article 8 g) said.

     69.    The allegations of misrepresentation (and reliance thereon by the GSPA)
     therefore depend upon such inferences as can be drawn from the documents and the
     evidence of Mr Quinn.

     70.       Mr Quinn said in his witness statement:

                          "51.. .. [T]here were numerous natural gas field s off the
                          coast of Calabar, such as those contained in [OML 123 and
                          OML 67] ...

                          "52. From information available in the public domain and
                          from our own researches it was clear that there was more
                          than enough Wet Gas off the coast of Calabar to support a
                          gas stripping and propylene plant operation in the Calabar
                          area processing a Wet Gas throughput of 400
                          MMSCuFD ...

                          73. There were discussions about the possible locations
                          from which to source Wet Gas for the Project. On 15 June
                          I wrote to the Honourable Minister to explain the potential
                          benefits ofusing, for Phase 1, the 180-200 MMSCuFD of
                          Wet Gas which was at that time being flared by Addax
                          Petroleum off the coast of Calabar in a concession known
                          as OML 123.

                         84. [In September 2009] a series of meetings
                         commenced, some of which included "stakeholders " such
                         as P&ID, the Government and Addax, some of which were
                         between P & ID and Addax, and, I believe, some of which
                         were between the Government and Addax.



    36   Shashore Written Submissions paragraph 5 1.


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                      86. [At a meeting chaired by Engineer Tijani, technical
                      adviser to the Ministry, on 13 November 2009] ... Addax
                      Petroleum confinned their willingness to deliver 100
                      MMSCuFD of natural gas from the 168 MMSCuFD Wet
                      Gas that they were currently flaring to the P&ID site . .. to
                      comply with its domestic obligations."

     71.     It appears from this evidence that in June 2009 Mr Quinn wrote to the
     Minister saying that Addax were flaring 180-200 MMSCuFD and that in November
     Addax said they were flaring 168 MMSCuFD. Both ofthese may have been right,
     but even ifMr Quinn's estimate was wrong, we cannot infer that the Government
     relied upon it when entering into the contract. Addax was the concessionaire and best
     placed to know how much gas was available. It was making regular returns to the
     NNPC. The Government had been having meetings with Addax and other
     stakeholders and at the 13 November meeting Addax provided its own estimates.
     Accordingly, the evidence does not support the conclusion that the Government relied
     upon a misrepresentation by P&ID as to the gas which could be obtained from OML
     123.

     72.    For the same reasons, there is no evidence to support the conclusion that the
     Government made a mistake. As a result of its meetings with Addax, it is likely that it
     knew exactly how much gas was available. It is therefore unnecessary to decide
     whether the mistake was such as to vitiate the contract or one of which the
     Government took the risk. Prima facie we think that it is the obligation of a party
     who offers to provide something to ensure that it is there to be provided and that he
     cannot rely upon his mistake if this turns out not to be the case.

     (f)    Frustration

    73.      The Government next says that the contract became impossible of
    performance when Addax refused to provide the necessary 150 MM SCuFD ofWet
    Gas. But there is no evidence that the contract was incapable of performance. All we
    know is that Addax and Exxon were unco-operative. But there is nothing to show that
    upon suitable terms the Government could not have obtained gas from their fields, as
    provided for an contemplated in Article 3 c) under the heading "Scope of the Work".
    In any case, our finding that the GSPA, upon its true construction, was for the supply
    of specified quantities and qualities of unascertained gas, must be fatal to a claim of
    frustration. There is nothing to show that the Government could not have obtained the
    gas from the other sources mentioned in recitals b) and c).

     (g)    Force majeure

    74.     In its first written submissions the Government relied upon the force majeure
    clause but Mr Shashore abandoned this submission at the hearing. We think he was
    right to do so.




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     (h)       The profit motive

     75.     The Government said, in its Statement ofDefence37 , and Mr Oguine said in
     his witness statement38 that P&ID was motivated by the wish to make a profit. It is
     unusual for anyone to enter into a business transaction for any other purpose and Mr
     Shashore said at the hearing that he did not rely upon this feature as a defence.

     (i)       Legitimate expectation

     76.      The Government's submissions contain numerous references to the concept of
     legitimate expectations. It is said that P&ID could not have had a legitimate
     expectation that the Government would do all the things it had promised to do in the
     GSPA. Some of these (such as the ability to obtain gas from OMLs operated by
     Addax and Exxon) are irrelevant once it is appreciated that the contract was for the
     supply of Wet Gas from any source and not from any particular OML. Others, like the
     grant of "Pioneer status", are not presently in issue and the Government's powers in
     that respect have not been investigated. But we think that the references to legitimate
     expectations and the citation of public law cases on the subject demonstrate a serious
     confusion between public and private law. A body exercising public law functions
     may have a duty in public law, enforceable by public law remedies, to act in
     accordance with the legitimate expectations of persons who may be affected by its
     acts or omissions. But although one party to the GSPA was the Government, it was
     nevertheless a contract, enforceable as a matter of private law. P&ID 's rights are
     rights to the enforcement of the contract or compensation for its breach, exactly as if
     the other party had been a private person. In this situation, the concept of legitimate
     expectations has no role to play.

     (j)       Illegality and public policy

    77.     Finally, the Government claims that the GSPA was illegal and contrary to
    public policy. The grounds appear to be that the Government promised various
    permits, licences and approvals and "Pioneer status" (carrying exemption from
    various taxes and duties) for 5 years which were not within the remit of the Ministry
    of Petroleum Resources. However, as we explained in our first Part Final Award, the
    GSPA was not a contract with the Ministry of Petroleum Resources. It was a contract
    with the Federal Government of Nigeria. It may at some stage become an issue as to
    whether the Government can avoid liability for such matters as the grant of Pioneer
    status on the ground that some approval or consent internal to the Government had
    not been obtained. But no such issue arises at the moment. We do not think that the
    Government has demonstrated any ground upon which it can be said that the GSP A
    was unlawful or contrary to public policy.

    Conclusion

    78.      We therefore reject all the defences put forward by the Government and find
    that it repudiated its obligations under the GSP A. P &ID was entitled to tenninate the



    37   Paragraph 2
    38   Paragraph 24


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     contract on 20 March 2013 and claim damages for the Government's failure to
     perfonn.

                                                I.        COSTS

     79.     Article 20 of the GSPA provides that in the event of an arbitration, each party
     shall bear its own lawyers' fees but that the costs of the arbitration (i.e. fees of the
     tribunal , hire of the arbitration room, shorthand writers' fees and other such
     administrative costs of the parties) shall be borne equally by the parties.


                                              J. DISPOSITION

     80.     We, Leonard, Lord Hoffmann, ChiefBayo Ojo SAN and Sir Anthony Evans,
     having read the parties' written evidence, pleadings and submissions and having
     heard their oral submissions, and having carefully considered the same and for the
     reasons stated above, make our second Part Final Award as follows:

     ( 1)         We declare that -

            (a)      The Government repudiated the GSPA by failure to perform its obligations
                     under Articles 6 a) and b) thereof;

            (b)      P&ID was entitled to and did accept the Government's repudiation on 20
                     March 2013;

            (c)      P&ID is entitled to damages (in an amount to be assessed) for the
                     Government's repudiation of the GSP A;

            (d)      The parties are jointly and severally liable for the unpaid costs of the
                     arbitration and that a party which has paid or pays more than an equal
                     share of such costs is entitled to recover the excess from the other party.

     (2)      We order the parties to consult with each other and the Tribunal to agree upon
     a procedure and date for hearing to determine the amount of damages to which P&ID
     is entitled;

     (3)    We reserve to ourselves for later decision all other matters in dispute in the
     reference.

     Place of arbitration: London, United Kingdom.

     Signed:


     Leonard, Lord Hoffmann




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     Chief Bayo Ojo SAN


    ~~~
     Sir Anthony Evans


                                       ANNEXURE



                   THIS GAS SUPPLY AND PROCESSING
                   AGREEMENT is entered into this 11th day of January
                   2010

                   BETWEEN

                   THE MINISTRY OF PETROLEUM RESOURCES
                   FOR AND ON BEHALF OF THE FEDERAL
                   GOVERNMENT OF NIGERIA (FGN) (hereinafter
                   referred to as "the Government") ... of the first part

                   AND

                   PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED (hereinafter referred to as "P&ID") of the other
                   part

                   WHEREAS:

                   a)     The Government holds as a key strategic objective,
                   the production of adequate quantities of natural gas to
                   satisfy the power generation and other domestic uses
                   needed for national economic growth.

                   b)    The Govenunent ofNigeria has substantial
                   undiscovered potential gas reserves, discovered but
                   undeveloped gas reserves and associated gas reserves in its
                   onshore and offshore territories largely in acreage
                   allocated to international and indigenous operators

                   c)    The Government through the NNPC owns
                   approximately fifty-seven (57) percent of the gas resources
                   in acreage allotted to the international operators.

                   d)    The Government desires to develop and utilize [its]
                   gas resources at optimal capacity to meet the growth in gas
                   demand at the various sectors of the economy including
                   domestic, regional and export markets;


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                 e)    The Government is currently engaged in the
                 development of a strategic natural gas policy, to ensure the
                 smooth achievement of its objective for the effective
                 development of gas in Nigeria to meet short tenn supply
                 requirement for power generation;

                 f)    The Government has explored viable structures that
                 could be used to meet the highlighted objectives and
                 considered P &ID as capable of implementing and
                 executing the Project;

                 g)    The Government has identified certain number of
                 oil/gas flared points and desires to eliminate gas flaring
                 and wishes to set up a domestic LPG production base as
                 well as make the lean gas produced available for various
                 other domestic uses.

                 h)    P&ID possesses the requisite finance, technology
                 and competence for the fast track development of the
                 Project.

                 i)    P&ID has undertaken all necessary studies,
                 including the identification of suitable associated gas fields
                 and is ready to commence a fast track development of the
                 [Project] in accordance with the terms of this Agreement.

                 j)    The Parties are entering into this Agreement to
                 ensure the fast track implementation of the Project and to
                 ensure the timely provision of pipeline quality Lean Gas
                 for power generation.

                 IN CONSIDERATION OF THE MUTUAL RIGHTS,
                 INTERESTS, COVENANTS AND OBLIGATIONS
                 CONTAINED HEREIN IT IS HEREBY AGREED
                 BETWEEN THE PARTIES AS FOLLOWS:

                 1.    DEFINITIONS AND INTERPRETATIONS

                 iv. "Effective Date" means the date of signing of this
                 Agreement;

                 v.    " GPFs" means the Gas Processing Facilities to be
                 constructed and operated at the Site and off-shore from the
                 Site where applicable;

                 vi.  " Lean Gas" means pipeline quality gas having a
                 composition of not less than 95 mol percent Methane and
                 Ethane.




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                  v11. "MMSCuFD" means Millions of Standard Cubic
                  Feet per Day


                  xi. "Project" means the establishment of the GPFs and
                  the supply of Wet Gas thereto and the delivery of Lean
                  Gas and their successful operation by the Parties as set out
                  in this Agreement

                  xiv. "Site" means the land in Calabar on which the GPFs
                  are located

                  xv. "Start Date" means the earliest date on which the
                  Government commences the regular supply and delivery
                  of not less than 150 MMSCuFD of Wet Gas to the Site;

                  xvi. "Wet Gas" means associated gas removed, during oil
                  production, at the separator having a Propane content of
                  not Jess than 3.5 mol percent and a Butane content of not
                  less than 1.8 mol percent, compressed and delivered, via
                  pipeline to the Site.




                  2.    OBJECTIVE

                  The objective of this Agreement is to provide for the
                  construction of Gas Processing Facilities by P&ID
                  encompassing the provision of Wet Gas by the
                  Government and the processing of the said Wet Gas by
                  P&ID utilising two or more process streams with a total
                  capacity of up to 400 MMSCuFD together with all
                  utilities, support and maintenance facilities at the Site and
                  the provision of Lean Gas by P&ID to the Government as
                  set forth in this Agreement and its Appendices and to
                  operate and maintain the facilities in an efficient manner.

                  3.    SCOPE OF THE WORK

                  The scope of works of this Agreement is as follows:

                  a.    P&ID shall construct GPFs on the Site allocated to
                  them by Cross River State Government... The GPFs shall
                  be constructed on a timely basis to ensure the earliest
                  possible delivery to the Government, or its nominees, of
                  approximately 340 MMSCuFD Lean Gas for power
                  generation and industrial use by third parties.




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                  b.    To ensure this [fast track] is achieved P&ID will
                  construct and incorporate two or more process streams
                  with a total capacity of 400 MMSCuFD ... in accordance
                  with the schedule of works forming Appendix B hereto.

                  c.    The Government shall make available at the P&ID
                  Site boundary, 400 MMScuFD Wet Gas (free of water) in
                  the manner set out in Appendix A having a minimum C3
                  (Propane) content of3.5% mol and C4 (Butane) content of
                  1.8 mol from OMLs 123 and OML 67 or such other
                  locations as the Government may decide from time to time
                  to ensure the ongoing feedstock delivery volume and
                  quality requirements for the duration of this Agreement as
                  defined under Article 5 of this Agreement.

                  d.   P&ID will process the Wet Gas to be supplied by the
                  Government and shall provide to the Government or its
                  nominees approximately 85% of the wet gas feedstock
                  molecular volume in the form of Lean Gas at the Site
                  Boundary.




                  5.    DURATION OF THE AGREEMENT

                  This Agreement shall come into being on the Effective
                  Date being the date of signing of the Agreement as defined
                  in Article 1 herein and shall remain in force for a period of
                  twenty (20) years with effect from the Start Date of the
                  Agreement ...

                  6.    RESPONSIBILITIES OF THE GOVERNMENT

                  a)    The Government shall deliver to the Site boundary
                  the agreed quantities and quality of gas defined under
                  Article 3c and in the manner set out in Appendix A to this
                  Agreement;

                 b)     The Government shall ensure that all necessary
                 pipelines and associated infrastructures are installed and
                 all requisite arrangements with agencies and/or third party
                 are in place to ensure the supply and delivery of Wet Gas
                 in accordance with Article 3 so as to facilitate the timely
                 implementation of gas processing by the GPFs as provided
                 for in this Agreement.

                 c)   The Government agrees to assist P&ID, and where
                 necessary to intercede with the relevant Government
                 agencies, to obtain all requisite permits, licences and


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                  approvals required from the relevant Government agencies
                  and others for the [fast track] implementation of this
                  [Project].

                  7.    RESPONSIBILITIES OF P&ID

                  a)    P&ID shall use best endeavours to ensure the [fast
                  track] implementation ofthis Project to construct and
                  incorporate two or more process streams with a total
                  capacity of 400 MMSCuFD... Thereafter P&ID shall
                  maintain and operate the GPFs on a professional basis to
                  ensure a regular supply of Lean Gas (approximately 340
                  MMSCuFD) for power generation.

                  8.    COMMERCIAL TERMS

                  a)   The Government shall deliver to the Site boundary
                  400 MMScuFD of Wet Gas as set out in Article 3 c) and in
                  Appendix A of this Agreement having a minimum ofC3
                  (Propane) content of 3.5% mol and C4 (Butane) of 1.8%
                  mol at No Cost to P&ID.

                  b)    P &ID will process the Wet Gas, recompress the
                  residual Lean Gas, representing approximately 85% of the
                  Wet Gas feed, and make it available, for power generation
                  or other industrial usage at the discretion of the
                  Government, at the Site boundary at No Cost to the
                  Government.

                  e)    As further consideration P&ID shall transfer to the
                  Government or its nominee a total of ten percent (1 0%) of
                  the Equity ofP&ID .. .

                  g)     The Parties are aware that the 24 inch Adanga
                  pipeline presently under construction from the Addax
                  operated OML 123 directly to Calabar and due for
                  completion in 2010 will have a throughput capacity of 600
                  MMSCuFD and can adequately provide the first required
                  delivery of 150 MMSCuFD of Wet Gas to the Site and that
                  an additional pipeline of up to 70 km in length may be
                  required to link up the Adanga pipeline in order to
                  facilitate the delivery of the remaining 250 MMSCuFD of
                  Wet Gas to the site from other sources to be chosen by the
                  Government. If such a requirement is necessary, P&ID
                  undertakes to build and install the said additional pipeline
                  to provide for the delivery of the remaining
                  250MMSCuFD of Wet Gas to the Site, at no cost to the
                  Government, and P &ID will retain the ownership and
                  provide the maintenance for the pipeline.




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                  11.   FORCE MAJEURE

                  a)     Any failure or delay on the part of either Party in the
                  perfonnance of its obligations or duties under this
                  Agreement, shall be excused to the extent attributable to
                  force majeure save for obligations to pay sums due and
                  payable. A force majeure situation includes delays,
                  defaults or inability to perform under this Agreement due
                  to any event beyond the reasonable control of either Party.
                  Such event may be, but is not limited to, any act, event,
                  happening, or occurrence due to natural causes, acts or
                  perils of navigation, fire, hostilities, war (declared or
                  undeclared), blockage, labour disturbances, strikes, riots,
                  insurrection, civil commotion, quarantine restrictions,
                  epidemics, storms, floods, earthquakes, accidents,
                  blowouts, lightning, and acts of or orders of the
                  Government. If activities under this Agreement are
                  delayed, curtailed or prevented by force majeure, then the
                  time for carrying out the obligation and duties thereby
                  affected, and rights and obligations hereunder, shall be
                  extended for a period equal to the period of such delay.

                  b)     The Party who is unable to perform its obligations as
                  a result of the force majeure event shall promptly notify
                  the other Party thereof not later than forty-eight (48) hours
                  after becoming aware of the establishment of the force
                  majeure event, stating their cause, and both parties shall do
                  all that is reasonably within their powers to remove such
                  cause.

                  15.   CHANGES TO AGREEMENT

                  No amendments, modifications or changes to this
                  Agreement shall be valid unless approved in writing by
                  both parties.

                  21.   ENTIRE UNDERSTANDING

                  This Agreement including Appendix A and Appendix B
                  comprises the full and complete understanding of the
                  Parties hereto with respect to all the matters addressed in
                  this Agreement and the said Appendix A and Appendix B
                  shall form an integral part of this Agreement.

                                        APPENDIX A

                  Delivery of Wet Gas to P&ID

                  Phase I      During or before the last quarter of 2011 a
                               continuous supply of 150 MMSCuFD of Wet


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                             Gas, having a minimum Propane content of
                             3.5 mol% and minimum Butane content of
                             1.8 mol%, will be supplied to the Site for
                             processing by P&ID.

                  Phase 2    On or before the third quarter of 2012 a
                             further additional continuous supply of 250
                             MMSCuFD of Wet Gas, having a minimum
                             Propane content of 3.5 mol% and minimum
                             Butane content of 1.8 mol%, will be supplied
                             to the Site for processing by P&ID.

                  Delivery of Lean Gas to the Government

                  Phase 1    During the last quarter of 2011 following
                             supply ofthe 150 MMSCuFD ofWet Gas to
                             the Site, P&ID will process the gas and
                             return to the Government, at the Site, a
                             continuous supply of Lean Gas amounting to
                             approximately 85% by volume of the Wet
                             Gas provided. The Lean Gas will be
                             compressed to 92 bar G.

                  Phase 2    On or before the third quarter of2011
                             following supply of the additional 250
                             MMSCuFD ofWet Gas to the Site, P&ID
                             will process the gas and return to the
                             Government, at the Site, a continuous supply
                             of Lean Gas amounting to approximately
                             85% by volume of the Wet Gas provided.
                             The Lean Gas will be compressed to 92 bar
                             G.




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                   EXHIBIT 9




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                                                                                           In the
                                                                                                  Co~(! At
                                            Claim Form
                                            (arbitration)
                                                                                           Claim No.

                                                                        I   ~



              In an arbitration claim between
                Claimant
                The Ministry of Petroleum Resources of the Federal Republ ic of Nigeria
                Block D. II th Floor, NNPC Towers
                Herbert Macaulay Way. Central Business District
                Abuja, Nigeria

                Defendant(s)
                Process and Industrial Developments Lim ited
                Trident Chambers. P.O. Box 146, Road Town
                Tortola, British Virgi n Islands
                Registered omce: 12 Vaal Street, off Rhi ne Street, Minister's Hill, Maitama, Abuja, Nigeria.

                In the matter of an [intended] arbitration between
                C laimant
                The Ministry of Petroleum Resources of the Federal Republic of Nigeria



                Res ponde nt(s)         Set 0111 the names and addresses ofpersons to be served with the claim form stating their role in the
                                        arbitration and whether they are defendants.
              Process and Industrial Developments Lim ited (Claimant in the arbitrat ion proceedings)
              Trident Chambers, P.O. Box 146, Road Tovm
              Tortola British Virgin Islands
              Regi stered office: 12 Vaal Street, off Rhine Street, Mi nister's Hill. Maitama, Abuja, Nigeria.

              Other persons required to be served with this Clai m Form pursuant to CPR Part 62:

              ( I) Lord Leonard Hoffman (Presiding arbitrator in the arbitration proceedings)
              Brick Court Chambers, 7-8 Essex Street, London WC2R 3LD. U.K. (leonard.hoffman@brickcourt.co.uk)

              (2) Si r Anthony Evans (Party-appointed arbitrator in the arbitration proceedings)
              24 Lincoln's Inn Fields. London WC2A 3EG. U.K. (atighe@essexcourt.net)

              (3) Chief Bayo Ojo (Party appointed arbitrator in the arbitration proceedings)
              ITF House, 4th Floor, No.6 Adetokunbo Ademola Crescent, Wuse 2, Abuja Nigeria. (cabayoojo@aol.com)

        Defendant's         Process and Industrial Developments
        name and            Limited (Claimant in the arbitration
        address             proceedings)
                            Trident Chambers, P.O. Box 146. Road                                       This claim wil l be heard on:
                            Town
                            Tortola, British Virgin Islands
                            Registered omce: 12 Vaal Street, off Rhine                                 at        am/pm
                            Street, Minister's Hill, Maitama Ahuja,
                            Nigeria. Service address:                                                  This claim is made without notice.
                            SC Andrew LLP


        The court office at
        When corresponding with the court, please address fom1s or letters to the Court Manager and quote the case number
         8 Cla1m form (arbitration)
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                     : 24 High Holbom
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                       UK
                     : DX 248 London/Chancery Lane




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     REMEDY CLAIMED

     I.

     An order under Part 62. 9( 1) of the Civil Procedure Rules extending the 28-day time period under
     section 70(3) of the Arbitration Act 1996 in which to apply to the Court under section 68 of the
     Arbitration Act. (Draft order attached). The Claimant seeks the extension· of time on the grounds t
     that:

          a. As an arm of the Federal State of Nigeria, during a period of Governmental transition .
             between March 2015 and November 2015, the Claimant was unable promptly to progress the ·
             consideration of and preparation for the current application within the 28 day period           1
          b. Once the internal impediments arising from a change of administration over the summer of I·
             2015 were dealt with (and a new Attorney General in post at at 11 November 2015) the I
                                                                                                             •
             Claimant has moved expeditiously to bring the current application.                              l
          c. If the extension were granted, the Defendant would not suffer any or any irremediable           I.
             prejudice if this application proceeded (in particular, given that the Claimant is co-operating .
             fully with the ongoing preparations for the future quantum hearing (which hearing is :
             unlikely to come on prior to the disposal of the current application - assuming permission ·
             were granted); and/or
          d. Given the size of the sums at stake (and their further substantial growth since the making of
             the Award), it would be unjust to the Claimant for it to be denied the opportunity of having
             the application determined, above all by reason of the fact that there is merit in its
             application and/or that the amount claimed against the Claimant (which was already I.
             substantial at the date of the Award and (since the Award) has increased from US$ 6.7 bn to '
             US$ 8.6 bn.


   2.QAn order setting aside and/or remitting for further consideration all or part of the arbitration
 · award of Lord Hoffmann, Chief Bayo Ojo SAN and Sir Anthony Evans dated July 2015(the
 ' "Award") under section 68(2)(d), alternatively under section 68(2)(f) of the Arbitration Act 1996,
   as further set out in detail below, together with, or otherwise such order under the Arbitration Act : .
 · 1996, as may be appropriate, on the grounds identified below:                                            •'
 '
 : In brief severally or in combination, the said irregularities identified below amount to serious
   irregularities within the meaning of s 68(1) of the 1996 Act, in that they either (i) make the
   difference between a finding of liability or not or (ii) (at the least) fundamentally alter the nature and :
   scope of the damages enquiry. The magnitude of the financial seriousness of the implications of :
   each of the above challenges is clear. Equally, in terms of the arbitral process, the subject-matter of):
   each of the proposed challenges goes to issues of principle (not detail), which are central to critical :.
   findings of liability, ie what breach, seriousness of breach, and rescission. As to quantum, the :.
   critical point is whether the breach was of a provision which did not of itself bring a liability to ,
 : deliver gas (ie cl. 6(b)) or one that did (ie Cl 6(a)). The point here is that if there was (as the :
 · Tribunal found- at least at one point- no breach of Cl. 6(a)), any quantum enquiry regarding a cl ; · '
 : 6(b) breach would in the first instance tum on (inter alia) whether or not (or when) a plant would
   have been successfully built by the Defendant. On that basis, it may be that no loss and damage at ··
 · all was suffered.

 ' The detailed grounds are as follows: [~ee s~IJa~ate'S!WeTs1




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                                                                   I Claim No.
                                                 ~   .. -   - ..
         Relief claimed, in detail and in the alternative

 ·1     In the event that the application succeeds in one or more respects, the following orders are

         sought:

 ·2     Insofar as the application succeeds on Ground A, the Award should (i) be set aside in part-

         namely the contents of dispositive paragraph [BO](l)(a) of the Partial Final Award (save for , . ·

         the conclusion that there was a breach by the Ministry of cl G(b)) [ 'the Conclusion']; (ii) r ..
                                                                                                        i·.
         alternatively, the Conclusion (save for holding in respect of the cl G(b) breach) should be :.
                                                                                                        •
                                                                                                        '.
         declared to be of no effect; (iii) (in the further alternative) the Award should be remitted :

         for further consideration of the Conclusion.


 '3     Insofar as the application succeeds on Ground B, the Award should be remitted for further             ··~
                                                                                                                 !
                                                                                                               . !
         consideration of the issue of fact as to whether the Ministry had authority as a matter of

         fact (as opposed to capacity as a matter of law) to conclude the alleged contract.

 .4     Insofar as the application succeeds on Ground C, the like relief is sought as under Ground A             I
         above.

· 5     Together with such further or other order as is just, including an order for costs.




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     Statement of Truth                                                                                                                                                                                      .!l.:~;
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     *(I heli0'1e)(1be Claimant believes~ that the facts stated in these particulars of claim are true.                                                                                                      '
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     • I am duly authorised by the claimant to sign this statement
                                                                                                                                                                                                               •. :·~
                                                                                                                                                                                                                                  !
     Full name                 Kamal Rasiklal Shah                                                                                                                                                         l:i·:;;,
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     Name of claimant's solicitor's finn                        Stephenson Harwood LLP                                                                                                                                ...
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     signed         ~~                   •                                                   position or office held ___Partner
                                                                                                                                                                                                             ,.
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   GROUNDS

   Introduction

   I      The Defendant (hereinafter "PIDL") alleges the existence of a Gas Supply and
          Processing Agreement dated 11 January 2010 (the "GSPA") with the Ministry of
          Petroleum Resources of the Federal Republic of Nigeria ['the Ministry'] whereby
          the Ministry allegedly agreed to construct certain infrastructure in Nigeria, with a
          view to using it to make available to PIDL 400 MMScuFD of Wet Gas for a term of
          20 years in return for which PIDL agreed to construct Gas Processing Facilities
          ("GPFs") at a delivery site in Nigeria order to receive delivery of and then to process
                                                           I

          the Wet Gas and to return approximately 85% by volume to the Ministry in the form
          of Lean Gas, being at liberty to dispose of the balance   This was essentially a barter
          transaction, allegedly made directly by a Federal Nigerian Ministry and a BVI
          registered company.

   2      By Notice of Arbitration dated 22 August 2012, PIDL commenced arbitration (the
           "Arbitration") against the Ministry alleging that the Ministry was in breach of the
          GSP A repudiated the GSP A. The allegation of repudiatory conduct was one based
          on a failure to perform.

   3      As of today, the damages claimed by the Defendant are alleged to be US$
           8,627,000,000.

   4      On I June 2015, a hearing took place at the International Disputes Resolution Centre
          in London. The hearing was restricted to issues of liability. Issues of quantum (if
          any) were postponed.

   5      On 17 July 2015, the Tribunal issued the Award. The reference to "July 2014" on
          the front page of the Award is incorrect. The Award was issued to the Claimant by
           email on the date of issue.

   6      In the dispositive part of its Award, the Tribunal declared, inier alia, that PIDL was
          entitled to damages (in an amount to be assessed) in respect of certain specified
          breaches by the Ministry of the GSP A, which breaches it also held to be
          cumulatively repudiatory, and thus entitling PIDL to rescind




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   7      The following three heads of challenge each disclose a serious irregularity within the
          meaning of s 68 of the 1996 Act.

          Ground A: internal inconsistency, successful defence not acknowledged in
          dispositive paragraph

   8      The dispositive paragraph (para [80]) of the Award is ex facie inconsistent with the
          conclusions of the Tribunal in the related passages of its reasoning. The focus is
          specifically on the following sentence of the dispositive paragraph, namely 'We
          declare that (a) the Government repudiated the GSPA by its failure to perform its
          obligations under Article 6 a) and b) thereof.'.

   9      The Tribunal set out the two clauses referred to therein in the attachment to the
          Award). They were (respectively):

   10     Art. 6(a): an obligation on the part of the Government to deliver certain agreed
          quantities of gas to the Site boundary;

   II     Art. 6(b): an obligation on the part of the Government to ensure that all necessary
          pipelines and associated infrastructures were in place to facilitate performance of the
          Claimant's obligation to supply and deliver Wet Gas in accordance with Art. 3

   12     A breach of each clause was alleged. In both cases, the alleged breaches were
          denied.

   13     The issue of possible breaches, and of which provision (or sub-provision) any such
          breaches may have been, was dealt with by the Tribunal at paras [63]-[66] of the
          Award, under the heading: '(d) Did the Government not /rave to do anything till
          the GPFs had been built?'.

   14     In those paragraphs, the Tribunal reached a conclusion to the effect that the
          Government did in fact have to do something before the gas processing facilities had
          been built, namely that it was obliged to construct the necessary pipelines and
          associated infrastructure as contemplated by Art. 6(b), and that (not having done so)
          it was accordingly in breach of cl 6(b). That conclusion is clear and is not the
          subject of this Application.




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   15     However, in those paragraphs, the Tribunal did not reach a similar conclusion as to
          the allegation of breach of cl 6(a) of the contract.   The allegation of breach of that
          clause was resisted by the Government on the grounds (inter alia) that (as the
          Tribunal put it, at para [63], referring to the Government's submissions):         'Mr
          Shashore submits that the Government had no obligation to deliver gas until there
          was a plant to receive it.' In the next sentence, the Tribunal concludes: 'That, no
          doubt is true, but the Government's obligations were not confined to the delivery of
          gas. ' It then went onto the cl 6(b) point, noted above.

   16     At para [66], the Tribunal reiterated its acceptance of the part of Mr Shashore's
          argument referred to in the first sentence of para [63] (quoted above).     It said (of
          another version of the Government's argument): 'We think this argument takes the
          matter no further than the first version.      Of course the Government could not
          actually deliver gas until there was a Site and, as we have said until there was a
          plant to receive it. But that does not excuse the Government's failure to comply with
          6 b).'

   17     Accordingly, it would appear clearly that the Tribunal did not conclude that there
          was a breach of Art. 6(a). Certainly, no such words appear in paras [63]-[66].      On
          the contrary, what is said in those paragraphs, as just quoted, would be inconsistent
          with the Tribunal's having found a breach of Art. 6(a), since the only actual breach
          of that article could be by a failure to make delivery to the Site boundary - and the
          Tribunal has rightly held that until there was a plant to which to deliver the gas,
          there could have been no delivery. The Claimant takes this to mean that there was
          not yet any obligation to deliver. If the obligation had not arisen, it could not be
          broken.

   18     The Tribunal did not return to the point, or otherwise dilute or contradict its
          understandable conclusion that there could, in effect, have been no breach of cl 6(a)
          in the circumstances prevailing.

   19     Accordingly, it is presumed that the presence of a reference to cl 6(a) in paragraph
          [80] was a slip.

   20     Whatever the explanation, the terms of the Award are ambiguous, given the internal
          inconsistency above-mentioned. Further, it may be that the (apparently successful)




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          defence on cl. 6(a) was not independently recalled or considered when it came to
          drafting the dispositive paragraph [80].

   2I     The Tribunal has been asked to acknowledge the need for a correction (by letter
          dated 181h November 2015) and to give an opportunity for submissions to be made
          as to the consequence of correcting the above-mentioned internal inconsistency.
          However, given the lapse of time since the making of the Award, this application is
          made out of an abundance of caution.

   22     Ground B: lack of factual authority defence not separately dealt with from legal
          capacitv defence

   23     Two of the defences put forward by the Ministry were that it neither had (i) legal
          capacity nor (ii) actual (factual) authority to perform the GSPA

   24     The two issues, i.e. capacity and authority are and have always been obviously
          discrete. However, the Tribunal, in its Award, appears in its reasoning only to have
          dealt with its views on the first (the legal) issue (see Award [41]-[54]). It mentioned
          'capacity' 10 times in its reasoning. That said, in its concluding paragraph to that
          section, it made a parting reference not to capacity, but used the word 'authority'
          [54].    However, given the use of the word 'capacity' throughout the prior
          paragraphs, and the clear legal focus of the analysis therein, it appears that no
          separate consideration was given by the Tribunal to the issue of factual, actual
          authority. What is clear, is that there is no separate reasoning on the point. It may
          be that the Tribunal erroneously assumed that the issue of authority was just another
          way of putting the legal (capacity) point, in which case it will have failed, by
          mistake, to deal with the distinct issue offactual capacity.

   25     At best, this is a point of ambiguity, which should be revisited, and distinctly dealt
          with. Alternatively, it is a failure to deal distinctly or at all, with a free-standing
          factual defence. To have conflated both issues, addressing them interchangeably
          both in description and in substance as issues of law, would have been in effect not
          to decide the factual, actual authority point.

   26     The above analysis is confirmed by the fact that the Tribunal based its decision on
          prima facie findings which are more closely connected with capacity than authority.
          Further, it should be noted that the sole heading for the relevant part of the Award in



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          section H of the Award (page 10) as "capacity" (rather than authority). Further, at
          paragraph 53 of the Award, (while considering whether another Ministry (the
          Ministry of Energy) may have had exclusive powers to enter into agreements similar
          to the GSPA), the Tribunal found that there "was nothing to suggest that [the
          Ministry of Energy} will enter into the business of selling gas." As there was
          similarly nothing to suggest that the Ministry would enter into the business of selling
          gas, the Tribunal's statement at paragraph 53 strongly suggests that the Tribunal did
          not consider the lack of authority defence put forward by the Ministry.

   27     Importantly, in the final paragraph of the section, which purportedly addresses the
          defence of lack of authority, the statement that "the [Ministry] was an appropriate
          entity to enter into the GSPA ... " (addedemphasis) is entirely indicative of a Tribunal
          considering capacity rather than authority.

          Ground C

   28     This Ground focusses on the defence raised at para 7 ofthe Ministry's defence. This
          is a denial that the alleged conduct of the Ministry was repudiatory. This denial
          survives a finding of breach and raises the question of the seriousness of the breach:
          Although the Tribunal made findings as to the existence of breaches of contract on
          the Ministry's part (see above), it did not expressly discuss or evaluate the nature of
          those findings in terms of their being repudiatory or otherwise. Further, nowhere did
          it consider whether a breach solely of cl 6(b) was or could in the circumstances have
          been repudiatory. The only statement on the point is to be found in the dispositive
          paragraph (quoted above).     No express reasoning appears. This suggests that the
          Tribunal did not consider the issue, or at least did not consider the Ministry's
          argument in that paragraph as an independent point (ie, even if there were a breach,
          was it repudiatory?).

   29     The point here is that the consequences of a breach of c1 6(b) alone are not
          necessarily repudiatory.   The creation of infrastructure by the Ministry was not an
          end in itself. It is commercially significant only if that infrastructure has to be used
          to deliver gas (and only if that infrastructure was the only means to do so). Given
          the express findings that there was no active obligation to deliver gas until the
          Defendant carried out its part of the bargain and built the plant, the effect of the
          failure to build infrastructure by any particular date (though a serious breach) did not



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              on any view deprive the Defendant of its bargain. That could only happen when it
              had brought into existence the means to accept delivery - which it never did.

        30    This point was not considered, along with any separate repudiation analysis based
              solely on the breach of cl 6(b ).




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   IN THE HIGH COURT OF JUSTICE
   QUEEN'S BENCH DIVISION
   COMMERCIAL COURT
                                                                         Claim No.[           ]

   Before the Honourable Mr Justice
   In an arbitration claim

   BETWEEN
                            THE MINISTRY OF PETROLEUM RESOURCES
                             OF THE FEDERAL REPUBLIC OF NIGERIA

                                                                                      Claimant

                                             -and-




                        PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                                    Defendant
   In the matter of an arbitration

   BETWEEN


                        PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED


                                                                  Claimant in the arbitration


                                             -and-


                           THE MINISTRY OF PETROLEUM RESOURCES
                             OF THE FEDERAL REPUBLIC OF NIGERIA


                                                               Respondent in the arbitration



                                           Draft Order



   UPON the Claimant's application under section 68 of the Arbitration Act 1996 to challenge the
   Part Final Award of Lord Leonard Hoffmann, Chief Bayo Ojo SAN and Sir Anthony Evans dated
   17 July 2015 (the "Part Final Award")

   AND UPON READING the witness statement of Folakemi Adelore dated 22 December 2015

  AND UPON HEARING Counsel for the Claimant and Counsel for the Defendant



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  IT IS ORDERED THAT:

       1. In respect of Ground A. the Award should (i) be set aside in part - namely the
          contents of dispositive paragraph [80](1)(a) of the Partial Final Award (save for the
          conclusion that there was a breach by the Ministry of cl 6(b)) ['the Conclusion']; (ii)
          alternatively, the Conclusion (save for holding in respect of the cl 6(b) breach) should
          be declared to be of no effect; (iii) (in the further alternative) the Award should be
          remitted for further consideration of the Conclusion.

       2. In respect of Ground B, the Award should be remitted for further consideration of the
          issue of fact as to whether the Ministry had authority as a matter of fact (as opposed
          to capacity as a matter of law) to conclude the alleged contract.

       3. In respect of Ground C, the like relief is granted as is granted under Ground A above.

       4. Further, or alternatively, there be such other order under the Arbitration Act as is just.

       5. The Claimant's costs of and occasioned by the Claimant's Application be paid by the
            Defendant to the Claimant, such costs to be referred to detailed assessment by the
            Court if not agreed.



  Dated:




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   IN THE HIGH COURT OF JUSTICE
   QUEEN'S BENCH DIVISION
   COMMERCIAL COURT                                                    Claim No.[           ]

   Before the Honourable Mr Justice
   In an arbitration claim

   BETWEEN
                            THE MINISTRY OF PETROLEUM RESOURCES
                             OF THE FEDERAL REPUBLIC OF NIGERIA

                                                                                    Claimant

                                            -and-




                        PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                                 Defendant
   In the matter of an arbitration

   BETWEEN


                        PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED


                                                                Claimant in the arbitration


                                            -and-


                           THE MINISTRY OF PETROLEUM RESOURCES
                             OF THE FEDERAL REPUBLIC OF NIGERIA


                                                             Respondent in the arbitration



                                         Draft Order



   UPON the Claimant's application under Part 62.9 of the Civil Procedure Rules to extend the
   28-day time period in which to apply to challenge the Part Final Award of Lord Leonard
   Hoffmann, Chief Bayo Ojo SAN and Sir Anthony Evans dated 17 July 2015 (the "Part Final
  Award")

   AND UPON READING the witness statement of Folakemi Adelore dated 22 December 2015



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   IT IS ORDERED THAT:

   1. The Claimant's application under Part 62.9 of the Civil Procedure Rules be allowed.

   2. The time period, set out in section 70(3) of the Arbitration Act 1996, in which the Claimant
   may apply to challenge the Part Final Award be extended to 23 December 2015.

   3. No order as to costs.



   Dated:




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                                        IN THE HIGH COURT OF JUSTICE
                                        QUEEN'S BENCH DIVISION
                                        COMMERCIAL COURT



                                        BETWEEN

                                        THE MINISTRY OF PETROLEUM
                                        RESOURCES OF THE FEDERAL REPUBLIC
                                        OF NIGERIA

                                                                      Claimant

                                       And




                                       PROCESS AND INDUSTRIAL
                                       DEVELOPMENTS LIMITED

                                                                     Defendant




                                                      Draft Order




                                       Stephenson Harwood LLP
                                       1 Finsbury Circus
                                       London EC2M 7SH
                                       Tel:    +44 20 7809 2384
                                       Fax:    +44 20 7003 8240
                                       Ref:   []\01-54-03644
                                       Solicitors for the Claimant




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                                                                                         Folakemi Adelore
                                                                                                 Claimant
                                                                                                      First
                                                                                        22 December 2015
                                                                                             Exhibit "FAl"


           IN THE HIGH COURT OF JUSTICE
           QUEEN'S BENCH DIVISION
           COMMERCIAL COURT

           IN AN ARBITRATION CLAIM AND
           IN THE ARBITRATION

           BETWEEN
                                     THE MINISTRY OF PETROLEUM RESOURCES
                                      OF THE FEDERAL REPUBLIC OF NIGERIA

                                                                 Cla.imant/Respondent in the Arbitration

                                                           And




                                PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                  Defendant/Claimant in the Arbitration




                                FIRST WITNESS STATEMENT OF FOLAKEMI ADELORE




           1          I, Folakemi Adelore of the Federal Ministry of Petroleum Resources, Block D, 11th
                      Floor, NNPC Towers, Herbert Macaulay Way Central Business District Abuja will say
                      as follows:

           2         I am the Director of Legal Services at the Claimant, which I shall hereinafter refer to
                      as the "Ministry". I make this witness statement in support of:

                      2.1       the Ministry's application for an extension of time in which to challenge the
                                Part Final Award on liability dated 17 July 2015 (the "Award") of Lord
                                Leonard Hoffmann, Chief Bayo Ojo SAN and Sir Anthony Evans (the
                                "Tribunal"); and

                      2.2       the Ministry's application to challenge the Award under section 68 of the
                                Arbitration Act 1996 (both applications hereinafter referred to as the
                                "Applications".




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   3          I make this witness statement from facts and matters within my own knowledge.
              Where they are not within my knowledge they are true to the best of my knowledge
              and belief.

   4          There is now produced and shown to me a paginated bundle of documents entitled
              "Exhibit FA1" which is exhibited to this witness statement. All references in this
              document are to Exhibit FA1 unless otherwise stated.

   Background

   5          The Defendant (hereinafter "PIDL") alleges the existence of a Gas Supply and
              Processing Agreement dated 11 January 2010 (the "GSPA") with the Claimant
              (hereinafter the "Ministry") whereby the Ministry allegedly agreed to make available
              to PIDL 400 MMScuFD of Wet Gas for a term of 20 years and PIDL agreed to
              construct Gas Processing Facilities ("GPFs") to process the Wet Gas and return
              approximately 85% by volume to the Ministry in the form of Lean Gas [P.l-20].

   6          By Notice of Arbitration dated 22 August 2012, PIDL commenced arbitration (the
              "Arbitration") against the Ministry alleging that the Ministry had repudiated the
              GSPA [P.21-24].

   7          On 1 June 2015, a hearing took place at the International Disputes Resolution Centre
              In London.

   8          On 17 July 2015, the Tribunal issued the Award to the Claimant by email on the
              same date [P.25-50].

   9          In its Award, the Tribunal declared, inter alia, that PIDL is entitled to damages (in an
              amount to be assessed) In respect of breaches by the Ministry of the GSPA, which it
              also held PIDL was entitled to rescind.

   Out of time: explanation of the political situation in Nigeria at the time the Award
   was issued

   10         This proposed claim is brought 4 months, 8 days out of time (the relevant period was
              28 days from the date of the Award on 17 July 2015, i.e. 14 August 2015).          This
              delay was not in any way deliberate or calculated.            As explained below, the
              explanation is to be found in the nature of the Ministry as part of the central
              government machinery, in a post-election period, where no Government had yet
              been formed (and the chief law officer - the Attorney General of the Federation had
              not been appointed).       Furthermore, as explained below, since it does not normally
              trade in products, the Ministry has little or no experience in responding to
              international   arbitral   proceedings -   such   matters   usually involve the State




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             Corporation, the Nigerian National Petroleum Corporation (the "NNPC"), which, in
             that capacity, operates separately from the Ministry.

   11        In order to properly understand the Ministry's inability to challenge the Award on
             time, it is necessary to briefly address the political situation in Nigeria at the time the
             Award was issued.

   12        The President Goodluck Jonathan administration had been in power from 2 May 2010
             to 29 May 2015. Following general elections on 28 and 29 March 2015, the new
             president, President Muhammadu Buhari of the opposition party, was declared
             winner and was sworn In as president on 29 May 2015. This was the first time that
             an incumbent party had lost a general election In democratic Nigeria. This was
             acclaimed as historic by the world media (http://www.bbc.co.uk/news/world-africa-
              32139858,        http://www.independent.co.uk/news/world/africa/niqeria-2015-election-
              apc-declares-victory-for-muhammadu-buhari-10 146 740. htm I) [P .5 1-61].

   13        I mention the historic and surprising nature of the opposition party winning the
              presidential election because it may explain the functioning of government ministries
             in the period immediately following the swearing In of the new President: although it
             is to be expected that any new government, particularly the government of a new
             political party would take time to settle Into office, this was even more so in
              circumstances where the election results were particularly surprising.

   14        Although the President was sworn In on 29 May 2015, It was not until 11 November
              2015 that ministers, including the Attorney-General of the Federation ("AGF"), were
              appointed.

   Chain of command at the Ministry with regard to the Arbitration

   15         As stated above, the Ministry does not normally trade in products, and therefore has
              little   or no     experience   in   responding   to   international   arbitral   proceedings.
              Furthermore, and importantly, the AGF as the chief law officer is responsible for the
              conduct of all dispute resolution involving all governmental agencies or ministries. As
              a matter of practice and law in Nigeria, the AGF is always made a party to all
              disputes involving the Federal Government of Nigeria or its ministries.

   16        The conduct of disputes involving the Federal Government of Nigeria or its ministries
              and instructions to external counsel to represent the government or Its ministries can
              only be given by the AGF as a matter of Nigerian law and practice.

   17         The present arbitral proceedings between PIDL and the Ministry Is no exception.
              Instructions to represent the Ministry in the arbitration were given to Mr. Olasupo
              Shasore, SAN of TMS by the former AGF Mr. Bello Adoke.




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        18         Thus, the chain of command for the conduct and directives pertaining to the arbitral
                   proceedings has always been from the AGF to the Ministry.

        19         However, due to the elections In March 2015, the tension generated by it and the
                   attendant dissolution of cabinet on 28th May 2015 by the immediate past President of
                   Nigeria, it was Impossible for TMS or the Ministry to get necessary directives from
                   the AGF in respect of this arbitration.

        20         With elections out of the way and the appointment of a new AGF, lawful instructions
                   and directives have now emanated from the office of the AGF with respect to the
                   conduct of this arbitration.

        Difficulty in initiating challenge of the Award

        21         As set out above, the Award was issued on 17 July 2015 and was immediately
                   reviewed by the Ministry and its legal representatives in Nigeria, Twenty Marina
                   Solicitors {"TMS").

        22         On 21 July 2015, TMS advised me as to whether the Award failed completely and/or
                   clearly to address the issues presented by the Respondent and as to whether or not
                   it should be challenged accordingly. The Ministry understood that in order to
                   challenge the Award, it would need to instruct a firm of solicitors In the U.K. given
                   that any such challenge would have had to be before the English courts under the
                   English Arbitration Act 1996. (Nothing set out In this statement shall constitute a
                   waiver of privilege.)

        23         This presented an issue for the Ministry because an application to challenge the
                   Award in the U.K. constituted a new legal action which, together with the need to
                   appoint foreign legal representatives, required approval of the AGF. The Constitution
                   of the Federal Republic of Nigeria 1999 stipulates that "there shall be an Attorney
                   General of the Federation who shall be the chief law officer and a Minister of the
                   government of the Federation". In addition several Nigerian cases have held that the
                   AGF Is responsible in law for government's actions and misactions.         In the case
                   Guardian Newspapers Ltd v. AG Fed (1995) 5 NWLR (Pt. 398) 703 - CA, the
                   court held that "Both at common law and by virtue of our constitution, the Federal
                   Attorney-General is the Chief Law Officer of the Republic and the conscience of the
                   people. He represents the state In all actions against the state; this he can do in
                   person or through the other law officers in his ministry. The office of the Attorney
                   General Is so unique that In the exercise of his functions as the Chief Law officer, he
                   cannot even take a dictation from the Head of State".

        24         In AG Rivers State v. AG Akwa Ibom State (2011) 8 NWLR (Pt. 1248) 31 ,
                   the main functions of the Attorney General was explained as - " ........... advising the



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                   Federal or State government including their parastatals on legal matters and
                   prosecuting or defending court cases for or against their respective governments".

        25         However, as I have set out above, at the relevant time, the AGF's office was vacant.
                   The office of the AGF is a political appointment.

        26         It is necessary to explain that it Is Nigerian administrative and government practice
                   in all Federal Government Ministries when it comes to dispute resolution, particularly
                   highly contentious matters involving huge financial exposure to the nation (such as
                   was the case in the Arbitration) to always operate through the AGF. The Ministry's
                   legal department had been able to continue its oversight of the Arbitration during the
                   period that the office of the AGF was vacant because TMS had extant Instructions
                   from the previous AGF to act in that matter. However, the Ministry did not have the
                   authority to unilaterally approve a new legal action albeit connected with the
                   Arbitration. This was even more so given that the amount potentially in Issue was in
                   the billions of dollars.

        27         On 11 November 2015, after a five and a half month period, the Government finally
                   appointed Mr Abubakar Malami SAN as AGF.

        28         Despite having to deal with other challenges associated with his new role, one of the
                   first matters the new AGF addressed upon assumption of office was this matter. He
                   and his team had to be briefed on the details of the matter, the outcome of the
                   Arbitration and to take advice on the available options and suggested next steps.

        29         Following his review of the relevant documents In the Arbitration and TMS' opinion,
                   the AGF gave his approval for the Ministry to instruct U.K. solicitors.

        30         Accordingly on 13 November 2015, TMS asked Stephenson Harwood to assess the
                   merits of the English Court Applications.

        31         Later on 13 November 2015, Stephenson Harwood confirmed that they had cleared
                   conflicts and were therefore able to act on behalf of the Ministry. Stephenson
                   Harwood also recommended that Counsel be instructed on the matter.

        32         Since 13 November 2015, the Ministry and its legal representatives have sought to
                   progress this matter with expedition. All relevant documents from the arbitration
                   (amounting to five lever arch files) had to be gathered and sent to Stephenson
                   Harwood in London. Most of the documents could only be sent on 23 November 2015
                   and Stephenson Harwood only received them on 25 November 2015. The remaining
                   documents were sent over the following weeks.

        33         Since receipt of the documents on 25 November 2015, Stephenson Harwood and
                   Leading Counsel have been considering the merits of the Applications, advising the




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                    Ministry on the same and preparing the Applications. The issue of jurisdiction of this
                   Court and the seat of the Arbitration had first to be considered, in particular given
                   the differing headings on the various procedural orders and the Part Final Award
                   dated June 2014 [P.62-77].

         34        To conclude, the permanent staff at the Ministry did all in its power to obtain the
                    necessary approval to challenge the Award within the 28 day period after issuance.
                   After expiry of that period, the Ministry continued to apply all its efforts to obtain
                    approval. Unfortunately, the Ministry was unable to obtain approval on time. The
                    Ministry tried all that was possible legally to obtain the necessary approval, including
                    attempting to seek directives from the Vice President of the Federation in November,
                    notwithstanding the fact that the only person that had the power to instruct counsel
                   was the AGF. The delay was not out of choice but was forced on the Ministry by
                    circumstances beyond Its control.

         35        It is important to understand the limitations on the Ministry's capabilities in this
                    matter:

                    35.1      The Ministry Is seldom Involved in arbitration proceedings and therefore
                              lacks experience of the distinct features of international arbitration,
                              including its cross-border nature and strict short time limits. Further its legal
                              department is not accustomed to dealing with disputes of the type that the
                              Arbitration was concerned with. The legal department at the Ministry (like
                              the Ministry itself) is accustomed to dealing with the activities that the
                              Ministry    was   expressly    set   up   for   and   authorised   to   undertake,
                              predominantly the licensing of petroleum exploration and production.

                    35.2      These are the normal strategic and regulatory activities that the Ministry has
                              been undertaking since 1975 when It was established and can therefore
                              undertake without the need for external approval or interference. The
                              situation would have been different if the arbitration involved the NNPC,
                              which is the state oil corporation established In 1977 with the power to
                              enter Into commitments similar to those in the GSPA. Unlike the Ministry,
                              the NNPC is a commercial entity which is regularly involved In, and therefore
                              accustomed to dealing with international arbitration.

                    35.3      Lastly, It is important to understand that the Nigerian Government has
                              never been faced with a situation where it has had to operate for a long
                              period     without an   AGF.   The length       of time without an      AGF was
                              unprecedented in the nation's history.




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   36         As a result of the above circumstances, it would be unfair for the Ministry to be
             denied the opportunity of having the Applications determined, particular that each of
             them impacts on the existence or extent of the considerable sum now claimed.

   The proposed s 68 Arbitration Act 1996 challenges

   37         I understand that the Ministry has potentially good grounds to challenge the Award
             on the grounds of serious irregularity. While I understand that the Court would not
              be conducting a detailed Inquiry at this stage, it is worth setting out briefly why the
              Ministry submits there is a serious irregularity affecting the Award, In that the
             Tribunal may have failed to deal (or deal distinctly) with all the issues put to it.

              37.1      Capacity/authority: two of the defences put forward by the Ministry were
                        that It neither had (i) legal capacity nor (il) actual (factual) authority to
                        perform the GSPA [P.78]. The two issues, I.e. capacity and authority are
                        and have always been obviously discrete. However, the Tribunal, in its
                        Award, appears in its reasoning only to have dealt with its views on the first
                        (the legal) issue (see Award [41]-[54]). It mentioned 'capacity' 10 times In
                        Its reasoning. That said, In its concluding paragraph to that section, it made
                        a parting reference not to capacity but used the word authority [54].
                        However, given the use of the word 'capacity' throughout the prior
                        paragraphs, and the clear legal focus of the analysis therein, it appears that
                        no separate consideration was given by the Tribunal to the issue of factual,
                        actual authority. What is clear, is that there is no separate reasoning on the
                        point.    It may be that the Tribunal erroneously assumed that the issue of
                        authority was just another way of putting the legal (capacity) point, In which
                        case it will have failed, by mistake, to deal with the distinct Issue of factual
                        capacity. At best, I am advised, it is a point of ambiguity, which should be
                        revisited,   and   distinctly dealt with.   To have conflated     both      issues,
                        addressing them Interchangeably both In description and in substance as
                        issues of law, would have been in effect not to decide the factual, actual
                        authority point.

                        37 .1.1    See for example the sole heading for the relevant part of the Award
                                   in section H of the Award (page 10) as "capacity".

                        37.1.2     I also understand that the Tribunal based its decision on prima
                                   facie findings which are more closely connected with capacity than
                                   authority.

                        37 .1.3    At paragraph 53 of the Award, in considering whether another
                                   Ministry (the Ministry of Energy) may have had exclusive powers to
                                   enter into agreements similar to the GSPA, the Tribunal found that



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                                 there "was nothing to suggest that [the Ministry of Energy] will
                                 enter into the business of selling gas." As there was similarly
                                 nothing to suggest that the Ministry will enter into the business of
                                 selling gas, the Tribunal's statement at paragraph 53 strongly
                                 suggests that the Tribunal did not consider the lack of authority
                                 defence put forward by the Ministry.

                        37.1.4   Importantly,     in   the   fimil   paragraph   of    the    section,   which
                                 purportedly addresses the defence of lack of authority, the
                                 statement that "the [Ministry] was an appropriate entity to enter
                                 into the GSPA ... " (my emphasis) is entirely indicative of a Tribunal
                                 considering capacity rather than authority.

   No breach of Article 6a

             37.2       In the second place, the Award is internally inconsistent, and therefore
                        ambiguous, as to whether one of the Ministry's defences was successful.
                        Two distinct breaches of contract were alleged against the Ministry.             I set
                        out the two clauses:

                                 "6. RESPONSIBILITIES OF THE GOVERNMENT

                                 a) The Government shall deliver to the Site boundary the agreed
                                 quantities and quality of gas defined under Article 3c and in the
                                 manner set out in Appendix A to this Agreement;

                                 b) The Government shall ensure that all necessary pipelines and
                                 associated     infrastructures      are   installed    and     all   requisite
                                 arrangements with agencies and/or third party are in place to
                                 ensure the supply and delivery of Wet Gas in accordance with
                                 Article 3 so as to facilitate the timely implementation of gas
                                 processing by the GPFs as provided for in this Agreement."

              37.3      The first, of clause 6(a) of the contract, was an alleged failure actually to
                        deliver product. It was the centre-piece of PIDL's pleaded case on breach
                        (see PIDL's Statement of Case, paragraphs [87]-[89] [P.lOO]).                      The
                        second, of clause 6(b) was an alleged failure to ensure that infrastructure
                        was In place. (See PIDL's Statement of Case, paragraph [90] [P.lOO]).

              37.4      The Ministry defended the first allegation on the basis that the obligation to
                        deliver product could not have arisen until PIDL had constructed its
                        treatment plant.      This, It never did.     The Ministry's defence on this point
                        succeeded.      Specifically, at paragraph 63 of the Award, the Tribunal
                        appears to accept that "the Government had no obligation to deliver gas


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                               until there was a plant to receive it", in other words confirming that the
                               Government was not in breach of Article 6(a) of the GSPA.

                    37.5       Furthermore, at paragraph 66 of the Award, the statement that: "[o]f
                               course the Government could not actually deliver gas until there was a Site
                               and, as we have said, until there was a plant to receive it."

                    37.6       However, in the "Disposition" section, at paragraph 80(1)(a), the Tribunal
                               declares that "[t]he Government repudiated the GSPA by failure to perform
                               its obligations under Articles 6a and 6b thereof."

                    37.7       This apparent internal contradiction is of great importance. Not only does
                               the nature of the breach go fundamentally to the extent and nature of
                               damages recoverable, it also goes to the very basis of the Tribunal's finding
                               of repudiatory conduct.      That finding (see above and see Award at
                               paragraph [80]) "The Government repudiated the GSPA by failure to
                               perform its obligations under Articles 6a) and b) thereof' is made on a dual-
                               breach basis, le of clauses 6(a) & (b).       The two are interwoven as a
                               combined basis for the conclusion of repudiation.          What the Tribunal
                               appears to have done Is give as one half of Its basis for concluding that
                               there was repudiatory conduct a breach of a provision which it had earlier
                               held not to have been broken or even fallen due for performance.        I am
                               advised that the Tribunal appears not to have afforded any alternative basis
                               for its conclusion that there was a repudiation (e.g. on the basis of just a
                               breach of clause 6(b). Nor should it be assumed.

         38         The above point on breach of Article 6a goes to quantum and is therefore critical to
                    the Ministry's preparation for the damages stage of the arbitration. It is worth noting
                    that having Initially estimated in August 2012 that its Joss of profit would be no less
                    than USD1.9bn [P.24], under a year later, PIDL put its damages claim at around
                    USD5.9bn [P.102], however, PIDL now appears to be claiming damages in the
                    amount of around USD8.6bn [P.225]. Given this creeping astronomical figures, the
                    Parties and the process would undoubtedly benefit from certainty and clarity on the
                    key Issues. Therefore the ambiguity caused by the Award could lead to complications
                    and potential Injustice at the damages stage. Although the Court would not be
                    conducting a detailed enquiry Into the merits of the challenge at this stage, I think it
                    is necessary for the Court to bear in mind the above facts In order to assess the
                    unfairness that would be done to the Ministry if It were allowed to go into the
                    damages stage without having the key issues properly considered and determined.




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          No prejudice to PIDL or to the future conduct of the arbitration

          39        Further, it does not follow that (if permission were granted) the Applications would.
                    have a detrimental effect on the Arbitration, particularly given that any hearing on
                    quantum will be substantial, and is unlikely to occur within 12 months. Of course,
                    the Ministry intends to co-operate fully with the preparations of that hearing.      The
                    below are the major steps ordered by the Tribunal in Procedural Order No. 10 dated
                    27 October 2015 [P.261-263]:

                    39.1       PIDL was ordered to serve upon the Ministry and the Tribunal on or before 4
                               December 2015, all documents and evidence upon which it intends to rely in
                               relation to the amount of damages to which PIDL is entitled;

                     39.2      The Ministry was ordered to serve upon PIDL and the Tribunal, within 6
                               weeks of service by PIDL of the above documents, all documents and
                               evidence upon which the Ministry intended to rely in relation to the amount
                               of damages to which PIDL Is entitled;

                     39.3      PIDL was ordered to serve its documents and evidence in Reply (if any)
                               within 4 weeks of service by the Ministry of the above documents.

                     39.4      It was ordered that there is to be a procedural conference on a date to be
                               fixed by the Tribunal after service by PIDL of its documents and evidence in
                               Reply at which, inter alia, the issue of a date and any necessary directions
                               for the hearing on quantum is to be determined.

          40        The Ministry has made several attempts to engage professional consultants to
                     provide assistance in the damages stage of the arbitration. Unfortunately, for the
                     same reasons affecting the Ministry's inability to engage foreign counsel, the Ministry
                     has not been able to engage professional consultants. TMS advised the Ministry on
                    the need to appoint experts to provide an evaluation of damages with regard to the
                     claim. The Ministry agreed with the advice and informed TMS on the need to get
                     approval from the AGF. However because an AGF was yet to be appointed, the
                     Ministry was unable to secure the approval. Consequently, the Ministry has been
                     unable to prepare for the damages stage of the arbitration as well as Is required for
                     an arbitration of this size.

          41         On 4 December 2015, PIDL served a very substantial report of four experts in
                     various disciplines as evidence it intends to rely on in relation to the amount of
                     damages claimed       ("PIDL's Damages Evidence")           in the Arbitration.   PIDL's
                     Damages Evidence amounts to 126 pages and over 40 megabytes of material. As
                     indicated above, the figures are quite different from those mentioned in the
                     Statement of Case at [95]-[97], but there Is no sign of any application for any



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                            amendment being lodged, which leaves the Ministry in an unnecessarily difficult
                            situation. That is compounded by the lack of any supporting disclosure or additional
                            factual·evidence.

              42            Even leaving aside the Ministry's Inability to engage professional consultants on time,
                            the size and content of PIDL's Damages Evidence, the disconnect with the pleadings,
                            the lack of any supporting factual evidence, and the lack of disclosure, are all such
                            that more than six weeks would be required for the Ministry to properly consider all
                            the material and prepare its own supporting documents in relation to damages.

              43            I anticipate an application will be made shortly to the Tribunal to (I) oblige PIDL to
                            regularise Its pleadings and (ii) serve any factual evidence it needs to serve.

              44            As a result of the above, TMS on behalf of the Ministry, have applied to the Tribunal
                            for an extension of time In which to serve the documents and evidence it intends to
                            rely on in relation to the amount of damages to which PIDL Is entitled.

              45            Therefore, on any view, the quantum stage is likely to be protracted. Consequently,
                            It is unlikely that the Applications (and the Court's determination of the same) would
                            have a detrimental effect on the arbitration.

               Absence of irremediable prejudice to PIDL

               46           Further, PIDL Is unlikely to suffer any irremediable prejudice as a result of the
                            Applications or the Court's determination of the same. The Ministry has not
                            dissipated any assets as a result of the award. Being a ministry of the Government,
                            the Ministry Is extremely· unlikely to dissipate any assets or put the same out of
                            reach of a judgement creditor in a way that a private entity might.

              Statement of Truth

              I believe that the facts stated in this witness statement are true.

               Signed ...   ~:k. . . . . . . . . . .   iJ>o ...... .


               Mrs. Folakemi Adelore

              Dated this '2.'21'\iy of          'J>'f ({?_ M           bQ,--2015




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                                                                       Folakemi Adelore
                                                                               Claimant
                                                                                    First
                                                                      22 December 2015
                                                                           Exhibit "FA1"




                                                IN THE HIGH COURT OF JUSTICE
                                                QUEEN'S BENCH DIVISION
                                                COMMERCIAL COURT
                                                IN AN ARBITRATION CLAIM AND IN THE
                                                ARBITRATION

                                                BETWEEN

                                                THE MINISTRY OF PETROLEUM
                                                RESOURCES OF THE FEDERAL REPUBLIC
                                                OF NIGERIA

                                                 Claimant/Respondent in the Arbitration


                                                and




                                                PROCESS AND INDUSTRIAL
                                                DEVELOPMENTS LIMITED

                                                   Defendant/Claimant in the Arbitration




                                                      FIRST WITNESS STATEMENT OF
                                                           FOLAKEMI ADELORE




                                                Stephenson Harwood LLP
                                                1 Finsbury Circus
                                                London EC2M 7SH
                                                Tel:    +44 20 7809 2384
                                                Fax:    +44 20 7003 8240
                                                Ref:    1543
                                                Solicitors for the Claimant




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                 EXHIBIT 10




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    IN THE HIGH COURT OF JUSTICE                                        CL-2015-000917
    QUEEN'S BENCH DIVISION
    COMMERCIAL COURT

    BEFORE THE HON MR JUSTICE PHILLIPS

    In an arbitration claim


    BETWEEN

                              THE MINISTRY OF PETROLEUM RESOURCES
                                OF THE FEDERAL REPUBLIC OF NIGERIA
                                                                                     Claimant


                                             -and-

                          PROCESS AND INDUSTRIAL DEVELOPMENTS LTD
                                                                                   Defendant
    In the matter of an arbitration

    BETWEEN

                          PROCESS AND INDUSTRIAL DEVELOPMENTS LTD

                                                                   Claimant in the Arbitration

                                              -and-

                              THE MINISTRY OF PETROLEUM RESOURCES
                                OF THE FEDERAL REPUBLIC OF NIGERIA

                                                                 Respondent in the arbitration


                                       ORDER AND REASONS

                                             ORDER

    Upon the Claimant's application under Part 62.9 ofthe Civil Procedure Rules to extend the
    28-day time period in which to apply to challenge the Part Final Aware of Lord Leonard
    Hoffmann, Chief Bayo Ojo and Sir Anthony Evans dated 17 July 2015 (the "Part Final
    Award")

    AND UPON READING the witness statement of Folakemi Adelore dated 22 December 2015
    and the witness statement of lan David Sellars dated 31 December 2015:

    IT IS ORDERED THAT the Claimant's application be dismissed




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                                             REASONS

    1. The application under s.68 of the Arbitration Act is made more than 4 months after
       the expiry of the 28 day time limit. Compelling reasons would have t o be shown to
       justify an extension of over four times the statutory time limit. In this case the delay is
       said to have been caused by the fact that the new President of the Federation of
       Nigeria, sworn in on 29 May 2015, did not appoint an Attorney General until 11
       November 2015 with the result that London solicitors were not instructed in relation
       to the application until 13 November 2015.

    2. Even if the absence of an Attorney General was an insuperable obstacle to instructing
       London solicitors (which is far from clear in view of the evidence filed by the
       defendant), the claimant could and should have prepared all documentation in
       readiness so as to proceed with expedition once London solicitors were instructed, not
       least in view of the fact that the claimant continued to participate in the arbitration
       proceedings throughout the period with the benefit of external counsel. In the event
       documentation was not provided to London solicitors until 25 November and the
       application under s.68 was not issued until 40 days after London solicitors were first
       instructed, a period in excess of the statutory time limit. No good explanation is given
       for that further excessive period of delay. In those circumstances it is not appropriate
       to extend time.

    3. In refusing to extend time I further take into account that the grounds of appeal have
       no merit. As to ground (A}, it is incorrect to say that the Tribunal found that the
       clamant was not in breach of art G(a): t he finding was that the claimant had put itself
       in a position where it was impossible for it to comply with art G(a) by virtue of its own
       breach of art G(b). There was no internal inconsistency in the Tribunal's reasons. As to
       ground (B), the Tribunal clearly addressed the actual authority of claimant to enter
       and perform the GSPA, holding that that was the prima facie position and rejecting the
       claimant's arguments to displace that starting point. There was no ambiguity or
       confusion in its findings between the concepts of capacity and authority. As to ground
       (C), there was a clear and sufficient finding that the breach of art G(b), rending it
       impossible to perform art G(a), was a repudiatory breach. The contention that
       separate consideration should have been given to a breach of art G(b) alone is
       misconceived.




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                 EXHIBIT 11




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 I                                    IN THE LAGOS JUDICIAL DIVISION
                                             HOLDEN AT LAGOS



 I      IN THE MATTER OF THE ARBITRATION AND CONCILIATION ACT CAP. A.18 LAWS OF THE




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        ~~::~::::: :~:::R::::~::E RULES THEREUNDER                                           ~ d-b tt~
        BEFORE
                                                                                                   1
I       LORD LEONARD HOFFMANN                                             PRESIDING ARBITRATOR
        SIR ANTHONY EVANS                                                 ARBITRATOR

I       CHIEF BAYO OJO, SAN                                               ARBITRATOR

        BETWEEN

I       THE MINISTER OF PETROLEUM RESOURCES
        (For and on behalf of the Ministry of Petroleum Resources)                    APPLICANT


I       AND

I       PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED BVI                               RESPONDENT

I                                           ORIGINATING MOTION

         Brought Pursuant to Sections 29, 30 & 48 of the Arbitration and Conciliation Act Cap A18
I             Laws of the Federation of Nigeria 2004, and under the Inherent Jurisdiction of this
                                               Honourable Court

I       TAKE NOTICE that this Honourable Court will be moved on .................. the ...... day of
        .................. 2016 at 9 o'clock in the forenoon or so soon thereafter as Counsel may be heard

I       on behalf of the Applicant for the following reliefs:

           1. AN ORDER enlarging the time within which the Applicant may apply to set aside the
              arbitration award of the tribunal on liability dated 17 July 2015 ("the Award") in the
I             above-mentioned arbitration proceedings.

           2. AN ORDER setting aside and/or remitting for further consideration all or part of the
I             arbitration Award of Lord Leonard Hoffmann, Chief Bayo Ojo, SAN and Sir Anthony
              Evans and for such further or other orders as this Honourable Court may deem fit to
              make in the circumstances.
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I
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                                   GROUNDS OF THE APPLICATION
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I        1. The arbitration proceedings were commenced pursuant to Clause 20 of the Gas
            Supply and Processing Agreement dated 11 January 2010 ("the Agreement").

I        2. The substantive law of the contract is Nigerian law.


I        3. The arbitration proceedings was initiated under the rules of the Arbitration and
            Conciliation Act, CAP A18 LFN 2004 ("ACA").

I        4. Parties agreed and the arbitration proceedings were indeed conducted in
            accordance with the ACA.

I        5. The parties have effectively agreed that the seat of arbitration is Nigeria and
            consequently Nigerian law is the lex arbitri.

I        6. Nigerian courts have exclusive supervisory jurisdiction in relation to matters arising
            from the arbitration proceedings.
I        7. London is not the seat of the arbitration. It is only the venue for hearings in the

I           arbitration; a geographically convenient place hence the High Court of England
            cannot exercise supervisory or any jurisdiction in relation to the arbitration
            proceedings.

I        8. The period within which to apply to set aside the arbitral Award has expired hence
            leave of this Honourable Court is required to bring an application to set aside the

I           Award.

         9. By virtue of section 30 of the ACA, a court may on the application of a party, set
I           aside an arbitral award where the arbitrator(s) has misconducted himself.



I        10. The Applicant seeks to set aside the Award on the ground that the tribunal
             misconducted itself to wit:


I           i.      The tribunal in making the Award breached the rules of natural justice.

            ii.     The Award is inconsistent and ambiguous.
I           iii.    A party to the arbitration was under some incapacity.

I           iv.     The Award contains decision on a point not put forward by the parties.


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                     The Award consists of mistake of fact which is admitted to by the Tribunal

I                    and clear beyond any reasonable doubt

                                   Dated this   l.t.f"~f February 2016
I
I                                                                                Safiat Kekere-Ekun

I                                                                               Applicant's Counsel
                                                                      Twenty Marina Solicitors LLP
                                                                                    Sterling Towers

I                                                                                  20 Marina Lagos
                                                                           Telephone: XX-XXXXXXX-9
                                                                  E-mail: ao@ajumogobiaokeke.com

I
      "This Originating Motion is to be served out of Lagos State and in the British Virgin Islands"

I      For Service on:

I     The Respondent
      Process and Industrial Developments Limited

I     Trident Chambers
      P.O Box 146
      Road Town

I     Tortola
      British Virgin Islands


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I                                   IN THE LAGOS JUDICIAL DIVISION
                                           HOLDEN AT LAGOS



I      IN THE MATTER OF THE ARBITRATION AND CONCILIATION ACT CAP. A.18 LAWS OF THE
       FEDERATION OF NIGERIA 2004 AND THE RULES THEREUNDER


I      IN THE MATTER OF AN ARBITRATION

       BEFORE

I      LORD LEONARD HOFFMANN
       SIR ANTHONY EVANS
                                                                       PRESIDING ARBITRATOR
                                                                       ARBITRATOR

I      CHIEF BAVO OJO, SAN                                             ARBITRATOR


       BETWEEN
I      THE MINISTER OF PETROLEUM RESOURCES
       (For and on behalf of the Ministry of Petroleum Resources)                 APPLICANT

I
       AND

I
       PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED BVI                            RESPONDENT

I
                                          AFFIDAVIT IN SUPPORT

I      I, Safiat Kekere-Ekun, female Nigerian citizen of 20 Marina Lagos, do hereby make oath and
       state as follows:

I          1. I am a legal practitioner in the law firm of Twenty Marina Solicitors LLP, counsel to the
              Applicant herein and I have the consent of the Applicant and my employers to depose

I         2.
              to this affidavit.

               Unless otherwise stated, the facts deposed to herein derive from my personal

I              knowledge of the facts and circumstances of this case by virtue of my position as
               stated in Paragraph 1 above.
                                         The Arbitration Agreement

I         3. The parties herein entered into a Gas Supply and Processing Agreement dated 11th
             January 2010 ("the GSPA"). Clause 20 of the GSPA contains parties' agreement on

I            Applicable Law and Dispute Resolution.

          4.   By the said Clause 20, parties agreed that the GSPA shall be governed by and

I              construed in accordance with the laws of the Federal Republic of Nigeria. With



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            respect to dispute resolution and the initiation of same, parties agreed that in the
            event of failure to amicably settle any dispute or difference arising from the GSPA,
I           either party may serve on the other party a Notice of Arbitration in accordance with
            the Rules of the Arbitration and Conciliation Act, CAP A18 Laws of the Federation of

I           Nigeria 2004 ("ACA").

         5. It was also agreed at Clause 20 that the venue of the arbitration shall be London,

I           England or as otherwise agreed by the parties. The Contract did not contain any
            express agreement as to the "seat" of arbitration. Attached and marked Exhibit A is
            a copy of the Agreement.

I                                   The Arbitration Proceedings

         6. A dispute arose between the parties and by a Notice of Arbitration dated 22"d
            August 2012 ("Notice of Arbitration"), the Respondent commenced arbitration
I           proceedings against the Applicant. The Notice of Arbitration was issued pursuant to
            the Rules of the ACA as agreed by the parties in Clause 20 of the Agreement.
            Attached and marked Exhibit B is a copy of the Notice of Arbitration.
I        7. Documents filed in the arbitration proceedings including the Procedural Orders

I           issued by the tribunal were headed in accordance with clause 20 of the Agreement
            to wit: IN THE MATTER OF AN ARBITRATION UNDER THE RULES OF THE
            ARBITRATION AND CONCILIATION ACT OF NIGERIA. Attached and marked Exhibits

I           C, D, E and F respectively is a copy each of Procedural Orders Nos 1-4 issued by the
            tribunal in the arbitration proceedings.
                                               Lex arbitri

I        8. In the course of the arbitration proceedings specifically on 7th August 2013, the
            Presiding Arbitrator sent an e-mail to the parties. By the e-mail, the tribunal

I           expressed concern about the Applicant's failure to serve its Statement of Defence
            within the time stipulated by the tribunal. The tribunal therefore proposed a
            telephone hearing with the parties to discuss the future progress of the arbitration

I           proceedings. Parties subsequently agreed on the date and time for the telephone
            conference.


I        9. Few days before the agreed date for the telephone hearing {16th August 2013),
            Applicant's counsel sent an e-mail to the tribunal and the Respondent expressing its
            inability to provide proper representation at the telephone hearing. This according

I           to Applicant's counsel was due to incomplete instructions from the Applicant.
            Applicant requested a postponement of the telephone hearing. By the same e-mail,
            the Applicant also sought an extension of time within which to submit its Statement

I           of Defence.

         10. In reaction to Applicant's e-mail referred to in paragraph 9 above, Respondent's
I            counsel by its e-mail of 19th August 2013 to the tribunal and the Applicant proposed
             that the tribunal should issue Procedural Order No. 2 in the terms of the draft
             produced and circulated by the Respondent.
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I        11. The draft Procedural Order No. 2 prepared by the Respondent's counsel was

I            adopted and issued by the tribunal on 14th September 2013 (Exhibit D).

         12. Although parties did not expressly agree on the law that would govern the

I            arbitration proceedings (external lex arbitri), in a manifestation of the parties'
             intention with respect to the lex arbitri, at paragraph 4 of its Procedural Order No. 2
             (the draft of which was prepared by Respondent's counsel), the tribunal notified the

I            parties that it shall enforce the provisions of section 21 (b) of the ACA should the
             Respondent ( Applicant herein) default in filing its Statement of Defence within the
             time stipulated by the tribunal.

I        13. Specifically, at paragraph 4 of Procedural Order No. 2 (Exhibit D), the tribunal
             directed as follows:

I                   "WITH THE CONSENT OF THE PARTIES...................
                    In the event that the Respondent (Applicant herein) fails to serve its

I                   Statement of Defence in accordance with Paragraph 2 above, the
                    tribunal shall be entitled to continue the proceedings in accordance
                    with section 21 (b) of the Nigerian Arbitration and Conciliation Act,

I                   1990". (Underlining is for emphasis)

         14. Apart from the Rules of the ACA, there was no reference to any other law (lex arbitri)

I           in the GSPA or in the course of the arbitral proceedings. However, at the
            commencement of the proceedings, Applicant raised a preliminary objection to the
            jurisdiction of the tribunal and by its letter dated 11th October 2013, Respondent's
I           counsel sought the consent of the Applicant to the determination of the preliminary
            objection in accordance with the English Arbitration Act 1996. Applicant in its
            response dated 14th October 2013 maintained its position on the law to govern the
I           arbitration proceedings and stated that the preliminary objection must be
            determined in accordance with the ACA as agreed by the parties.


I        15. The Respondent in further response to Applicant's letter argued in favour of the
             English Arbitration Act 1996 stating that the juridical (or legal) seat of the arbitration
             is London as a consequence of which the English Arbitration Act 1996 is the lex arbtri
I            (the law that would govern the arbitration proceedings) and that where the seat of
             arbitration is England, certain mandatory provisions of the English Arbitration Act
             would apply to the proceedings notwithstanding any agreement of the parties to the
I            contrary. Copies of these letters were delivered to the tribunal. Attached and
             marked Exhibits G, H and I respectively is a copy each of the letters.

I        16. Surprisingly however, the tribunal on its own and without the consent or agreement
             of the parties or a ruling on whether the English Arbitration Act 1996 is the lex arbitri

I            introduced the English Arbitration Act to the proceedings. Specifically, subsequent
             procedural orders of the tribunal (Procedural Orders Nos 5 - 11) were headed as
             follows:

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                                                                                             Page 144 of 242


                       IN THE MATTER OF AN ARBITRATION UNDER THE RULES OF THE NIGERIAN
I                      ARBITRATION AND CONCILIATION ACT (CAP A18 LFN 2004)"



I      17.
                                                  The Award

                The arbitration proceedings progressed and on pt June 2015, a hearing took place at

I               the International Dispute Resolution Center in London. The proceedings having been
                bifurcated, the hearing of pt June 2015 was restricted to issues of liability. Attached
                and marked Exhibits J, K, L, M and N are copies of the Witness Statement of

I               lkechukwu Oguine, Statement of Facts challenged with regards to the Witness
                Statement of Michael Quinn and other facts relevant to the question of liability,
                Applicant's Written Submissions, Applicant's Response to the Claimant's submission

I               in Reply and the National Domestic Gas Supply and Pricing Regulations, which forms
                part of the evidence relied on by the Applicant at the hearing of pt June 2015.


I      18.      On 17th July 2015, the tribunal issued its award on liability ("the Award"). Attached
                and marked Exhibit 0 is a copy of the Award.


I      19.      The Applicant was desirous of challenging the Award on the ground that the tribunal
                misconducted itself but the process of instructing counsel for that purpose was
                seriously hampered by the political situation in Nigeria at the time. It was a post-

I               election period and a new government had not been formed. The Chief Law Officer
                of the Federal Government, the Attorney General and Minister of Justice had not
                been appointed.

I      20.      The Award was issued barely two months after the conclusion of general elections in
                Nigeria and the subsequent inauguration of a new federal government in Nigeria.

I               The term of office of Ministers in the immediate past administration expired on or
                about 29th May 2015 and new Ministers were not appointed until 11th November
                2015.
I                    Seat of Arbitration/Nigerian Courts have Exclusive Supervisory Jurisdiction


I      21.     Mr. Olasupo Shasore, SAN was the Applicant's lead counsel on record throughout the
               proceedings leading to the Award.

I      22.     Upon the appointment of Nigeria's Federal Ministers, the Applicant on the advice of
               Mr. Shasore, SAN promptly instructed English counsel to take necessary steps to
               apply to set aside the Award.
I      23.     On the basis of the advice received from counsel, Applicant instructed its English

I              Counsel to make necessary application to English court for extension of time to
               challenge the Award. The application was filed on 23rd December 2015.


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               In its ruling of lOth February 2016, the English court refused the application. Attached
               and marked Exhibits J and K respectively is a copy each of the Application and the
I               ruling.
                 Seat of arbitration is Nigeria /Nigerian Courts Have Exclusive Supervisory Jurisdiction

I      25.      At a telephone conference on 11th February 2016 between Applicant's Nigerian
                counsel and English solicitors in which I participated, the English solicitors informed
I               us (i.e. Nigerian counsel) of the details of the ruling of the English court on the
                Applicant's application for extension of time to challenge the Award.

I      26.      Immediately after the telephone conference, we (i.e. the team of Applicant's
                Nigerian counsel led by Mr. Shasore, SAN) embarked on a careful and
                comprehensive review of the entire case file of the arbitration proceedings. This was
I               followed by series of brainstorming sessions particularly with respect to the seat of
                the arbitration.

I      27.      All of these exercise revealed that apart from the reference to London as the venue
                of the arbitration proceedings, the Agreement has no other connection with
                England. None of the parties to the Agreement is English, the Agreement was to be
I               performed in Nigeria, the Agreement is to be construed in accordance with Nigerian
                law and the arbitration proceedings were commenced pursuant to the ACA and the
                ACA rules. All of these culminated in the manifestation of the parties implied
I               agreement to select Nigerian law as the lex arbitri in Procedural Order No. 2 (Exhibit
                D) which was drafted by Respondent's counsel.

I      28.      Mr. Shasore, SAN who was lead counsel on record throughout the proceedings
                leading to the Award then recalled that he had participated in all procedural matters

I               before the arbitral tribunal wherein the dispute was by consent order affirmed to be
                heard pursuant to the Nigerian ACA


I      29.      The Respondent (Arbitration claimant) counsel had at a subsequent time suggest a
                change to the English Arbitration Act when Mr Shasore SAN leading for the Ministry
                firmly rejected the offer to change the lex arbitri with the Respondent.

I      30.      From the foregoing facts, I am of the belief that the Agreement is more closely
                connected to Nigeria than any other country including England.

I      31.      I am also of the belief that the seat of the arbitration is Nigeria, the lex arbitri of the
                arbitration proceedings subject matter of this action is the ACA and the courts that

I               have exclusive supervisory jurisdiction in matters relating to the arbitration are
                Nigerian courts. As a consequence the present Applicant's reference to the English
                courts was as an inadvertence.

I      32.      I was informed by Mr. Shasore, SAN at about l.lSpm on Tuesday 23rd February 2016
                at 20 Marina, Lagos and I verily believe him that the Applicant and present

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             Respondent never agreed nor participated in any proceedings for the change of the
                                                                                               Page 146 of 242


             lex arbitri.
I                            Extension of Time to Set Aside an award under the ACA

I      33.   The ACA prescribes the period within which a party aggrieved with an award must
             apply to court to set it aside.

I      34.   By the stipulation of the ACA, the time within which the Applicant may apply to set
             aside the award on ground of misconduct expired on or about 17th October 2016. In

I            view of this, leave of this Honourable Court is now required to extend the time
             within which to apply to set aside the Award.


I      35.   The default in bringing this application within the prescribed period was not out of
             disrespect to this Honourable Court but was occasioned by the inadvertence of
             counsel.

I      36.   The grounds for seeking to set aside the Award as stated on the motion paper are
             substantial and arguable.

I      37.   The Applicant is committed to having the Award set aside in order to properly
             defend the Respondent's claims particularly in view of the significant financial

I            exposure of the Applicant to any award of damages that may be made thereafter.

       38.   The Respondent will not be prejudiced by the grant of this application, as the

I            Applicant makes this application in order that serious issues arising from the Award
             which touch on the financial and public interest of the Applicant are properly
             presented before this Honourable Court.

I      39.   The interest of justice will be better served by the grant of this application.


I      40.   I depose to this affidavit in good faith and in accordance with the(!): Act of the
             Federal Republic of Nigeria.


I                                                                                  DEPONENT


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                 EXHIBIT 12




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   IN THE MATTER OF THE ARBITRATION ACT 1996 (ENGLAND
   AND WALES)

   AND


   AND IN THE MATTER OF AN ARBITRATION UNDER THE RULES
   OF THE NIGERIAN ARBITRATION AND CONCILIATION ACT 1988


   BETWEEN:


       PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                 Claimant


                                   and


            THE MINISTRY OF PETROLEUM RESOURCES
             OF THE FEDERAL REPUBLIC OF NIGERIA
                                                               Respondent




                       PROCEDURAL ORDER No. 12




                                     Tribunal:
                        Lord Hoffmann (Presiding Arbitrator)
                               Chief Bayo Ojo, SAN
                                 Sir Anthony Evans




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                                      A. Introductory


      1. On 24 February 20 16 the Respondent ("the Government") commenced
         proceedings before the Federal High Court in Lagos for an order pursuant
        to sections 29, 30 and 48 of the Nigerian Arbitration and Conciliation Act
         1988 ("the Nigerian Arbitration Act") setting aside the Tribunal's second
        Partial Final Award dated 17 July 201 6. There is a dispute between the
        parties as to whether the Nigerian courts are entitled to exercise such
        supervisory or "curial" jurisdiction over the arbitration, this being agreed
        to depend upon whether Nigeria or England is the "seat" or "place" of
        arbitration. This is an important question, not only for the purpose of
        determining the jurisdiction to supervise the proceedings and award, but
        also for the purposes of the enforceability of the award. Article V of the
        New York Convention on the Recognition and Enforcement of Foreign
        Arbitral A wards provides that a Contracting State may refuse
        enforcement of an award only on a limited number of grounds, one of
        which is that the award "( v) .. . has been set aside or suspended by a
        competent authority of the country in which, or under the law of which,
        that award was made." Nigeria (and almost all other countries in the
        world) are parties to the New York Convention and Article V(v) is
        reproduced in section 52(2)(a)(viii) of the Nigerian Arbitration Act. The
        words "country in which, or under the law of which, that award was
        made" have been generally interpreted as referring to the widely
        understood international concept of the seat or place of the arbitration or
        arbitration proceedings. Thus an order setting aside an arbitral award by
        a court in a country which is not the seat of arbitration has no effect upon
        its enforceabil ity under the Convention.




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      2. The question of the seat of arbitration was first raised by the Government
         in its originating motion in the High Court in Lagos on 24 February
         2016. It was contested by P&ID and the parties made their submissions
         to the Tribunal in letters or e-mails dated 8 March 2016 and 11 March
         2016 (P&ID) and 11 and 13 March 2016 (the Government). P&ID,
         before the injunction granted by the Nigerian court, requested that the
         Tribunal give a ruling on the matter. The Tribunal considers that it must
         therefore consider the question of the seat of arbitration for the purpose
         of deciding the future conduct of the arbitration. The Tribunal has the
         power to determine its own jurisdiction (section 12 of the Nigerian
         Arbitration Act) and its opinion on the disputed question may also be of
         assistance to the Nigerian court.


      3. The Tribunal will consider the matter under three heads. First, the
         relevant law. Secondly, the factual background to the arbitration
         agreement and the light it may throw upon the intentions of the parties.
         Thirdly, the conduct of the parties during the course of the arbitration.


                                        B.       TheLaw


     4. The arbitration arises out of a Gas Supply and Processing Agreement
         ("GSPA") dated 11 January 2010 made between The Ministry of
         Petroleum Resources of the Federal Republic ofNigeria ("the
         Government") and Process and Industrial Developments Limited
         ("P&ID"), a company incorporated in the British Virgin Islands. The
         relevant parts of article 20 provided as follows:


               "The Agreement shall be governed by, and construed in
               accordance with the laws of the Federal Republic of Nigeria.



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              The Parties agree that if any difference or dispute arises
              between them concerning the interpretation or performance
              of this Agreement and if they fail to settle such difference or
              dispute amicably, then a Party may serve on the other a
              notice of arbitration under the rules of the Nigerian
              Arbitration and Conciliation Act 1988 which, except as
              otherwise provided herein, shall apply to any dispute
              between such Parties under this Agreement .. ..Within thirty
              (30) days of the notice of arbitration being issued by the
              initiating Party, the Parties shall each appoint an arbitrator
              and the arbitrators thus appointed by the Parties shall within
              fifteen ( 15) days from the date the last arbitrator was
              appointed appoint a third arbitrator to complete the
              Tribunal. .. The arbitration award shall be final and binding
              upon the Parties. The award shall be delivered within two
              months after the appointment of the third arbitrator or within
              such extended period as may be agreed by the Parties ....
              The venue of the arbitration shall be London, England or
              otherwise as agreed by the Parties. The arbitration
              proceedings and record shall be in the English language ... "



     5. As the GSPA (including article 20 itself) is to be construed in
        accordance with the laws of the Federal Republic of Nigeria, the Tribunal
        considers that the meaning of words "the venue of the arbitration shall be
        London, England" must be construed in accordance with Nigerian law.
        The relevant provision is section 16 of the Nigerian Arbitration Act:


              16. ( 1) Unless otherwise agreed by the parties, the
              place of the arbitral proceedings shall be determined
              by the arbitral tribunal having regard to the
              circumstances of the case, including the convenience
              of the parties.

              (2) Notwithstanding the provisions of subsection (1)
              of this section and unless otherwise agreed by the
              parties, the arbitral tribunal may meet at any place it
              considers appropriate for consultation among its




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                members, for hearing witnesses, experts or the parties,
                or for the inspection of documents, goods or other
                property.

      6. It appears to the Tribunal that by stipulating that "the venue of the
         arbitration shall be London, England" the parties have agreed on the
         "place of the arbitral proceedings" within the meaning of section 16( 1)
         and that the Tribunal 's power to determine that place is excluded. The
         question is, what is the effect of the choice of London by the parties?
         The Claimant says that the effect is to make London the seat of
         arbitration and to invoke the supervisory jurisdiction of the English
         courts, to the exclusion of the Nigerian courts. The Government says
         that the effect is only to agree that, as a matter of convenience, the
         hearings shall take place in London but not to make it the seat of
         arbitration. The seat of arbitration, the Government says, is Nigeria
         because, first, the GSPA is governed by Nigerian law and secondly,
         because the parties have agreed that "except as otherwise provided
         herein" the rules of the Nigerian Arbitration and Conciliation Act 1988
         shall apply to any dispute".


     7. The Nigerian Arbitration Act is based upon the UNCITRAL Model Law,
         which has been adopted in 72 countries and was intended to create
         uniformity of law in international arbitration. One would therefore expect
         that the Nigerian legislature intended its statute to be given the same
         meaning as that of the Model Law. Article 20 of the Model Law is in
         substantially the same language as section 16 of the Nigerian Arbitration
         Act and reads as follows:

        Article 20. Place ofarbitration




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                ( 1) The parties are free to agree on the place of
                arbitration. Failing such agreement, the place of
                arbitration shall be determined by the arbitral tribunal
                having regard to the circumstances of the case,
                including the convenience of the parties.

               (2) Notwithstanding the provisions of paragraph (1) of
               this article, the arbitral tribunal may, unless otherwise
               agreed by the parties, meet at any place it considers
               appropriate for consultation among its members, for
               hearing witnesses, experts or the parties, or for
               inspection of goods, other property or documents.

      8. Likewise, article 18 of the UNCITRAL Arbitration Rules (20 I 0 revision)
         provides:

         Article 18

               ( 1) If the parties have not previous! y agreed on the
               place of arbitration, the place of arbitration shall be
               detennined by the arbitral tribunal having regard to
               the circumstances of the case. The award shall be
               deemed to have been made at the place of arbitration.

            (2) The arbitral tribunal may meet at any location it
               considers appropriate for deliberations. Unless
               otherwise agreed by the parties, the arbitral tribunal
               may also meet at any location it considers appropriate
               for any other purpose, including hearings.

      9. Each of these provisions is divided into two subsections. The first deals
         with the choice by the parties (or determination by the Tribunal) of the
         "place of arbitration" (UNCITRAL) or "place of the arbitral
         proceedings" (Nigeria). The second deals with the venue for various
         physical events which may take place during the arbitral proceedings,
         such as deliberations, witness hearings, submissions and inspections. The
         first is primarily a matter for the choice of the parties, with the Tribunal
         having a power to fix the place only if the parties have not done so. The




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         second is a matter for the discretion of the Tribunal, which can be
         exercised unless the parties have expressly excluded it.


      I 0. The general international understanding of the UNCITRAL and similar
         provisions is that the first subsection is concerned with what in English
         law is called the "seat" of the arbitration, a juridical concept of a link
         between the arbitration and a system of law, while the second is
         concerned with the various physical acts which may occur during the
         arbitration. As Redfern and Hunter Law and Practice ofInternational
         Commercial Arbitration (6th ed) at 3.56 puts it:


                   [T]he place, or 'seat', of the arbitration is not
                   merely a matter of geography. It is the territorial
                   link between the arbitration itself and the law of
                   the place in which that arbitration is legally
                   situated. When one says that London, Paris or
                   Geneva is the place of arbitration, one does not
                   refer solely to a geographical location. One means
                   that the arbitration is conducted within the
                   framework of the law of arbitration of England,
                   France or Switzerland or, to use an English
                   expression, under the curial law of the relevant
                   country. The geographical place of arbitration is
                   the factual connecting factor between that
                   arbitration law and the arbitration proper,
                   considered as a nexus of contractual and
                   procedural rights and obligations between the
                   parties and the arbitrators.



      11. Likewise Dr Peter Binder, in his Analy tical commentary to the
         UNCITRAL Arbitration Rules 2010, says of article 18 (cited above):


               It was clarified .. . by the Working Group [on the
               revision of the Rules] that the term "place" as used in



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               art.l8(1) of the Rules referred to the seat of arbitration
               which determined the law applicable to the arbitral
               procedure and court jurisdiction. Article 18(2), on the
               other hand, referred to the physical locations where
               meetings might be held.

      12. It will be noted that Redfern and Hunter use the terms "seat of
         arbitration" and "place of arbitration" interchangeably and other
         commentators also use word like "venue" and "locale". The distinction
         is not between "seat" and "place" or some other word denoting a
         geographical location. That would be to introduce fine linguistic
         distinctions. The true distinction embodied in sections 16(1) and 16(2) is
         between the place (or seat or venue) of the arbitration (or of the
         arbitration proceedings) on the one hand and the place of events in the
         arbitration on the other. Section 16( 1) of the Nigerian Arbitration Act
         provides that the parties may agree on the place ofthe arbitral
        proceedings (as a legal concept) but section 16(2) gives the Tribunal a
         discretion to hold particular events in a place other than the chosen place
        of the arbitration. Only one place can be chosen under section 16(1) to
         be the place of the arbitral proceedings as a whole, irrespective of where
         particular events may take place, whereas several places can be chosen
        under section 16(2).


      13.This is the point made by the Supreme Court of Nigeria in Nigerian
        National Petroleum Corporation v Lutin Investments Ltd (2006) 2
        NWLR (Pt.965) 506. The arbitration clause said that any reference
        should be "deemed a submission to arbitration within the [Nigerian
        Arbitration Act]" and the proceedings appear to have been in every
        respect Nigerian, but the arbitrator decided to sit in London to hear the
        evidence of a witness described as a "fugitive from justice". The Court




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         decided that he was entitled under section 16(2) to do so. Justice
         Onnoghen put the point most clearly when he said:


               "I hold the view that under our law, an arbitrator or an
               arbitral tribunal has the power and discretion to
               decide as regards where it holds its meetings, conduct
               hearings, take evidence etc. I further hold the view
               that such place as decided by the arbitrator or arbitral
               tribunal may be different from the seat of the
               arbitration except the parties expressly agree to the
               contrary in their arbitration agreement."

      14. The Court also held that the parties had not chosen the "place of the
         arbitral proceedings" under section 16(1) and that the arbitrator was
        therefore entitled to do so. However, it was not suggested that by hearing
         evidence in London the arbitrator had actually determined that England
         should be the place of arbitration for the purposes of section 16( 1). The
         Court did not regard itself as deprived of its supervisory jurisdiction and
        must therefore have assumed that the seat of arbitration was Nigeria. It
        held that the arbitrator had a discretion to sit in London by virtue of
        section 16(2) and rejected a submission that "at any place" in that
        subsection should be confined to places in Nigeria.


      15.In the opinion of the Tribunal, the parties' selection of London as "the
        venue ofthe arbitration " rather than of any particular steps (such as
        hearings) in the arbitration indicates that London was selected under
        section 16(1) as the place of the arbitration in the juridical sense,
        invoking the supervisory jurisdiction of the English court, rather than in
        relation to any particular events in the arbitration. Indeed, the parties,
        having chosen the juridical place of arbitration under section 16( 1) (or it
        having been determined by the Tribunal) have no power under section




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         16(2) to determine where hearings shall take place. That power, unless
         altogether excluded, is vested only in the Tribunal.


      16.As for the choice of the procedural rules of the Nigerian Arbitration Act,
         this cannot in the opinion of the Tribunal displace the express choice of
         the place of arbitration pursuant to section 16( 1). There is no
         inconsistency because although the choice of England as the place of
         arbitration carries with it the application of certain mandatory rules of the
         English Arbitration Act 1996 (such as the right to challenge an award in
         an English court under sections 67 and 68), section 4 of the English Act
         provides:
               (2)   The ... "non-mandatory provisions" [of the Act]
               allow the parties to make their own arrangements by
               agreement but provide rules which apply in the
               absence of such agreement.

                (5) The choice of a law other than the law of
               England and Wales or Northern Ireland as the
               applicable law in respect of a matter provided for by a
               non-mandatory provision of this Part is equivalent to
               an agreement making provision about that matter."


      17. Thus the effect of article 20 of the GSP A is that, the parties having
         chosen that England should be the place of the arbitration but that it
         should be conducted according to the Nigerian procedural rules, the
         latter apply except so far as inconsistent with the mandatory provisions of
         the English Act.


                            C. The Factual Background


      18. The GSPA was made between the Government ofNigeria and a British
         Virgin Island company which, according to the evidence of the late Mr




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         Michael Quinn, had been formed as a special purpose vehicle for the
         proposed project by a group of expatriates who had been working in the
         oil and gas industry in Nigeria for up to 30 years. It had an office in
         Nigeria. Both parties were thus in practice based in Nigeria. It is
         difficult to speculate upon the motives for the choice of London as the
         place of the arbitration proceedings but one possibility is that the parties
         agreed that a dispute between the Nigerian government and expatriate
         businessmen should be determined in a neutral jurisdiction and subject to
         the supervision of its courts.




                             D. The Conduct of the Parties


      19.The arbitration was commenced by notice of arbitration served by P&ID
         on 22 August 2012. On 19 September 2012 P&ID appointed Sir
         Anthony Evans as arbitrator. On 30 November 2012 the Government
         appointed ChiefBayo Ojo as arbitrator. On 29 January 2013 the party-
         appointed arbitrators appointed Lord Hoffmann third and presiding
         arbitrator.


      20.The parties agreed that it was not practical for the dispute to be resolved
         within time for an award to be delivered within two months of29 January
         2013 and on 9 May 2013 agreed a procedure by which P&ID was to
         serve a Statement of Claim before 28 June 2013 and the Government was
         to serve a Statement of Defence on or before 31 July 2013.




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      21. The Government did not serve a Statement of Defence by the agreed date
         but instead served on 3 October 2013 a Notice of Preliminary Objection
         disputing the jurisdiction of the Tribunal and the validity of the GSPA.
         On 11 October 2013 P&ID' s lawyers wrote to the Government's
         lawyers:


               "Although our client considers the points raised in the
               Respondent's Preliminary Objection to be
               misconceived and devoid of merit, it considers that
               they should be determined as soon as possible.
               Therefore we invite you to agree that the issues raised
               be ruled upon by the Tribunal pursuant to Section
               31 (4) of the Arbitration Act 1996 ("the 1996 Act"),
               which provides that if the parties agree that the
               Tribunal should rule upon its own jurisdiction in an
               award as to jurisdiction, then the Tribunal shall
               proceed accordingly."

      22. On 14 October 2013 the Government' s lawyers replied:


              "The Respondent responds to your said latter as
              follows;
            • The Respondent accepts the Claimant's request that
              the tribunal should rule on its own jurisdiction in an
              award as to jurisdiction; and
            • The Respondent will be proceeding as contemplated
              by the parties under the Nigerian Arbitration and
              Conciliation Act, Cap A18 LFN 2004.

      23. On 24 October 2013 P&ID's lawyers replied:


               The parties appear to be in agreement that the
               Arbitral Tribunal should rule on its own jurisdiction
               in an award as to jurisdiction. For the avoidance of
               doubt, we referred to Section 31 (4) of the
               Arbitration Act I996 in our letter of II October
               20 I3 because it is one of the Mandatory provisions



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               of the 1996 Act, and the juridical seat of this
               arbitration is London. However, and for the further
               avoidance of doubt, we acknowledge that the parties
               have agreed to arbitrate "under the rules of the
               Nigerian Arbitration and Conciliation Act", and we
               therefore accept that the rules governing the internal
               procedure of the arbitration are those to be found in
               the Nigerian Arbitration and Conciliation Act 2004,
               principally in the rules set out in the First Schedule
               thereto ("the Nigerian Arbitration Rules") , but also
               in sections 14 to 23 inclusive of the 2004 act, headed
               "Conduct of Arbitral Proceedings". In this regard
               we note that Article 21 of the Nigerian Arbitration
               Rules provides that the Arbitral Tribunal shall have
               the power to rule on an objection that it has no
               jurisdiction, including any objections with respect to
               the existence of validity of the arbitration clause or
               of a separate arbitration agreement.

      24.There was no contradiction by the Government's lawyers of this
         statement.


      25.After arranging for an oral hearing which was cancelled because the
         Government notified the Tribunal that it would not appear, and having
         regard to the uncontradicted expert evidence of Justice S.M.A Belgore,
         the Tribunal on 3 July 2014 delivered a Part Final Award by which it
         dismissed the objections. In accordance with section 26(3)(c) of the
         Nigerian Arbitration Act, which requires that an award state "the place
         of the arbitration as agreed or determined under section 16( 1) of this
         Act", the award stated that the place of arbitration was London. (The
         equivalent English provision in section 52(5) of the Arbitration Act 1996,
         which requires an award to state the "seat of arbitration", is not one of the
         mandatory provisions listed in Schedule 1 to the Act).




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      26.0n 21 July 2014 the Tribunal issued Procedural Order No 5 directing the
         Government to serve its Statement ofDefence by 19 September 2014.
         On 10 November 2014, no Statement of Defence having been served,
         P&ID applied to the Tribunal to make a peremptory order in the form of
         a draft headed "In the matter of the [English] Arbitration Act 1996." The
         power to make such an order (which enables the court to enforce an order
         of the Tribunal with which a party has failed to comply) is contained in
         section 42 of the 1996 Act, which by section 2 applies only "where the
         seat of the arbitration is in England and Wales or Northern Ireland."


      27.0n 13 November 2014 the Government wrote to the Tribunal asking for
         P&ID's application to be suspended to enable settlement talks to take
         place and proposing a meeting in Abuja. On 14 November 2014 P&ID's
         solicitors replied agreeing to talks but saying "May we suggest. .. and
         given that this is a London seat arbitration, that we meet in London
         instead of Ahuja." There was no contradiction of this statement and the
         parties afterwards met in London.


      28.Nothing came of the settlement negotiations and on 16 February 2015 the
        Tribunal, upon the application of P&ID, made a peremptory order
         pursuant to section 42 of the Arbitration Act 1996, directing the
         Government to serve its Statement of Defence by 27 February 2015.


      29.0n 27 February 2015 the Government served a Statement of Defence.


      30.0n 1 July 2015 the Tribunal held an oral hearing in London and on 12
         June 2015 the Government served a Final Submission in writing.




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      31 .On 17 July 2015 the Tribunal delivered a Second Partial Final Award, in
         which it held that the Government was liable in damages for a
         repudiatory breach of the GSPA. Pursuant to section 26(3)(c) of the
         Nigerian Arbitration Act, the second Partial Award stated that the place
         of arbitration was London.


      32.0n 17 August 2015 the Tribunal wrote to the parties proposing a case
         management conference on 3 September 2015 to consider procedural
         matters for the next and final phase of the arbitration, which would be to
         determine the quantum of damages payable by the Government.


      33.0n 20 August 2015 the Government's lawyers wrote to the Tribunal
         requesting that the conference be postponed to 10 September 2015 so that
         it could make settlement proposals. The Tribunal agreed.


      34.After a further request by the Government for postponement, the
         conference was fixed for 10 am London time on 28 September 2015.


     35.At 9:18am on 28 September 2015 the Government's lawyers sent the
         Tribunal an e-mail saying that as a Minister of Justice had not yet been
         appointed to the new Nigerian government, they would be "unable to
         make any major contribution to the Case Management Conference
        scheduled for today and therefore request for a postponement."


     36. On 27 October 2015 the Tribunal made Procedural Order No I 0 in the
        form of an order nisi giving the Government leave to apply to discharge
        or vary it provided such application was made before 6 November 2015.
        It directed P&ID to serve all the documents and evidence upon which it
        intended to rely for the quantum hearing by 4 December 2015 and the



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         Government to serve its documents and evidence by six weeks thereafter.
         No application to discharge or vary was made.


      37.On 23 December 2015 the Government applied to the Commercial Court
         in London for an order under section 68 of the Arbitration Act 1996,
         setting aside the second Partial Final Award. This jurisdiction is
         exercisable by the English court only if the seat of arbitration is in
         England. As the application was out of time, the Government applied for
         an extension of the time. In support of this application, it filed an
         affidavit by Ms Folakemi Adelore, explaining the delay. In paragraph
         33, he said:


               "Since receipt of the documents on 25 November
               2015, Stephenson Harwood and Leading Counsel
               have been considering the merits of the
               Applications, advising the Ministry on the same
               and preparing the Applications. The issue of
               jurisdiction of this Court and the seat of the
               Arbitration had first to be considered, in
               particular given the differing headings on the
               various procedural orders and the Part Final
               Award dated June 2014."

     38. On the 10 February 2016 Phillips J dismissed the application on the
        grounds both of delay and lack of substantive merit.


      39.0n 24 February 2016 the Government commenced its proceedings in the
        Federal High Court in Lagos.




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                                  E. Conclusion


      40.The Tribunal is of opinion that upon the true construction of article 20 of
         the GSP A the "place of the arbitral proceedings" was agreed to be in
         London and that London thereby became what in international arbitration
         is generally referred to as the seat of arbitration. Even if this were not the
         case, the Tribunal finds that in the course of the arbitration over nearly
         three years, the parties and the Tribunal have consistently acted upon the
         assumption that London was the seat of the arbitration. Arbitration is
         based upon the consent of the parties and the Tribunal considers that the
         Government must be taken to have consented to this being the correct
         construction of the GSPA.


   Place of arbitration: London


   Signed on behalf of the Tribunal:




                                     Lord Hoffmann
                                  (Presiding Arbitrator)

               26 April 20 16




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                 EXHIBIT 13




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                  IN THE FEDERAL HICH COURT OF NIGERIA
                      IN THE LACiOS JUIDICIAL DIVISION
                             HOLDEN AT LACiOS

                                         SUIT NO: FHC/L/CS/264/2016

         IN THE MATTER OF THE ARBITRATION AND CONCILIATION ACT
          CAP. A. 18 LAWS OF THE FEDERATION OF NIGERIA 2004 AND
                          THE RULES THEREUNDER
         BETWEEN:
         THE MINISTER OF PETROLEUM RESOURCES } APPLICANT
         CFor and on behalf of the Ministry of
         Petroleum Resources)

              AND

         PROCESS AND INDUSTRIAL DEVELOPMENTS} RESPONDENT
         LIMITED BVI

                                                    ORDER·

                                  (UPON      THIS    ORIGINATING    MOTION

                                    dated and filed on the 28th day of

                                    February, 2016 coming before the

                                    court and praying for the following :

                                    1.   AN ORDER enlarging the time
                                         within which the Applicant may
                                         apply to set aside the
                                         arbitration award of the
                                         tribunal on liability dated 17th
                                         July, 2015 ("the Award") in the
                                         above-mentioned arbitration
                                         proceedings.

                                    2.   AN ORDER setting aside and/or
               JA-162
                                         remitting for further
              1.
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-       • USCA
          I
               Case #18-7154    Document #1780490     Filed: 04/01/2019  Page 167 of 242

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                                                             consideration all or part of the
                                                             arbitration Award of Lord
                                                             Leonard Hoffmann, Chief Bayo
                                                             Ojo, SAN and Sir Anthony Evans
                                                             and for such further or other
                                                             orders as this Honourable court
                                                             may deem fit to make in the
                                                             circumstances.

                                                        UPON READINC the Affidavit in
                                                        support of Motion Ex-parte and the
                                                        exhibits attached herein deposed to
                                                        by Safiat Kekere-Ekun, Female,
                                                        Nigerian Citizen of 20 Marina, Lagos
                                                        state and filed at this court Registry.

                                                        AND AFTER HEARINC the submission
                                                        of Mr Olasupo Shasore SAN with
                                                        him Mr Bello Salihu, Abiodun
                                                        Anibaba Esq; 1Aina (Mrs> and     s.
                                                        Ofulume Esq. counsel for the
                                                        Applicant moved in terms of the
                                                        motion paper.

                                                        IT IS HEREBY ORDERED AS FOLLOWS:

                                                        1.   That an order is granted to the
                                                             Applicant enlarging the time
                                                             within which the Applicant may
                   [}{]@Iillo JJoo®ao©®   ~0 ~0 rnnn~        apply to set aside the
                                                             arbitration award of the
                           ~~®§o~O[fi)@ ~~~                  tribunal on liability dated 17th
                                                             July, 2015 ("the Award"> in the
                                                             above-mentioned arbitration
                            JA-163                           proceedings.
f.          Case 1:18-cv-00594-CRC Document 3-13 Filed 03/16/18 Page 4 of 4
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                                                       3


                                             2.   That an order is granted to the
                                                  Applicant setting aside and/or
                                                  remitting for further
                                                  consideration all or part of the
                                                  arbitration Award of Lord
                                                  Leonard Hoffmann, Chief Bayo
                                                  Ojo, SAN and Sir Anthony Evans
                                                  and for such further or other
                                                  orders as this Honourable court
                                                  may deem fit to make in the
                                                  circumstances.

                                             ISSUED AT LAGOS, UNDER THE seal of

                                             this Honourable court and by the
                                             Hand of the presiding Judge this
                                             24th day of May, 2016.

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                                                                         ALOKPESI C. N.
                                                                         REGISTRAR




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        EXHIBIT 14




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Matthew Armao

From:                               Leonard Hoffmann <leonard.hoffmann@brickcourt.co.uk>
Sent:                               Friday, May 27, 2016 10:52 AM
To:                                 Safiat Kekere-ekun; 'Sir Anthony Evans'; cabayoojo@aol.com; Seamus Andrew
Cc:                                 'Olasupo Shasore'; Kate Trott; 'Lateefat Hakeem-Bakare'; abiodun.anibaba@tmsllp.com
Subject:                            Re: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS
                                    LIMITED AND MINISTRY OF PETROLEUM RESOURCES OF NIGERIA


Dear colleagues


The Tribunal thanks Mr Kekere‐Ekun for his notification of the order of the Federal High Court on 24 May 2016. As the parties
will be aware from Procedural Order No 12, the Tribunal has decided that the seat of the arbitration is in England. It follows
that the Federal High Court had no jurisdiction to set aside its award.

The Tribunal will therefore be proceeding with the reference and would be grateful if the Respondent would indicate whether
it intends to take part in the proceedings. It wishes to issue a Procedural Order for the further conduct of the arbitration and
would therefore wish to have the Respondent state its position before Friday 3 June 2016.

Yours sincerely

Leonard Hoffmann
(Presiding Arbitrator).

From: "safiat.kekere‐ekun@tmsllp.com" <safiat.kekere‐ekun@tmsllp.com>
Date: Friday, 27 May 2016 at 15:00
To: Leonard Hoffmann <leonard.hoffmann@brickcourt.co.uk>, "AEvans@essexcourt.net" <AEvans@essexcourt.net>,
"cabayoojo@aol.com" <cabayoojo@aol.com>, 'Seamus Andrew' <seamus.andrew@scaontier.com>
Cc: 'Olasupo Shasore' <os@shasore.com>, Kate Trott <kate.trott@brickcourt.co.uk>, Lateefat Hakeem‐Bakare
<lateefat.hakeem‐bakare@tmsllp.com>, "abiodun.anibaba@tmsllp.com" <abiodun.anibaba@tmsllp.com>
Subject: RE: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS LIMITED AND MINISTRY OF
PETROLEUM RESOURCES OF NIGERIA

Dear Sirs,

This is to notify you that the award of the Tribunal on liability dated 17th July 2015 has been set aside by an order of the
Federal High Court of Nigeria, Lagos Judicial Division, delivered on 24th May 2016 (“the Order”).

Please find attached a certified copy of the Order.

Kind regards,
Safiat
Safiat Kekere‐Ekun
Associate
Twenty Marina Solicitors LLP
2nd Floor, Sterling Towers
20 Marina
Lagos, Nigeria
Tel: +234 1 2912225
Fax: +234 1 2719882
                                                               1
                          JA-166
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        EXHIBIT 15




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Matthew Armao

From:                              Lateefat Hakeem-Bakare <lateefat.hakeem-bakare@tmsllp.com>
Sent:                              Tuesday, June 21, 2016 1:16 PM
To:                                'Leonard Hoffmann'; cabayoojo@aol.com; 'Sir Anthony Evans'; Seamus Andrew; 'Kate
                                   Trott'
Cc:                                'Olasupo Shasore'; bello.salihu@tmsllp.com; safiat.kekere-ekun@tmsllp.com;
                                   abiodun.anibaba@tmsllp.com
Subject:                           Re: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS
                                   LIMITED AND MINISTRY OF PETROLEUM RESOURCES OF NIGERIA


Dear Tribunal,

We write further to your e‐mail below in respect of the above arbitration.

We have received confirmation from the Ministry of its intention to participate in the damages phase of the arbitration
while maintaining its position on the award on liability. The Ministry has also conformed to us that it is in the process of
finalizing instructions to BDO LLP (Forensic Services), as experts, for this purpose.

Yours sincerely,

Lateefat Hakeem‐Bakare
Associate
Twenty Marina Solicitors LLP
2nd Floor, Sterling Towers
20 Marina
Lagos, Nigeria
Tel: +234 1 2719368‐9
Fax: +234 1 2719882
+234 1 4622686
E‐mail: lateefat.hakeem‐bakare@tmsllp.com




From: Leonard Hoffmann [mailto:leonard.hoffmann@brickcourt.co.uk]
Sent: 09 June 2016 15:45
To: Lateefat Hakeem‐Bakare ; cabayoojo@aol.com; 'Sir Anthony Evans' ; 'Seamus Andrew' ; Kate Trott
Cc: 'Olasupo Shasore' ; bello.salihu@tmsllp.com; safiat.kekere‐ekun@tmsllp.com; abiodun.anibaba@tmsllp.com
Subject: ***SPAM*** RE: ***SPAM*** Re: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS
DEVELOPMENTS LIMITED AND MINISTRY OF PETROLEUM RESOURCES OF NIGERIA

Dear colleagues

The Tribunal extends the time for answering its question until 22 June 2016.

Leonard Hoffmann
(Presiding Arbitrator)

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                 EXHIBIT 16




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Safiat Kekere-ekun

Subject:                      FW: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS
                              LIMITED AND MINISTRY OF PETROLEUM RESOURCES OF NIGERIA


From: Leonard Hoffmann [mailto:leonard.hoffmann@brickcourt.co.uk]
Sent: Tuesday, April19, 2016 2:57 PM
To: Seamus Andrew <seamus.andrew@scaontier.com>; 'Sir Anthony Evans' <AEvans@essexcourt.net>;
cabayoojo@aol.com
Cc: 'Oiasupo Shasore' <os@shasore.com>; Kate Trott <kate.trott@brickcourt.co.uk>; safiat.kekere-ekun@tmsllp.com;
'Abiodun Anibaba' <abiodun.anibaba@tmsllp.com>; Lateefat Hakeem-Bakare <lateefat.hakeem-bakare@tmsllp.com>
Subject: Re: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS LIMITED AND MINISTRY OF
PETROLEUM RESOURCES OF NIGERIA

Dear colleagues

The Tribunal acknowledges receipt of the e-mail below. Until now, the Tribunal has not considered that there was an issue
arising in the arbitration which required it to pronounce upon where the seat is located. It has not been invited to do so by the
Nigerian court. However, if that court were to grant an injunction affecting the arbitration, the Tribunal would of course have
to rule on the question of the seat in order to decide what effect should be given to the injunction. The e-mail below invites
the Tribunal to give such a ruling in advance of any decision in Nigeria. The members of the Tribunal will consult on whether it
would be appropriate to do so.

Yours sincerely

Leonard Hoffmann
(Presiding Arbitrator)


From: Seamus Andrew <seamus.andrew@scaontier.com>
Date: Tuesday, 19 April 2016 at 13:25
To: Leonard Hoffmann <leonard.hoffmann@brickcourt.co.uk>, "AEvans@essexcourt.net" <AEvans@essexcourt.net>,
"cabayoojo@aol.com" <cabayoojo@aol.com>
Cc: 'Oiasupo Shasore' <os@shasore.com>, Kate Trott <kate.trott@brickcourt.co.uk>, "safiat.kekere-ekun@tmsllp.com"
<safiat.kekere-ekun@tmsllp.com>, 'Abiodun Anibaba' <abiodun.anibaba@tmsllp.com>, Lateefat Hakeem-Bakare
<lateefat.hakeem-bakare@tmsllp.com>
Subject: RE: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS LIMITED AND MINISTRY OF
PETROLEUM RESOURCES OF NIGERIA

Dear Members of the Tribunal

As the Tribunal is aware, the Respondent has brought proceedings in the courts of Nigeria seeking to have the
Award dated 17 July 2015 ("the Liability Award") set aside for procedural misconduct (notwithstanding that it
has already made such an application, unsuccessfully, before the English courts). It has also applied for an
anti-arbitration injunction enjoining itself and the Claimant (but not the Tribunal) from taking any further
steps in the arbitration. Both of these applications have been brought, necessarily, on the express basis that the
seat of the arbitration is Nigeria, and that Nigeria is therefore the supervisory court for this arbitration.

As the Tribunal is also aware, the Ministry's substantive proceedings are set down for hearing in Nigeria
tomorrow,    20 April 2016.

Although we pointed out in our email of 1 April 2016 that the Claimant did not know if the Ministry intended to
seek its final relief at the hearing on 20 April 2016, we note that no clarification on this point has been

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     USCA Case
forthcoming       #18-7154
            from the             Document #1780490
                     Ministry's representatives   and we thereforeFiled:
                                                                   assume04/01/2019      Page
                                                                           that the Ministry    175 of
                                                                                             intends to 242
                                                                                                        argue
tomorrow for an order setting aside the Liability Award.
   •
In the circumstances it is respectfully submitted that the matter of an express ruling as to the seat by the
Trjbunal is now especially urgent. Although any order of the Nigerian Court would be ineffective if the seat of
the arbitration is London, as the Claimant has submitted, the actions of the Ministry are designed to
undermine the integrity of the arbitral process and amount to a serious breach of the Ministry's obligation to
participate in the arbitration in good faith. The parties agreed to the incorporation of the Nigerian Arbitration
Rules, which expressly provide for the Tribunal, rather than a national court, to determine the issue of seat
where it has not been otherwise agreed by the parties. The Ministry's application for injunctive relief is in direct
contravention of the agreed Arbitration Rules.

In the circumstances, we would be most grateful for a prompt ruling from the Tribunal in relation to the issue
of the seat of the arbitration or, alternatively, an indication as to when the Tribunal's ruling on the issue of the
seat of the arbitration is likely to be made.

We look forward to hearing from the Tribunal.

Yours faithfully

Seamus Andrew
Managing Partner

SCA ONTIER LLP
One New Ludgate, 6o Ludgate Hill, London, EC4M 7AW, United Kingdom
DX248 London/Chancery Lane
Tel +44 (o) 20 7183 1701 I Fax+44 (o) 20 7183 1702 I Mobile +44 (o) 771733 0708


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·VENEZUELA




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•
                           IN THE FEDERAL HICH COURT OF NICERIA
                               IN THE LACOS JUIDICIAL DIVISION
                                      HOLDEN AT LACOS

            IN THE MATTER OF THE ARBITRATION AND CONCILIATION ACT
           CAP. A.18 LAWS OF THE FEDERATION OF NICERIA 2004 AND THE
                               RULES THEREUNDER

                                                 SUIT NO: FHC/L/CS/264/2016

           BETWEEN:
           THE MINISTER OF PETROLEUM RESOURCES
           lFor and on behalf of the Ministry of
           Petroleum Resources)
                                                            }     AP~LICANT
                 AND

           PROCESS AND INDUSTR;AL DEVELOPMENTSL RESPONDENT
           LIMITED BVI                                     _f


                                                ORDER

                                         UPON THIS MOTION ON NOTICE dated

                                         and filed on the   sth   day of April, 2016

                                         coming before the court and praying

                                         as follows:

                                         {1)   AN ORDER restraining the parties
                                               in this suit whether by themselves
                                               or through their agents, servants,
              818AVO- TeYEEN
                                               privies, assigns, representatives or
           CE"TIF'IED lRUE COPY.
           PRhtiPA\ t XEtU WE OFFtCfR
                                               anybody whatsoever from
           FEDERAL HIGH COURT           \.~
                  LAGOS                 ~




                       •




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                                                     2




                                                seeking and or continuing with
.                                               any step, action and or participate
                                                directly or indirectly in the
                                                arbitral proceedings between the
                                                parties before: Lord Leonard
                                                Hoffmann ("Presiding
                                                Arbitrator"), Sir Anthony EVans,
                                                And Chief Bayo O]o, SAN pending
                                                the hearing and determination of
                                                this suit.

                                          (2)   AND SUCH FURTHER AND/OR
                                                OTHER ORDER($) as this
                                                Honourable court may deem fit to
                                                make in the circumstances.

                                          UPON READINO through the Affidavit

                                          in support deposed to bY safiat

                                          Kekere-Ekun, Female, Nigerian Citizen

                                          of 20 Marina, Lagos state and filed at
                                                                .
                                          this court Registry.

                                          AND AFTER HEARING the submission of

                                          Mr    o.   Sasore SAN with him are MISs.

                                          Kekere-Ekun and Ani-Baba counsel for
            ADEBAY      _    YEEN
          CERTIF"IE    lAUE copy·
          NH f.IPAll XECU 11/E OFFICER    the Applicant moved in terms of the
          FL!ERAL HIGH COUBT
                 LAG 0 S                   motion paper.




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                                           IT IS HEREBY ORDERED AS FOLLOWS:

                                           (1)    That an order is granted to the
                                                  Applicant restraining the parties
                                                  In this suit whether by themselves
                                                  or through their agents, servants,
                                                  privies, assigns, representatives or
                                                  anybody whatsoever from
                                                  seeking and or continuing with
                                                  any step, action and or participate
                                                  directly or Indirectly in the
                                                  arbitral proceedings between the
                                                  parties before: Lord Leonard
                                                  Hoffmann ("Presiding
                                                  Arbitrator">, Sir Anthony evans,
    ·_. -A~IIAVO .. "''Oftd                       And Chief Bayo Ojo, SAN pending
    . t~RTlFIEO TRUE C09Y                         the hearing and determination of
     \ P8l~CIPA\ EXEC\lT\VE OffiiEB               the Motion on Notice dated

    I. FEDERAL. HiGH CO\/lB'\1'
               &.AGO~
                ..
                                            (21
                                                  5/4/2016.

                                                  The case is adjourned to 23/5/2016.

     r----~------·-----..
         At<:::F.tVf'! .   '?'B\'"~~M      ISSUED AT LACOS, UNDER THE seal of
      C!:R"r'"i:Q ·:<IJE • "'(;·
      PRIIIIC!F'Il, X:iJ ;·,;: OHI
                                           this Honourable court and by the Hand
      FEDER": t..: ~r1 ...~,~              of the presiding Judge this 20th day of
               '. A ·,. •..) S
                                           April, 2016.



                                                            ALOKPESI C. N.
                                                            REGISTRAR




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S!!,fiat Kekere-ekun
  .
Subject:                  FW: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS
                          LIMITED AND MINISTRY OF PETROLEUM RESOURCES OF NIGERIA
Atlachments:              P & ID Vs Min of Petroleum Resources - Proceedings at The Federal High Co ... (257 KB)


From: Seamus Andrew [mailto:seamus.andrew@scaontier.com]
Sent: Thursday, April 21, 2016 3:29 PM
To: 'leonard Hoffmann' <leonard.hoffmann@brickcourt.co.uk>; 'Sir Anthony Evans' <AEvans@essexcourt.net>;
ca bayoojo@aol.com
Cc: 'Oiasupo Shasore' <os@shasore.com>; safiat.kekere-ekun@tmsllp.com; abiodun.anibaba@tmsllp.com; lateefat
Hakeem-Ba ka re <lateefat.ha keem-ba kare@tmsllp.com>
Subject: RE: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS LIMITED AND MINISTRY OF
PETROLEUM RESOURCES OF NIGERIA

Dear Members of the Tribunal,

We refer to the email below from Twenty Marina Solicitors LLP on behalf of the Ministry notifying the Tribunal
of yesterday's Order of the Federal High Court of Nigeria, Lagos Judicial Division.

The Claimant has not been served with a copy of the Order but is aware that it was made by reason of the attached
report from the Claimant's Nigerian counsel, who was present in Court in possession of a watching brief with
instructions not to participate in any way in the proceedings. All of the Claimant's rights in relation to the
injunction are reserved.

We note from the attached report that, contrary to the Tribunal's direction of Tuesday 19 April2016, it appears
that the Ministry's representatives did not inform the Nigerian Court that the Arbitral Tribunal was willing to
rule upon the question of the seat of arbitration if the Nigerian Court were to consider it appropriate to request
such a ruling. Nor did Mr. Shasore draw to the attention of the Nigerian Court the Claimant's email of 15 April
2016 in which we had set out, inter alia, the reasons why the Claimant regarded the Ministry's application for
injunctive relief to be misleading. It would also appear that the Nigerian Court was not informed of the decision
of Mr Justice Phillips of 10 February 2016.

We note also from the attached report that in addition to moving for injunctive relief, the Ministry's
representatives asked the Nigerian Court to hear the Ministry's substantive application which seeks an Order
setting aside and/or remitting for further consideration all or part of the Liability Award of 17 July 2015 and an
extension of time in which to make that application. As stated in the attached report, the Nigerian Court declined
to hear the substantive application immediately but instead adjourned it to 23 May 2016 for hearing.

In the circumstances, and given the Tribunal's indication ofTuesday, we would be grateful if the Tribunal would
confirm that a ruling will now be made on the question of seat. If so, it would also assist the Claimant to know if
that ruling is likely to be made prior to 23 May 2016.

Yours sincerely

Seamus Andrew
Managing Partner

SCA ONTIER LLP
One New Ludgate, 60 Ludgate Hill, London, EC4M 7AW, United Kingdom
DX248 London/Chancery Lane
Tel +44 (o) 20 7183 1701 I Fax+44 (o) 20 7183 1702 I Mobile +44 (o) 771 733 0708


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From: Lateefat Hakeem-Bakare [mailto:lateefat.hakeem-bakare@tmsllp.com]
Sent: 21 April 2016 12:27
To: 'Leonard Hoffmann'; 'Sir Anthony Evans'; cabayoojo@aol.com
Cc: Seamus Andrew; 'Oiasupo Shasore'; safiat.kekere-ekun@tmsllp.com; abiodun.anibaba@tmsllp.com
Subject: RE: ARBITRATION BETWEEN PROCESS AND INDUSTRIAL PROCESS DEVELOPMENTS LIMITED AND MINISTRY
OF PETROLEUM RESOURCES OF NIGERIA

Dear Tribunal,

This is to notify you of the order of the Federal High Court of Nigeria, Lagos Judicial Division, delivered on 20 April1016,
granting the following reliefs:

        "an order restraining the parties in this suit, whether by themselves or through their agents, servants, privies,
        assigns, representatives or anybody whatsoever from seeking and ar continuing with any step, action and or to
        participate directly or indirectly in the arbitral proceedings between the parties before: Lord Leonard Hoffmann
        ("Presiding Arbitrator"), Sir Anthony Evans, and Chief Bayo Ojo, SAN pending the hearing and determination of
        this suit"

A certified copy of the order shall be forwarded to you in due course.

Yours faithfully,

Lateefat
Lateefat Hakeem-Bakare
Associate
Twenty Marina Solicitors LLP
2nd Floor, Sterling Towers
20 Marina
Lagos, Nigeria
                                                              2




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       EXHIBIT 17




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SAVILLE &.. CQ
 --SCRIVENER NOTARIES--

                                       KINGDOM OF ENGLA ND}
                                                                               ss
 One Carey Lane                        Cl1Y OF LONDON
 London EC2V 8AE
 Tel: +44 (0)20 7776 9800
 Fax: +44 (0)20 7776 9801             TO ALL TO WHOM THESE PRESENTS SHALL COME, I
 www savillenotaries.com              CHRISTOPHER GERARD HIGGINS of the City of London
 mail@savillenotaries com             NOTARY PUBLIC by royal authority duly admitted and sworn DO
                                      HEREBY CERTIFY the genuineness of the signature of SEAMUS
 Sophie Milburn                       RONALD ANDREW subscribed at foot of the certification
 Nicholas Thompson                    hereunto annexed, such signature having been subscribed today in
 Robert Kerss                         my presence in London, England by the said Seamus Ronald
 Andrew MacNab
                                      Andrew, whose personal identity and capacity I attest, a solicitor of
 Christopher Higgins
                                      the Senior Courts ofEngland and Wales and designated member and
 (General Notary)
                                      the managing partner of the law firm styled SCA ONTIER LLP of
                                      London, England;
 Eleonora Ceolin
 (General Notary)
 Richard Saville
                                      AND I DO FURTHER CERTIFY THAT the said SCA ONTIER
 (Consultant)                         LLP is a limited liability partnership duly organised and existing in
                                      accordance with the laws of England and Wales, registered with the
                                      Registrar of Companies for England and Wales under number
                                      OC327289 and with registered office at One New Ludgate, 60
                                      Ludgate Hill, London, EC4M 7AW, England.·

                                      IN FAITH AND TESTIMONY WHEREOF I the said notary have
                                      subscribed my name and set and affixed my seal of office at London
                                      aforesaid this fourteenth day of March two thousand and eighteen.




                                                       SCRIVENER
                                                       NOTARIES

                            JA-178   Regul~t~d by the f·aculty Office of the Archbishop of Canterbury
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                                                                       SCA242
                                                                           Ontier LLP
                                                                                                           One New Ludgate
        SCA ONTIER                                                                                                   5th Floor
                                                                                                              6o Ludgate Hill
                                                                                                         London EC4M 7AW
                                                                                                         T: +<J4(o)2o 7183 1701
                                                                                                         F: +<J4(o)2o 7183 1702
                                                                                                DX248 London/Chancery Lane
                                                                                                             www.scaontie1~com




                                          CERTIFICATION


             I, the undersigned Seamus Ronald Andrew, English solicitor and Managing Partner of
    SCA Ontier LLP, hereby certify that the attached document consisting of 34 pages is a true,
    faithful, and complete photocopy of an original Final Award dated 31 January 2017, which was
    issued and signed by a majority of the arbitral tribunal, on page 34 thereof, in an arbitration
    captioned In the Matter of the Arbitration Act 1996 (England & Wales) and In the Matter of an
    Arbitration Under the Rules of the Nigerian Arbitration and Conciliation Act (Cap A18 LFN
    2004) Between Process and Industrial Developments Limited, Claimant, and the Ministry of
    Petroleum Resources of the Federal Republic ofNigeria, Respondent. I served as counsel for the
    Claimant Process and Industrial Developments Limited in the aforesaid arbitration, and I have
    compared the attached document with an original of the Final A ward.




                Seamus Ronald Andrew
                    14 March 2018




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        IN THE MATTER OF THE ARBITRATION ACT 1996 (ENGLAND AND WALES)

        AND


        AND IN THE MATTER OF AN ARBITRATION UNDER THE RULES OF THE
        NIGERIAN ARBITRATION AND CONCILIATION ACT (CAP A18 LFN 2004)


        BETWEEN:


                   PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED

                                                                       Claimant


                                           and


                      THE MINISTRY OF PETROLEUM RESOURCES
                       OF THE FEDERAL REPUBLIC OF NIGERIA
                                                                     Respondent




                                  FINAL AWARD




                                           Tribunal:
                              Lord Hoffmann (Presiding Arbitrator)
                                         ChiefBayo Ojo
                                       Sir Anthony Evans




                                    3\   January2017




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                                       A. INTRODUCTION


             1. This Final Award is signed and issued by the majority of the Tribunal
                (Lord Hoffinann and Sir Anthony Evans). The dissenting opinion of Chief
                Bay Ojo SAN is attached.


             2. The reference arises out of a Gas Supply and Processing Agreement ("the
                GSPA") dated 11 January 2010 made between the Claimant Process and
                Industrial Development Limited ("P&ID") and the Ministry ofPetroleum
                Resources of the Federal Government of Nigeria ("the Government")
                whereby the Government agreed that for a term of 20 years it would make
                to available to P&ID 400 MMScuFD of Wet Gas and P&ID agreed to
                process the gas and return approximately 85% by volume to the
                Government in the form of Lean Gas.


             3. This is the final award in the reference, the Tribunal having previously
                issued two partial final awards. By its first Partial Final Award dated 3
                July 2014 the Tribunal ruled that it had jurisdiction and that the GSP A was
                valid and binding. By its second Partial Final Award dated 17 July 2015
                the Tribunal decided that the Government had repudiated the GSP A and
                was liable in damages to P&ID. This Final Award deals with the
                quantification of the damages for which the Government is liable.


                      B.      THE PARTIES AND THEIR LAWYERS


             4. P&ID is an engineering and project management company registered at
                Trident Chambers, P.O. Box 146, Road Town, Tortola, in the British
                Virgin Islands. It was represented by SCA ONTIER LLP of One New

                Ludgate, 60 Ludgate HilJ London EC4M 7A w:

                Contact: Mr Seamus Andrew
                Telephone +44(0) 20 7183 1701
                E-mail    seamus.andrew@scaontier.com

             5. The Government is the Ministry of Petroleum Resources of the Federal
                Government of the Federal Republic ofNigeria whose office address is


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                 11th Floor, Block D, NNPC Towers, Herbert Macaulay Way, Central
                Business District, Ahuja, Nigeria. It was represented by ChiefBolaji
                Ayorinde SAN, FCIArb, OFR of B. Ayorinde & Co, Adebayo Chambers,
                 136 Awolowo Road, Ikoyi, Lagos, Nigeria.
                Contact: ChiefBolaji Ayorinde SAN, FCIArb, OFR
                Email: chief@ayorinde-Iaw.com


                       C. GOVERNING LAW AND ARBITRATION CLAUSE


             6. Clause 20 of the GSP A, so far as relevant, provides:

                "The Agreement shall be governed by, and construed in accordance with
                the laws of the Federal Republic ofNigeria.

                The Parties agree that if any difference or dispute arises between them
                concerning the interpretation or performance of this Agreement and if they
                fail to settle such difference or dispute amicably, then a Party may serve
                on the other a notice of arbitration under the rules of the Nigerian
                Arbitration and Conciliation Act (Cap Al8 LFN 2004) which, except as
                otherwise provided herein, shall apply to any dispute between such Parties
                under this Agreement. Within thirty (30) days of the notice of arbitration
                being issued by the initiating Party, the Parties shall each appoint an
                arbitrator and the arbitrators thus appointed by the Parties shall within
                fifteen (15) days from the date the last arbitrator was appointed, appoint a
                third arbitrator to complete the tribunal ...

                The arbitration award shall be final and binding upon the Parties. The
                award shall be delivered within two months after the appointment of the
                third arbitrator or within such extended period as may be agreed by the
                Parties. The costs of the arbitration shall be borne equally by the Parties.
                Each party shall, however, bear its own lawyers' fees.

                The venue of the arbitration shall be London, England or otherwise as
                agreed by the Parties. The arbitration proceedings and record shall be in
                the English language ... "

             7. By Procedural Order No 12 dated 26 April2016 the Tribunal ruled that the
                seat of arbitration was London, England.




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                                       D. PROCEDURAL HISTORY


              8. The procedural history of the reference up to the issue of the second Partial
                 Award will be found in the first and second Partial Final Awards.


             9. On 17 August 2015 the Tribunal wrote to the parties proposing a case
                 management conference on 3 September 2015 to consider procedural
                 matters for the next and final phase of the arbitration, which would be to
                 detennine the quantum of damages payable by the Govenunent.


              I 0. On 20 August 2015 the Government's then lawyers wrote to the Tribunal
                 requesting that the conference be postponed to l 0 September 2015 so that
                 it could make settlement proposals. The Tribunal agreed.


             11. After a further request by the Government for postponement, the
                 conference was fixed for 10 am London time on 28 September 2015.


             12. At 9:18am on 28 September 2015 the Government's lawyers sent the
                 Tribunal an e-mail saying that as a Minister of Justice had not yet been
                 appointed to the new Nigerian government, they would be "unable to
                 make any major contribution to the Case Management Conference
                 scheduled for today and therefore request for a postponement."


             13. On 27 October 2015 the Tribunal made Procedural Order No 10 in the
                 fonn of an order nisi giving the Government leave to apply to discharge or
                 vary it provided such application was made before 6 November 2015. It
                 directed P&ID to serve all the documents and evidence upon which it
                 intended to rei y for the quantum hearing by 4 December 2015 and the
                 Government to serve its documents and evidence by six weeks thereafter.
                 No application to discharge or vary was made.


             14. Pursuant to Procedural Order No 10, on 4 December 2015 P&ID served
                 the expert reports of Andrew Caldwell, Simon Ede, Anthony Melling and
                 Bradley Wolf of the Berkeley Research Group ("BRG").


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              15. On 21 December 2015 the Respondent applied to the Tribunal to vary
                 Procedural Order No 10 by requiring the Claimant to serve a written
                 statement of its case on quantum and extending the Respondent's time for
                 serving its evidence.


              16. On 23 December 2015 the Government applied to the High Court of
                 Justice in London (the Commercial Court) for an order under the
                 Arbitration Act 1996 setting aside the second Partial Final Award.


              17. On 7 January 2016 the Respondent submitted a draft Procedural Order No
                 11, which provided that the Claimant should serve a written statement of
                 its case by 12 February 2016 and that the Respondent serve a statement of
                 its case and the evidence and documents upon which it relied by 11 March
                 2012.


             18. On 8 January 2016 the Claimant agreed to the Respondent's proposed
                 timetable and on 18 January 2016 the Tribunal confirmed it as Procedural
                 OrderNo 11.


             19. On 10 February 2016 Mr Justice Phillips, sitting in the High Court of
                 Justice in London, dismissed the Government's application to set aside the
                 second Partial Final Award.


             20. On 7 March 2016 the Respondent applied for a further extension of its
                 time to submit its statement of case and evidence until the first week in
                 June 2016.


             21. On 16 March 2016 the Tribunal extended the Respondent's time for
                 service of its statement of case and evidence until 8 April 2016.


             22. By Procedural Order No 13 dated 24 June 2016 the Tribunal fixed a
                 hearing of the determination of damages in London on 22nd.24th July and
                 gave directions for the service of evidence and submissions.


                                                 5


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             23. On 191h July 2016 the Tribunal postponed the hearing until 30-31 August
                 2016 and the parties agreed consequential changes in the earlier procedural
                 steps.


             24. On 12 August 2016 the Government served an expert report by Upstream
                 Commercial Advisory Limited ("Upstream").


             25. On 19 August 2016 P&ID served a reply report from BRG.


             26. On 22 August 2012 P&ID served written submissions.


             27. On 24 August 2016 the Government served written submissions.


             28. On 30 and 31 August 2016 the Tribunal held a hearing at the International
                Dispute Resolution Centre, 70 Fleet Street, London EC4Y lEU. The
                parties were represented as above. Mr Seamus Andrew and Chief
                Ayorinde made oral submissions and Andrew Caldwell, Simon Ede,
                Anthony Melling and Bradley Wolf of BRG and Ade Dare of Upstream
                were cross-examined.


                                  E.   THE FINDINGS ON LIABILITY


             29. Before considering the quantification of the Government's liability, it is
                necessary to be clear about the findings made by the Tribunal in its second
                Partial Final Award. The evidence for P&ID at that stage consisted of a
                statement by Mr Michael Quinn dated 10 February 2014, the then
                chairman ofP&ID, who died before the hearing on 1 June 2015. He gave
                account of what had happened after the signature of the GSP A:


                    "1 02. The day after the signing of the GSP A, on 12 January
                    2010, I wrote to the Minister on behalf of P&ID to inform
                    him that P&ID wished to commence work at once ...




                                                 6


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                     I 03 I was keen to implement the GSP A as soon as possible ... I
                    wished to minimise any delay which might be caused by
                    the operators of the 2 concessions that had been identified as
                    likely sources of Wet Gas for the project. P&ID required from
                    the Government certain up to date information which would be
                    critical to the construction of the gas processing facility which
                    P&ID would be building in Calabar to strip the Wet Gas.
                    For instance, the precise make-up of the Wet Gas (which
                    was also relevant to the Government's contractual obligations to
                    supply Wet Gas with a minimum propane and butane content)
                    and the pressure at which it would be delivered into the
                    gas pipeline which would transport it to Calabar ...

                    109 In the meantime, the site for the onshore plant at Calabar
                    for the construction of the gas stripping plant and gas storage
                    facilities had been selected by P&ID and secured from the
                    Government of Cross River State. On I February 2010
                    Mr Hitchcock wrote to the Governor of Calabar requesting the
                    formal allocation of the land upon which the plant would be
                    constructed ... On 16 February 2010 approval was granted, by
                    the Government of Cross River State, to P&ID, for the
                    allocation of Parcels 1 & 2 of the Energy City (Industrial) at
                    Adiabo in Odukpani Local Government Area, containing an
                    area of about 50.662 hectares of land, for the industrial use of
                    P&ID.

                    110 On 14 May 2010, I wrote to NNPC to update it on
                    the progress made by P&ID. I pointed out that all of the
                    project finance was in place, 90% of the engineering designs
                    had been completed, a 50 hectare site had been allocated
                    to P&ID by the Cross Rivers State Government, and that
                    Addax Petroleum had confirmed to the DPR its readiness to
                    supply to P&ID the Wet Gas that it was at that time flaring in
                    OML 123 in time for Phase 1 of the Project as set out in
                    the GSPA. I asked the Group Managing Director ofNNPC to
                    authorise NAPIMS to oversee and conclude the necessary
                    arrangements between P&ID and Addax, by which I
                    meant the engineering logistics of delivery of the Wet Gas for
                    Phase I from Addax, to enable work to proceed on the gas
                    processing facility."

             30. The Government did not thereafter do anything to comply with its
                obligation under Article 6 b) of the GSP A to-


                    "ensure that all necessary pipelines and associated
                    infrastructures are installed and all requisite arrangements with
                    agencies and/or third party are in place to ensure that supply
                    and delivery of Wet Gas in accordance with Article 3 so as to


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                     facilitate the timely implementation of gas processing by the
                     GPFs [gas processing facilities to be constructed by P&ID] as
                     provided for in this Agreement."

             31. The Government's obligation under Article 3 c. was to make available 400
                 MMSCuFD Wet Gas at the P&ID Calabar site boundary. By Appendix A
                 it undertook to deliver a continuous supply of 150 MMSCuFD by the last
                 quarter of 2011 and the remaining 250 MMSCuFD by the third quarter of
                 2012.


             32. There followed discussions about the implementation of the Government's
                 obligations but nothing came of them. The Government has never
                 performed any of its obligations under Article 6 b). A compromise
                 solution involving a possible variation of the GSPA was discussed but
                these negotiations were broken offin August 2012. P&ID served a
                Request for Arbitration but did not at that stage tenninate the P&ID. On
                 20 March 2013 P&ID wrote to the Government saying that it treated the
                Government's continued failure to perform its obligations as a repudiation
                of the GSP A and accepted it as such ..


             33. By Procedural Order No 9 dated 6 May 2015 the Tribunal directed that the
                proceedings should be bifurcated and that there should first be a hearing
                on the question of liability and thereafter, ifP&ID were successful, a
                hearing on damages. It directed the Government to serve "a statement of
                any primary facts alleged in the evidence of Mr Michael Quinn which are
                challenged and any other facts alleged to be relevant to the question of
                liability."


             34. On 12 May 2015 the Government served a statement of the facts in Mr
                Quinn's statement which it challenged. None of them were the facts
                recited in paragraph 29 above. P&ID elected not to put in any further
                evidence and not to rely upon any of the challenged matters so far as they
                were denials of facts.


             35. In its Part Final Award dated 17 July 2015 the Tribunal dealt with a


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                     number of defences raised on the part of the Government which are not
                     now relevant. However, a good deal of attention was given in submissions
                     to the fact that P&ID had not actually acquired ownership of the
                     designated site or built any of the gas processing facilities. The written
                     submissions of Mr Olapo Shashore, then counsel for the Government,
                     submitted that the failure ofP&ID to acquire the site and build the GPFs
                     was a "fundamental breach" and that no gas could be delivered until this
                     had been done. 1


                36. The Tribunal's finding on this point was that the Governments obligations
                     under Article 6 b) were not conditional upon P&ID having constructed the
                     GPFs: 2


                         "It would have been commercially absurd for P&ID to go to the
                         expense ofbuilding GPFs when the Government had done
                         nothing to make arrangements for the supply of the Wet Gas."

                37. Mr Shashore also advanced a modified version of this argument, saying
                     that P&ID should at least have acquired a site so as to enable the
                     Government to identify the "site boundary" to which the Wet Gas should
                     be delivered. The Tribunal said that this took the matter no further than
                     the first version of the argument: 3


                         "Of course the Government could not actually deliver gas until
                         there was a Site and, as we have said, until there was a plant to
                         receive it. But that does not excuse the Government's failure to
                         comply with 6 b). There is no suggestion that its failure to
                         comply with these obligations was caused by uncertainty as to
                         where the Site was going to be. It was assumed by everyone
                         that it would be on the land allocated in Calabar."

                38. After dismissing the other defences, the Tribunal found that the
                     Government had repudiated its obligations under the GSPA and that P&ID
                    had been entitled to accept the repudiation and claim damages for breach.


       1 Written submissions, 28 I\Iay 2015, paragraphs 17-36.
       2 Second Part Final Award paragraph 64.
       3 Paragraph 66.




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                         F.      REPUDIATION AND ITS CONSEQUENCES


                39. The effect of the acceptance by one party ofthe other party's repudiation
                    is that the primary obligations of both parties (on the one hand, to supply
                    gas, on the other, to process it) are discharged and come to an end. But the
                    contract "remains alive for the awarding of damages either for previous
                    breaches or for the breach which constitutes the repudiation." 4 Thus any
                    obligations which P&ID had to buy the site, build the GPFs, etc. came to
                    an end when the repudiation was accepted. There is no claim that either
                    party committed any breach before the Government's repudiation. The
                    present question therefore is only the damage suffered by P&ID by reason
                    of the Government' s refusal to perform the contract.




                                             G. MEASURE OF DAMAGES


                40. The damage suffered by P&ID is the loss of the net income it would have
                    received if it had been supplied with wet gas in accordance with the
                    contract and had been able to extract and sell the natural gas liquids. The
                    first question is whether this kind of loss is in principle recoverable or
                    whether it is too remote. The parties are agreed 5 that the general rule for
                    answering this question is that formulated by Alderson B in Hadley v
                    Baxendale: 6
                              "[T]he damages which the other party ought to receive in
                              respect of such breach of contract should be such as may
                              fairly and reasonably be considered either arising naturally,
                              i.e., according to the usual course of things, from such
                              breach of contract itself, or such as may reasonably be
                              supposed to have been in the contemplation of both parties,
                              at the time they made the contract, as the probable result of
                              the breach of it.

               41. Loss which does not fall within either of these two branches of the rule is


       4 Lord \X'right in HI!Jlllall 11 Darwilu Ltd [1942] AC 356, 3 79.
       5 Claimant's written submissions of 22 August 2016, paragraph 18.2; Government's written submissions of
       24 August 2016, paragraph 1.2.
       6 (1854) 9 Ex. 341,




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                       usually considered too remote.


                  42. The Government submitted that the loss of income from sale ofthe natural
                       gas liquids could not be considered to arise naturally from its repudiation
                       of the contract because at that time P&ID had not acquired a site or
                       constructed the GPFs. The point is put with great clarity at the outset of its
                       written submissions:


                            "In order to put the Claimant's argument in the right
                            perspective, it is important to consider this pertinent question
                            which flows from the Claimant's position above. Can the
                            damages in the sum of $8.627 billion dollars as claimed by the
                            Claimant be regarded as a fair, reasonable and natural
                            consequence ofthe Respondent' s breach? We shall answer in
                            the negative. This is based on the premise that it is not natural
                            and in the usual course of things for the Claimant to make such
                            profit without taking any steps towards the actualization of the
                            contract such as building a gas facility or purchasing the land
                            allotted to it."

                  43 . In other words, the Govenunent submits that damages should be
                       calculated on the assumption that even if the Government had performed
                       its obligations, P&JD would not have done anything more. It would not
                       have acquired the site or built the gas facility. The fact that P&ID had not
                       done so before the repudiation is a constant theme of the Government's
                       submissions. 7


                  44. The Tribunal considers that this submission is wrong in law. If one party
                       (D) repudiates a contract, the other party (C) is entitled to accept the
                       repudiation and sue for damages. The measure of damages is the sum
                       required to put C in the position in which he would have been ifD had
                       performed his obligations under the contract. For this purpose it is
                       necessary to consider not only what D was obliged to do, but also whether
                       C would have performed his obligations under the contract. If he would
                       not have been able to do so, he may not be able to recover more than


        ; The point is made in the written submissions at paragraphs 1.4, 1. 9, 1.1 0, 1.11, 1.12, 1.15, 1.16, 1.17, 1.19,
        1.20, 1.21, 1.22, 1.23, 1.24, 1.26, 1.27, 1.34, 1.38, 2.4, 2.8, 2.10, 2.11, 4.9, 4.10, 4.11, 5.2 and 5.3.


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                         nominal damages for the repudiation. But the question is whether he would
                         have performed his obligations, not whether he had already done so before
                         the repudiation. The Tribunal must decide this according to the evidence,
                         the burden being upon the claimant. What would have happened is of
                         course a hypothetical question but comis and tribunals frequently have to
                         make such decisions.


                   45. These principles are clearly established in the laws ofboth Nigeria and
                         England. In Tanka v Kaduna North Local Government the Nigerian
                         Court of Appeal said:


                            "In the resolution of this issue on the assessment of damages, it
                            is very important to note that it is a fundamental principle of
                            our law on damages that in the event of a breach of any
                            contract, the Plaintiff is entitled to be placed, so far as money
                            can do it, in the same position as he would have been in, had
                            the contract been performed. See: ROBINSON V. HARMAN
                            (1848) 1 EX.850, 855 AND PIEDMOUNT PLYWOODS V.
                            GOLDEAC (NIG) LTD (1992) 8 NWLR (PT. 260) 481 AT
                            491."

                   46. The reference to Robinson v Harman was to the well-known statement by
                         Parke B:
                            "The rule of the common law is, that where a party sustains a
                            loss by reason of a breach of contract, he is, so far as money
                            can do it, to be placed in the same situation, with respect to
                            damages, as if the contract had been performed."


                   47.     In Flame SA v Glory Wealth Shipping PTE Ltcf there was a question as
                         to whether the innocent party would have performed his obligations,
                         Teare J summarized the law:
                            "The assessment of loss necessarily requires a hypothetical
                            exercise to be undertaken, namely, an assessment of what
                            would have happened had there been no repudiation. That
                            enables the true value of the rights which have been lost to be
                            assessed. The innocent party is claiming damages and
                            therefore the burden lies on that party to prove its loss. That
                            requires it to show that, had there been no repudiation, the
                            innocent party would have been able to perform his obligations
                            under the contract. [But] ... when assessing what the innocent

        8   [2014] QB 1080 at paragraph 85.


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                            party would have earned had the contract been perfonned the
                            court must assume that the party in breach has perfonned his
                            obligations."

                   48. It follows that if the evidence had showed that for some reason, even if
                       the Government was ready and willing to perfonn the contract, P&ID
                       would never have been able to acquire the site or build the plant, then it
                       would not be able to recover more than nominal damages. So, for example,
                       in North Sea Energy Holdings NVv Petroleum Authority ofThailancf the
                       buyer of a very large quantity of oil over a five year period wrongfully
                       repudiated the contract. The seller claimed as damages the huge profit it
                       would have made on the difference between the sale price and the price for
                       which it expected to be able to buy the oil in Saudi Arabia. But the judge
                       found as a fact that it would not have been able to obtain the oil from
                       Saudi Arabia to perfonn its side of the contract and awarded nominal
                       damages.


                   49. In some cases the fact that a party had not done anything by way of
                       performance of the contract for three years, as in the present case, might be
                       evidence that it was unable or did not intend to do so. But that is not the
                       case here. There was an obvious reason why P&ID had not started upon
                       performance. As the Tribunal said in its second Part Final Award -


                            "It would have been commercially absurd for P&ID to go to the
                            expense ofbuilding GPFs when the Government had done
                            nothing to make arrangements for the supply of the Wet Gas."

                   50. In fact, the evidence shows a high degree oflikelihood that if the
                       Government had been willing to perform, P&ID would have acquired the
                       site and built the plant. First, P&ID was fully prepared to acquire the land
                       and start constructing the plant. Mr Quinn says in his witness statement
                       that, starting in 2006, P&ID-


                           " ... [42] set about the necessary preparatory engineering work
                           required to construct a gas stripping plant capable of processing

        9   [1997]2 Lloyd's Rep 418; [1999]1 Lloyd's Rep 483


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                           400 MMSCuFD of Wet Gas and a polymer grade propylene
                           plant capable of producing 250,000 metric tonnes per annum of
                           polymer grade propylene .... [47] During the course of the next
                           two years, we made good progress and reached a very
                           advanced stage of the preparatory engineering work necessary
                           to implement such a project on the ground. I would estimate
                           that the total costs sunk into the preparatory work during that
                           period were in excess of $40 million ... [49] By the end of the
                           first 2 years of our work on the Project, we had put together a
                           completed engineering package ready for actual permit
                           applications, procurement and construction ... [1 02] The day
                           after the signing of the GSP A, on 12 January 20 I 0, I wrote to
                           the Minister on behalf of P&ID to inform him that P&ID
                           wished to commence work at once .. . [IIO] On 14 May 2010, I
                           wrote to NNPC to update it on the progress made by P&ID. I
                           pointed out that all of the project finance was in place, 90% of
                           the engineering designs had been completed [and] a 50 hectare
                           site had been allocated to P&ID by the Cross Rivers State
                           Government. .. "

                  51. As recorded in paragraph 33 above, the Government was directed by
                       Procedural Order No. 9 to serve notice of any primary facts in Mr Quinn's
                      witness statement which it disputed. It did not dispute any of the matters
                      mentioned above. P&ID thus showed every sign ofbeing willing, indeed
                      anxious, to implement the project and there is no dispute over its ability to
                      have done so.


                  52. Upstream Commercial Advisory Limited ("Upstream"), the Government's
                      expert witnesses, do not appear to have been shown Mr Quinn's evidence.
                      Under the heading "Readiness Status ofP&ID" they say that-


                           "P&ID made an investment decision based on a Class 5
                           estimate. This is flawed because a Class 5 estimate
                           classification is based on two percent (2%) detail definition of
                           the proposed project with just a notional sense of engineering
                           deliverables. A Class 3 estimate is indeed required for Final
                           Investment Decision ... There's no mention of a detailed EPC
                           schedule in the cost estimates." 10



        10 ,-\CEE International, an international association of cost engineers, divides cost estimates in to five

        classes according to their degree of detail, purpose, expected accuracy and preparation effort. Class 1 is at
        the greatest level of detail, used to check a bid or tender. Class 5 is at the most general level and is intended
        for a first appraisal of a project: see AACE International Recommended Practice No 18R-97.


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              53. It is true that, as the Tribunal will in due course explain, P&ID's expert
                 witness Mr Wolf had made his own Class 5 estimate by way of a check on
                 the three earlier estimates with which he had been provided. But P&ID
                 itself had gone a good deal further. Besides the uncontested evidence
                 extracted in paragraph 50 above, Mr Quin had said:


                         "[ 48] By way of example, extensive work was
                         commissioned from various specialist engineering
                         companies such as CB&I Lummus Technology Group in
                         New Jersey, KRAN Developments in Johannesburg and
                         ABB Limited in the UK. The cost of the work of these three
                         companies alone was about $29 million. In addition our
                         own internal costs were significant. .. [49] By the end of the
                         first two years of our work on the Project, we had put
                         together a complete engineering package ready for actual
                         permit applications, together with a 3-D software model of
                         the plant which was in such high detail that it would have
                         enabled training of the plant staff even before completion of
                         construction."

             54. Secondly, the prospective profits were such as to create a substantial
                 financial incentive to go ahead. Mr Quin estimated that the project would
                 produce a profit of$5 to $6 billion for P&ID over a 20 year period.


             55. Thirdly, there is no evidence of any legal or financial obstacles which
                 stood in the way of the scheme. The Upstream report has a discussion of
                 the "business environment" in Nigeria but there is nothing to suggest that
                 with the co-operation which the Government had promised in the GSP A, it
                 would not have been able to acquire the site and construct the plant.


             56. Consequently, the Tribunal finds on a balance of probability that that
                 P&ID would have performed its obligations under the GSPA and therefore
                 did suffer loss. Furthermore, such loss flowed naturally from the
                 Government's repudiation and was not too remote. The next step is the
                 quantification of that loss.




                                      H.         THE CALCULATION


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                    57. If the contract had been performed, P&JD would have received for 20
                         years an income from the sale of natural gas liquids extracted from the wet
                         gas supplied by the Government. As against that income, it would have
                         had to finance the necessary capital expenditure to acquire the site and
                         construct the gas processing facilities ("CAPEX") and incur revenue
                         expenditure in operating the plant ("OPEX"). The loss is therefore the
                         value ofthe stream of net profit which P&ID would have made ifthe
                         Government had performed the contract according to its terms. As the
                         damages have to be assessed once and for all, it is necessary to estimate
                         the value of that stream of profit at the time of the breach, making an
                         appropriate discount for the fact that P &ID will be awarded immediate
                         payment in place of sums which would actually have been received over a
                         20 year period. The Tribunal will in due course consider whether the
                         valuation at the date of breach may take into account what is known to
                         have happened since that date.




                         A.         Expenditure


                   58.     P&ID's expert witness on expenditure was Mr Bradley Wolf. He is an
                         engineer with 30 years of experience in engineering, procurement and
                         construction of complex infrastructure, power generation and commercial
                         and industrial facilities. Mr Wolf dealt first with CAPEX and then OPEX.


                         (a) CAPEX


                   59. Mr Wolf's principal source for estimating CAPEX was the detailed
                         engineering work which had been done by P&ID as described by Mr
                         Quinn. 11 This was in his opinion, at the minimum, a Class 2 estimate in the
                         ACEE classification. 12 In addition, in April 2013 P&ID had commissioned


        II   See paragraphs 50 and 53 above.
        12   BRG Second Expert Report paragraph 2.2.8


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                     an independent assessment from Genesis Oil and Gas Consultants Ltd. 13
                     Mr Wolftreated this as a Class 3 estimate. 14 Thirdly, in October 2015 it
                     had obtained another independent assessment from Wood Group Frontier
                     Ltd, another well-known company offering consultancy services. 15 Mr
                     Wolf regarded this as also being a Class 3 estimate. 16


                 60. Mr Wolf then built upon these estimates to construct his own. First, he
                     removed the cost of plant which was additional to that required to perform
                     P&ID's obligations under the contract. The original plans had included a
                     propylene plant which had been abandoned by the time the GSP A was
                     signed. This had required the use of a specialised recovery process
                     (Randall NGL) which had the high recovery rate of the propane needed to
                     make propylene. Genesis had therefore both dropped the Randall NGL
                     process and substituted the AET Mehra process instead. Wood Group
                     favoured the Russell UOP process. Mr Wolf's view was that all three
                     processes were capable of meeting the requirements ofthe GPSA 17 but
                     that "based on removal rates, capital cost and operational considerations",
                     the UOP Process was the proper selection. 18


                61. Based on these materials, Mr Wolf made a calculation of the probable cost,
                     which he tested by reference to a Class 5 estimate of his own and "bench
                     marked", i.e. compared it, with information about similar plant which had
                     been built elsewhere. He observed in his report:


                             "It is important to note that this was not by any means a
                             unique project whose costs would consequently be very
                             difficult to predict. The project described in the GSPA was
                             typical of many others in gas rich regions of the world.
                             There was nothing in the project scope, cost or timetable
                             that was any different [from] many other such projects
                             routinely completed around the world."



        n Exhibits BRG 402 and 403.
        1·1BRG Second Report paragraph 2.2.12.
        15 Exhibit BRG 404.
        16 BRG Second Report paragraph 2.2.15.

        17 BRG Report, paragraph 4.6.9
        IH BRG Report paragraph 4.6.11




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                  62. There is nothing to show that Mr Wolf failed to take account oflocal
                      conditions in calculating CAPEX, nor was it put to him in cross-
                      examination that he had not done so. Most of the components of the plant
                      would have been imported and their prices were unaffected by local
                      conditions, but labour costs were based on Nigerian rates.   1~




                 63. In calculating the sum which ought to be provided for contingencies, he
                      used a programme ("@risk") which calculates the probability of deviations
                      from estimate of each item in the budget and combines them. This has the
                      advantage, Mr Wolf said, of taking into account "the extremely low
                      probability that all of the estimated values will require the maximum
                      contingency level. " 20


                 64. On this basis, Mr Wolf produced an estimated CAPEX of$579,990,000,
                      which included a contingency allowance of $65,890,000. This represented
                      about 15% and gave in his opinion a 90% chance that the project would
                      not go over budget. 21


                 65. The chief objection ofUpsteam, the Government's expert, was that Mr
                      Wolf had inadequate material upon which to arrive at his estimate. This,
                      as noted above, was based upon the misapprehension that P&ID had done
                      nothing but make a Class 5 estimate before entering into the contract and
                     that Mr Wolf had no other material upon which to make his own estimate.
                     The report contains no comment upon Mr Wolfs contingency calculation
                     but the final recommendation, without explanation, is that one should
                     "assume nominal Class % CAP EX estimates + 40%. " 22 In cross-
                     examination, the government's expert Mr Dare said that reflected the
                     reliability of a Class 5 estimate. 23 In other words, it was made upon an
                     altogether false assumption about the underlying figures.



        19  Second BRG Report, paras 2.6.5-7.
        2H  BRG Second Report, paragraph 2.5.11.
        21 BRG Report, paragraph 2.1 .7.
        2 2 Final Upstream Report, p. 26.
        21 Transcript Day 1, 30 August 2016, pp. 93-105.




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                 66. The Upstream report contains no comment upon the equipment which Mr
                     Wolf considered would be needed or any specifics of his estimate. Nor
                     was anything of the kind put to him in cross-examination. Counsel for the
                     Government appeared to be satisfied with his admission that he had found
                     the P&ID materials "extremely helpful".24 He was asked whether he had
                     subjected the third party studies to an audit. He replied that he had-


                          "compared the values that were presented with other ones that I
                          have personal knowledge of or are in the public domain. So
                          from a reasonableness standpoint, these values certainly, within
                          my experience, I had no reason to question them." 25

                67. Finally, Mr Wolf was asked whether his estimates were "founded on
                     assumptions". He replied:


                          "My job is to make sure they are reasonable assumptions and
                          reflective of what. . .it would have cost to build a plant that
                          would have achieved what was outlined in the facility, but all
                          estimates are based on assumptions."

                68. In his closing submissions, Chief Ayorinde said that, as a matter of
                     Nigerian law, a "feasibility study" should not be the basis for an award of
                     damages26 and that Mr Wolf, in his reliance upon the pre-contractual work
                     ofP&ID, was presenting the Tribunal with a "feasibility study". It was
                     true that he also relied upon other material and exercised his own
                     judgment, but his use of the P&ID papers "removes from the purity ofhis
                     report. " 27


                69. The Tribunal rejects this submission. There is no authority in Nigeria or
                     England for the proposition that an expert estimating what work of
                     construction would have cost may not have regard to the specification of
                     work and estimates of cost made by the person who was to undertake that
                     work, simply on the ground that it was a "feasibility study". In the case
                     upon which counsel relied, Artra Industries Ltd v Nigerian Bank for

       24  Transcript Day 1, 30 August 2016, pp. 8-9.
       25  Transcript Day 1, 30 .-\ugust 2016, p. 11.
       2 6 Transcript Day 2, 31 August 2016

       27 Transcript Day 2, 31 .-\ugust 2016, p. 49.




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                      Commerce and Jndustriei 8 the court said that a particular document called
                      a feasibility study tendered in evidence had no probative value. That was
                      true on the facts of that case. In the present case, the Tribunal is satisfied
                      that Mr Wolf carefully examined all the available materials and exercised
                      his own judgment. There are no grounds upon which to reject his estimate
                      of$579,990,000 or the adequacy of the $65,890,000 contingency which he
                      included within it.




                      (b) OPEX


                 70. P&ID had made its own calculations of the OPEX for the project under
                      six heads and arrived at a figure of $59,881,600. 29 Mr Wolf says that he
                      has reviewed these costs and considers that they are reasonably accurate. 30
                      Mr Wolf was not cross-examined on this part ofhis evidence.


                 71. The Upstream Report makes no comments upon any of the six individual
                     heads of expenditure but simply recommends that OPEX should be based
                     on "2.5% of CAPEX with uplift of +25% to capture Niger Delta security
                     arrangements". This produced a figure lower than Mr Wolfs estimate, but
                     Upsteam produced an addendum in which they increased Mr Wolfs figure
                     by 25%. Asked in cross-examination for the justification for this increase,
                     Mr Dare said: 31


                          "It did not factor in Niger Delta adjustments, it did not factor in
                          the fact that you have Nigeria content development
                          requirements, all of that is a way of making operations more
                          expensive."

                 72. He went on to speak of condensate evaporation strategy and the cost of
                     transporting the condensate.


        2K [1997]1 NWLR 574
        29 The estimates, broken down into 6 heads of expenditure, are at paragraph 4.9.2 of the ERG report.
         0
        ' BRG Report, paragraph 4.9.3.
        31 Transcript Day 1, 30 August 2016, p. 106.




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                    73. One difficulty which the Tribunal has with these submissions is that none

                         of it was put to Mr Wolf. The final Upstream report had spoken only of

                         "uplift of +25% to capture Niger Delta security anangements (i.e.

                         hardening of the facility site with relevant Government Security Agency

                         persormel) as well as factor-in Nigerian Content Development (NCO)

                         compliance"." The Tribunal received no evidence about the circumstances

                         in which it is obligatory or prudent to employ "Government Security

                        Agency persormel", or the incidence of insurgent activity against gas

                         installations in the area. These are matters which must be known to the

                        Government and on which evidence was available. But none of it was put

                        before the Tribunal or put to Mr Wolf in cross-examination. Mr Dare, in

                        oral evidence32 after Mr Wolf had concluded his testimony, produced a

                        number of points which had not previously mentioned in the Upstream

                        report or otherwise: performance would be "sub-optimal" on account of

                        having to employ Nigerian personnel, precautions would be needed to

                        protect the condensate before export, stolen condensate could cause

                        pollution and the government "will come after you". The claimants had no

                        opportunity to comment on any of these matters.


                    74. Mr Wolf commented in his second report:


                             "[2.6.3] The OPEX costs in our First Report were derived from
                             a compilation of detailed information developed for this plant
                             by P&ID, Genesis and the Wood Group. These studies
                             described that the OPEX was based on information from
                             similar projects and lease costs obtained after preliminary bids
                             were tendered and woulod already have included any extra
                             security precautions deemed prudent.

        32   Transcript Day 1, 30 .-\ugust 2016 pp. 111-113)



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                             [2.6.4] Since the facility capital costs included security fencing
                             around its defined perimeter and guarded entrances as part of
                             the infrastructure and the OPEX estimates already considered
                             the location, I believe that no specific additional uplifts to
                             OPEX costs for "Niger Delta security arrangements" especially
                             since the risk of disruption, to the extent that it exists, is likely
                             more prevalent to the incoming pipeline which in this case is
                             the responsibility of the respondent."

                    75. The Tribunal considers that it has no satisfactory basis for deciding that
                        Mr Wolf did not take into account factors which would increase the OPEX
                        by 25% or any other figure. They accordingly accept his figure.


               B. Income


                    76. An estimation of future income requires a calculation of (a) the yield of
                        NGLs which the plant would have recovered from the incoming gas and
                        (b) the prices at which they could have been sold. The resulting figure
                        must then be discounted to allow for the award being for an immediate
                        lump sum rather than income spread over 20 years.


                        (a) Yield ofNGLs


                    77. The expert witness for P&ID on this point was Mr Anthony Melling of
                        BRG. He has general experience in the gas industry and specializes in
                        natural gas, LNG and associated liquids. The first part of his estimate was
                        concerned with identifying the content ofthe gas stream which the
                        Government was required to supply under the GSPA. As the Government
                        could supply gas meeting the contract specification from anywhere it
                        chose, this meant having to identify the content which such gas was most
                        likely to have. P&ID had information about the gas quality from OML
                        123 in May 2008 33 , but considered that this was out of date and based
                        upon insufficient volumes. 34


                   78. Instead, Mr Melling constructed from information derived from the

        13   Table 17 at paragraph 5.3.2 of the BRG Report.
       31    Ibid, paragraph 5.3.3


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                 Department of Petroleum Resources and NNPC a "Typical Composition of
                 Nigerian Gas."   The minimum propane and butane contents specified in
                 the GSPA were 3.5 and 1.8 mol per cent respectively. Accordingly, Mr
                 Melling produced a "Minimum" yield by adjusting the typical composition
                 so that it had no more than the contractual requirement of C3+ liquids.


             79. He did not however consider that a composition producing the minimum

                 yield was the most likely. The GSP A provided that the Lean Gas was to
                 be 85 mol% of the Wet Gas provided. This suggested that the parties
                 contemplated that P&ID would be left with I 5% for NGLs, fuel gas and
                other losses. On this assumption, Mr Melling produced a higher figure for
                what he called the "Expected" yield.


             80. Mr Melling also produced a "Maximum" case in which more NGLs could

                be obtained from a richer feedstock which was still consistent with the
                contractual specifications.


             81. For the purpose of calculating an annual yield in metric tonnes, Mr

                Melling assumed (a) that the Russell UOP plant assumed by Mr Wolf
                would be operational for 93% of the available time (340 days a year) with
                maintenance in parallel with maintenance at the end user plant (b) 4% of
                the energy content of the feedstock gas would be used as fuel gas (c) the
                production efficiency of propane and butane extraction would be 94% and
                (d) the process efficiency would be 90%, the rest of the propane, butane
                and condensate being lost to evaporation or flaring.


             82. On this basis, the annual sales volumes in metric tonnes would be:



                Minimum yield:                491,037
                Expected yield:               811,000
                Maximum yield :               1,245,739


             83. The Upstream report said that the use of a typical rather than absolute




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                         composition was "unacceptable". 35 It noted, however, that its own
                         analysis of the only actual field data available, namely the OML 123
                         figures for 2008, had produced an annual yield of 838,437 metric tonnes,
                         i .. e. slightly more than Mr Melling's Expected yield. The Tribunal does
                         not accept that Mr Melling was wrong to start from a typical composition.
                         As the GSPA did not say from which field the Wet Gas had to come, an
                         estimate of what was likely to have happened if the Government had
                         complied with its obligations required him to say what the composition of
                         the gas was likely to have been. For this purpose, it was right to start with
                         the typical composition of Nigerian gas.


                     84. The only one ofMr Melling's assumptions which the Government
                         contested was the 93% operational time. Mr Dare said one should rather
                         assume it would operate only for 40%, or perhaps 45%, or 50% of the
                         time. 36 The Upstream report said 50% and eventually Mr Dare said he
                         would stay with that figure. The reason given in the report was "unabated
                         militancy in the Niger Delta ... on account of the firm nexus between AG
                         production and oil production performance (militancy activities are
                         primarily targeted at disrupting oil export.)"




                     85. Even assuming that the GSPA was about exporting oil, a 50% reduction in
                         operating time would have been a remarkable figure. The Upstream report
                         offers no actual evidence of ( 1) the incidence of militant attacks in the
                         Calabar region and its effect on oil production (2) if the attacks were
                         against oil pipelines, how this would affect the production of associated
                         gas at the wells (3) whether there had been any interference with gas
                         pipelines.


                    86. The comment in the Second BRG Report by Mr Melling was:

                              3.6.2    I am aware of course of the problem of militant


        .15   Upstream Report p. 20.
        3G    See Transcript Day 1, 30 August 2016, pp. 113-115.


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                             attacks on oil and gas infrastructure in the Niger
                             Delta, which have a variety ofreasons. However
                             it is my understanding that this problem
                             manifests itself in the West and North West of
                             the Niger delta region rather than the South East,
                             where Calabar is located. This is borne out by
                             material in the public domain.

                   3.6.3     The EIA state that this militant group is the most
                             active in the region. Appended to this report is a
                             map plotting the locations of all of the attacks by
                             the Niger Delta Avengers reported by the online
                             publication "Ventures Africa" in 2016.6 This
                             map indicates that militant attacks are focused
                             around Wani and to a lesser extent around
                             Brass, at the mouth of the Niger Delta. Calabar
                             is hundreds of kilometres to the East ofthis
                             region.

                   3.6.4     Nigerian Oil Spill Monitor provide a map of
                             spills in the Niger Delta area, indicating where
                             they are caused by third parties. 7 Almost all
                             spills caused by third parties are found to the
                             west of Cal abar.

                   3.6.5     My conclusion is fwiher supported by the 2015
                             Annual Report of Seven Energy, the leading
                             inte!,rrated gas company in south east Nigeria.
                             Seven Energy has operations in 3 locations in
                             the Niger Delta- in the North West (around
                             Wan·i), in the Anambra Basin, and in the South
                             East, in an area encompassing Port Harcourt and
                             Calabar.

                   3.6.6     The Seven Energy Annual Report specifically
                             discloses the militancy affecting operations in
                             the North West Delta - see page I 3 -referring
                             to "considerable interruption due to sabotage
                             and damage caused to the Trans Forcados
                             Pipeline". (The Trans Forcados pipeline is a
                             crude oil pipeline in the North West Niger Delta
                             which was bombed in February 2016).
                             However, in the Operational Report for the
                             South East Delta region (pp 34-37 ofthe Seven
                             Energy Annual Report) no mention is made of
                             any operational intetruption due to militancy.

                   3 .6. 7   I further note that according to its 2015 Annual
                             Report Seven Energy is actively supplying lean
                             gas to power plants in the Calabar region. A



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                             more recent update reporting on the first quarter
                             of 2016 states: "During the first quarter of20 16,
                             Seven Energy gas deliveries in the south east
                             Niger Delta averaged 101 MMcfpd (Ql 2015:
                             44 MMcfpd). The 44% increase from the 2015
                             average gas deliveries of 70 MMcfpd \Vas due to
                             the increase in gas taken by the Calabar NIPP
                             and Alaoji NIPP power stations as they increase
                             their electricity generation into the power grid."'

                    3.6.8     Finally, the US Department of Energy, Energy
                              Information Agency provide data that can be
                             used to give a rough estimate of the level of
                             disruption to Nigerian oil production due to
                             militancy. Their data shows that, prior to 2016,
                             approximately 13% of oil production was not
                             achieved due to militancy. Only in 2016 did
                             increasing militancy cause greater disruption,
                             with disruption increasing to approximately
                             32%. This is not analogous to the outages that
                             one might expect in a single NGL facility in an
                             area relatively unaffected by militancy, but it
                             shows that an assumption of 50% downtime due
                             to militancy over the life of a project from 2015
                             onwards is wholly unrealistic (even for the part
                             of the industry most effected by attacks).

                    3.6. 9   In summary, I am not aware of any sensible
                             foundation to support the assumption that the
                             P&ID plant would have suffered 50%
                             downtime, as suggested by Upstream. As stated
                             above, I believe that my uptime assumption of
                             93% is realistic.


             87. There was no attempt in cross-examination to discuss or challenge any of
                this information.


             88. The Tribunal therefore considers it highly implausible to assume that a gas
                stripping plant, situated in an area away from the main focus of militant
                attacks, will be out of commission for 10 out of its 20 years of operation.


             89. In any case, the Upstream calculation is based upon a misapprehension,
                evident throughout the report and the submissions on behalf of the
                Government, about the nature of the calculation which the Tribunal has to



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                 make. It fails to appreciate that the calculation must be made on the
                 assumption that the Government will perform its obligations under the
                 contract. Except so far as the Government would be entitled to pleadforce
                 majeure (as to which no argument was presented to the Tribunal) it must
                 be assumed to have delivered the necessary quantities of Wet Gas to
                 P&ID's site and taken the Lean Gas for its power stations. If militancy
                 makes it difficult to obtain the gas from one field, it must find the gas
                 somewhere else.


             90. The Tribunal finds that Mr Melling's assumption of 15 days of downtime
                 for maintenance and other eventualities during the year is the one most
                 likely to be correct.




                 (b) Price ofNGLs


             91. The price ofNGLs is closely linked to the price of oil which is, like that of
                most commodities, cyclical - sometimes dramatically so. It is not easy to
                predict the future movement of prices. But such predictions have to be
                made, because investment decisions depend upon them. Likewise, they
                have to be made by the Tribunal to determine the loss which has been
                caused to P&ID by the repudiation of the contract.


             92. There is a preliminary point of principle which needs to be decided. Is the
                appropriate prediction that which would have been made at the date of
                acceptance of the repudiation, i.e. March 2013, or should it be what would
                be predicted now, i.e. at the date of the hearing? P&ID's expert witness on
                this aspect of the case, Mr Simon Ede, has prepared calculations on both
                bases.


             93. The Tribunal considers that the correct approach is to take into account all
                the information available at the hearing. This is the trend of recent
                decisions of the English courts on questions which involve predictions: see


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                      The Golden Victory 37 and Bunge SA v Nidera BV38 . Mr Ede says of his
                      2015 calculation of the loss suffered by P&ID by the 2013 repudiation:


                          "I take the actual 2015 prices .. .I assume that the price fall of
                          2014-15 is completely foreseen and future expectations ... about
                          long term oil prices [at the hearing date] are similarly known."

                 94. This appears to the Tribunal to be the right approach.


                 95. Mr Ede made two assumptions about how P&ID would sell its NGLs
                      which are not challenged. First, he assumed that they would be sold f.o.b
                      Nigeria into the north west European market. So he took into account the
                      cost of shipping the liquids to Europe. Secondly, he assumed that NGL
                      prices would closely follow oil prices.


                 96. The experts differed, however, in their forecasts of oil prices. Mr Ede
                      based his first estimate, made in 2015, upon predictions published by the
                      International Energy Agency ("lEA") available in 2013. Upstream did not
                      produce an independent calculation but said that Mr Ede's estimate should
                     be uniformly reduced by about 38% to reflect the fall in oil prices which
                      had occurred since 2013. Mr Ede's second estimate, based on the
                     principles stated above and an lEA forecast published in 2015, averaged
                     about 24% lower than his first forecast. 39


                 97. The 2015 lEA report, upon which Mr Ede chiefly relied, contained four
                     different scenarios which might affect future oil prices. They were ( 1) the
                     New Policies scenario, described as "the central scenario of this Outlook",
                     which assumed that all policies affecting the energy market which had
                     been announced would in fact be implemented (2) the Current Policies
                     scenario, which assumed that only policies currently in force would
                     continue (3) the 450 scenario, which assumed that policies to reduce the
                     rise in long term average temperature, caused by greenhouse gases, to 2°C

        37 [2007] 2 1\C 353
        3B [2015] Bus LR 987.
        39 As it happens, since Mr Ede's second report the price of Brent crude has increased from US$48 a barrel

        to US$55 a barrel.


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                 would be implemented (4) a Low Oil Price scenario, assuming no
                 reduction in supply and reduced demand because of slow economic
                 growth. The report said that the Low Oil Price scenario was unlikely in the
                 long term because lower prices were likely to result in increased demand.


             98. Mr Ede adopted the New Policies scenario for his second estimate. He
                 was not cross-examined on this estimate, save to secure the admission that
                 forecasting oil prices 20 years ahead was difficult. However, when Mr
                Dare gave oral evidence, he said that there were several forecasts available
                on web sites which were different from the New Policies scenario. He did
                not however identify these or produce them to the Tribunal. The Tribunal
                did not have the benefit ofMr Ede's comments because none of this
                material (if such it was) had been put to him in cross-examination.


             99. It is important to identify precisely the exercise which the Tribunal has to
                undertake. It is to make the best estimate which would be made today of
                the income stream which P&ID would have received from the sale of
                NGLs if the Govenunent had performed its side of the bargain. The actual
                outcome will not be the same as the prediction. It is bound to be, to a
                greater or lesser extent, higher or lower. But this is, by definition,
                something which the Tribunal cannot know. One method sometimes
                adopted for making the necessary calculation is to ask what a third party
                would have paid to acquire the benefit ofthe GSPA on the assumption that
                the Government would definitely perform its obligations. The notional
                third party would have decided what he should pay by making the same
                calculations as to what the income he would be likely to receive. Putting
                the question in this way has the advantage of drawing attention to the fact
                that the value of future income depends upon the estimate which a notional
                buyer and seller would make today. That is what determines the present
                value of what P&ID has lost. Someone who makes a higher or lower
                prediction may be able to say "I told you so" in years to come, but that
                does not affect the value which would now be attached to the future
                income stream. The duty of the Tribunal is to decide on the evidence what
                that estimate would be likely to be. It is not to increase or reduce that


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                            estimate according to its own intuition.


                     100.      The only estimates of what might happen to oil prices that the Tribunal
                         has actually seen are those in the lEA report relied upon by Mr Ede. lEA,
                         says Mr Ede-


                               "is an intergovernmental organization that provides reporting
                               and analysis on international energy markets. Included in their
                               work is analysis of future trends and developments in the oil
                               and gas industries and as such they regularly publish forecasts
                               of prices for these commodities. Companies operating in the oil
                               and gas industries regularly make use of lEA forecasts when
                               benchmarking price forecasts and analysis. I believe that this
                               is ... reasonable."

                    101.       Mr Ede is an economist who has for 15 years specialized in energy
                         markets. His evidence is that lEA's New Policies scenario is the one most
                         appropriate to be used in forecasting. None of this was challenged in cross-
                         examination.


                    102.       By contrast, Mr Dare has said only that there are other forecasters in
                         the business who have arrived at different but unspecified conclusions. No
                         such forecasts were actually made available to the Tribunal, still less to Mr
                         Ed e.


                    103.       The Tribunal considers that there is no material upon which it can
                         come to a conclusion different from that ofMr Ede's second estimate,
                         which gave effect to all the information presently available about the
                         movement of oil prices. Accordingly it accepts the forecasts of prices (in
                         real2013$ terms) in the second BRG Report: 40


                         (c)     Taxation


                    I 04.      Clause 8 h) of the GSPA provided that P&ID would enjoy "Pioneer
                         Status", i.e. freedom from taxation, for a period of 5 years from the


        jU   Figure 6 in paragraph 4.5.6.


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                         commencement of commercial operations. The BRG Report therefore
                         assumed that the P&ID income stream would not be taxed for the first 5
                        years but would thereafter pay tax at the standard rate of 30%. 41 The
                        Upstream report assumed a rate of 20% without any period of exemption,.
                        This produced a slightly lower deduction than the BRG estimate.


                    105.     The Upstream Report contains no explanation of why it (a) ignored the
                        5 years Pioneer Status granted by the GSPA and (b) reduced the standard
                        rate of tax to 20%. In the circumstances the Tribunal will accept the BRG
                        calculation, which in fact results in a lower award of damages than the
                        Upstream calculation.


                        (d) Discount rate


                    106.     The total net profit which P&ID would have received over 20 years
                        must be discounted to reflect early payment, just as interest is added to
                        damages to reflect late payment. Of course in the valuation of a business,
                        estimated future earnings may also be discounted to reflect the risk that
                        they will not materialise. The Government submits that such a discount
                        should also be applied to the estimate of future profits in this case, to
                        reflect the risk of investing in Nigeria. For this purpose, as well as the time
                        value ofmoney, Upstream proposes a discount rate of7%.


                    107.    P&ID on the other hand say that a discount for risk is in principle
                        wrong. If one is valuing a business where the future profits depend upon
                        performance by the Government in the Nigerian environment, the main
                        risk is that for one reason or another the Government will not perform its
                        obligations, as indeed happened in this case. IfP&ID was selling its rights
                        under the GSP A to a third party, that risk would be foremost in the minds
                        of the parties to the negotiation. But the law does not permit damages for
                        breach of contract to be reduced to allow for the risk that the party in
                        default will default. As for other risks, these have already been built into


        41   BRG Report, paragraph 7.2.2 (VI) and (VII).


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                     the calculation of future income: there are contingency allowances for
                     CAPEX and OPEX and the possible variations from the assumptions about
                     future oil prices may be up or down, thus cancelling each other out. P&ID
                 therefore submits that a deduction for risk would be a double deduction.
                 The BRG report says that US Treasury bonds are regarded as risk free and
                 their 2.65% rate of interest represents only the time value of money. It is
                 therefore the appropriate discount rate to use in this case.


              108.      The Tribunal considers that P&ID is right for the reasons stated in the
                 last paragraph. A 7% rate would constitute a double contingency
                 allowance or allow the Government a reduction to reflect the risk of its
                 own default or both. 2.65% is the correct rate. On the other hand, for the
                 reasons given by the Government, 7% is the correct rate of interest to
                 apply to the Government's obligation to pay damages which crystallised at
                 the date of repudiation. It is not a risk free rate but reflects what P &ID
                 would have had to pay to borrow the money or could have earned by
                 investment in Nigeria.


                 (e) Mitigation


              109.      The Government submits that only three years loss of income should
                 be taken into account because by that time P&ID should have found some
                 other profitable investment and thereby mitigated its loss. There is no
                 suggestion of what this other investment would have been. Nor is there
                 any explanation of why, if found, this would have mitigated the loss
                 caused by repudiation of the GSP A. Even if P&ID could have found some
                 other unspecified investment opportunity, there is no reason why this
                 should be treated as mitigation of its loss. An employee who is dismissed
                 can mitigate his loss by finding another full time job. But there is no
                 reason why P&ID should not have pursued more than one investment
                 opportunity. The burden of proving that loss could have been mitigated is
                 upon the party who has broken its contract: see Roper v Johnson ( 1873)
                 LR 8 CP 167; Geest plc v. Lansiquot [2002] 1 WLR 3111 (Privy Council).
                 The Government has not suggested, let alone proved, what the Claimant


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                       might have done to earn the equivalent profit. This is not surprising
                       because the law does not require the innocent party to take risks in an
                       endeavour to save the party in breach from having to pay damages: Banco
                       de Portugal v Water low & Sons Ltd [ 1932] AC 452 at 506 (Lord
                       Macmillan). For all these reasons, the Tribunal considers that in this
                       context the argument as to mitigation is misplaced.




               C. Conclusion


                   110.    The effect of the Tribunal ' s decisions on what P&ID's expenditure and
                       income would have been if the GSPA had been duly performed is that the
                       net present value of the profits which would have been earned is
                       $6,597,000,000. 42 This is the measure of damages. It is a very large sum
                       because (a) it is the present value of income which would have been
                       earned over a long period and (b) the GSP A would have been very
                       profitable for P&ID and (although the Tribunal has not had to make any
                       findings on the point) probably for the Government as well.


                                                      I.      COSTS
                   111.     Clause 20 of the GSPA provides that the parties are to bear the costs
                       of the arbitration equally but that each party is to bear its own lawyer's
                       fees. There has been no application by either side in respect of the costs of
                       the arbitration and the Tribunal assumes that they have been borne equally.


                                                     J.     DISPOSAL
                   112.    We, Leonard, Lord Hoffmann and Sir Anthony Evans, having read the
                       parties' written evidence, pleadings and submissions and having heard
                       their oral evidence and submissions, and having carefully considered the
                       same and for the reasons stated above, make our Final Award as follows,
                       namely we order the Respondent to pay to the Claimant the sum of


        42   Sec Second BRG Report, Appendix H.


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                   $6,597,000,000 together with interest at the rate of7% from 20 March
                   2013 until the date of this award and at the same rate thereafter until
                   payment.


        Place of arbitration: London, United Kingdom.




              Signed:




              Lord Hoffmann




                                                       r
              Sir Anthony Evans                    ,0 r~(-~J c-'-d-'~~
                                                                       ~


              gl     January 2017.




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       EXHIBIT 18




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   IN THE MATTER OF THE ARBITRATION ACT 1996 (ENGLAND AND WALES)

   AND


   AND IN THE MATTER OF AN ARBITRATION UNDER THE RULES OF THE NIGERIAN
   ARBITRATION AND CONCILIATION ACT (CAP Al8 LFN 2004)


   BETWEEN:


                    PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED                              Claimant




                                                 And


                    THE MINISTRY OF PETROLEUM RESOURCES                                    Respondent

                    OF THE FEDERAL REPUBLIC OF NIGERIA


                 DISSENTING FINAL AWARD OF BA YO OJO, SAN




  INTRODUCTION
  T his is a Minority Dissenting Final Award. I have read the Majority Award of my co-arbitrators. I am
  unable to agree w ith the conclusions reached therein . I hereby issue the fo llowing dissenting award. To
  avoid repetition, I adopt the following that relate to: introduction, the parties and their lawyers, the
  governing law and arbitration clause, procedural hi story and the finding on liabi lity as contained in the
  majority award. I shall now proceed to the measure of damages which is where I differ.


  DAMAGES
  The points of contention on damages relate to four broad issues namely:

      a.   Mitigation

      b.   Capita l Expend iture (Capex)

      c.   Operating Expenditure (Opex) and

      d.   Yield.

  This award will address those issues.




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      MITIGATION

   The majority opinion treated the issue of mitigation in a dismissive manner, by holding that Respondent
   did not suggest what other investment Claimant could have undertaken. 1 Claimant conceded at
   paragraph 28 of its 'Claimant's Written Submission in Reply' (on the issue of damages) the duty to
   mitigate by stating that 'it is accepted that P&ID was under a duty to mitigate its loss whether as a
   matter of Nigerian or English law', but claimed that it was a unique opportunity so there was no need
   to mitigate.


      1. See also paragraph 59 of Claimant's Written Submission in Reply for the Hearing on Quantum on
         30-3 l August 2015, where it stated that 'During the 6 years from the conception of the project
         until the commencement of the arbitration in mid-2012 other potential projects had been put
         on hold'.

   2. Claimant argued that the Respondent had a duty to show that the Claimant as a reasonable person
      could have found alternative work. This argument in my view is misconceived. Having admitted the
      duty, Claimant bore the burden of proving that it has discharged the duty.

   3.    What is the scope of a duty to mitigate? The obligation is on the innocent party to lessen the
         financial loss to which it is exposed by seeking alternative means of income.

   4. Claimant is an international engineering and project management company, capable of undertaking
      the kind of project envisaged under the agreement (GSPA) in Nigeria and other kinds of related
      works/projects in any other part of the world. There is no suggestion that the company was
      incorporated for the sole purpose of the GSPA. There is no evidence of any attempt made by
      Claimant to mitigate. Besides, the burden to mitigate is something that has to be taken into account
      throughout the period of20 years. Indeed, by making an award without taking into account the duty
      to mitigate, the Respondent by implication will be subrogated to any fees or other remuneration that
      the Claimant might subsequently earn.

  5.     The purpose of damages under Nigerian law is not to give the innocent party a windfall, but to put
         the party in the position he would have been had the breach not occurred. C laimant is a new
         company that was incorporated in 2006. While not denying the fact that the Claimant is entitled to
         be compensated, to demand for general damages of $8.6 billion dollars is like asking for a reward
         for services not rendered.

  6. Respondent argued that C laimant is not entitled to damages for more than three years from the date
     of breach. In the circumstance I think the three year period is not unreasonable, especially given the
     background of the project and the admitted existence of other projects which the Claimant had put
     on hold and to which it can easily return.

  7. The majority opinion appeared to have set up a case better than, and different from that canvassed
     by the C laimant by suggesting that the Claimant had the capacity to do more than one work at a
     time. It was stated that 'An employee who is dismissed can find another full time job. But there is
     no reason why P&ID sho uld not have pursued more than one investment opportunity' . See

  1
      Paragraph 103 Final Award
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        paragraph I 03, page 29 of the final award. The issue of the ability to do more than one work is at
        variance with the Claimant's case. It is on record that Claimant stated that it devoted, "substantially
        the whole of the time and resources" of the team on this project and that it placed on hold another
        project. This is clear admission that Claimant lacked the capacity to pursue more than one
        investment opportunity at the same time. See paragraph 59 of Claimant's written submission in
        reply on the hearing on quantum on 30-3 J August 2016.

   8.   Should the Claimant get a windfall for twenty years because of a breach, or is it obligated to reduce
        and ameliorate the impact of the breach by finding an alternative, even if not equivalent
        engagement of its kind? ln the case of Kosile v. Folarin (1989) 3 NWLR (Part 107) 1 at 16
        Supreme Court, KAWU, JSC on the duty of plaintiff to mitigate damages held that:

                    It is, of course, a well settled principle of law that a plaintiff is
                   required to take all reasonable steps to mitigate the loss resulting
                   from the defendant's wrong as no damages will be awarded in respect
                   of any part of the loss which he could have averted by taking
                   reasonable steps to do so.
                    See also the case of Momodu v. NULGE (1994) 8 NWLR (PT 362)
                   336 AT 353 Appeal Court.

   9. Mitigation aims at reduction of the impact of loss and not a provision of necessarily 'equivalent'
      work. Again, it is on record that Claimant put some projects on hold in order to undertake the
      instant contract. This was stated in paragraph 59 of Claimant's written submission on the hearing on
      quantum that ' During the six years from the conception of the project until the commencement of
      the arbitration in mid 2012, other potential projects had been put on hold ' . So on the record there is
      evidence and/or admission of a project to which Claimant could return.

   I 0. As I earlier stated, contrary to the suggestion of the majority, the Claimant clearly admitted its duty
        to mitigate by stating in paragraph 28 of the Claimant's written reply on the issue of damages that
        "it is accepted that P&ID was under a duty to mitigate its loss whether as a matter of Nigerian or
        English law." This admission cannot be disregarded. In the case of NIMASA v. Hensmor (Nig) Ltd.
        (2015) 5 NWLR (Part 1452) 322 Court of Appeal, the court held that, 'A plaintiff has the onus to
        mitigate damages of his cause of action rather than rush to file an action in court'. The Claimant
        having admitted that it was under a duty to mitigate loss, and yet failed to continue with any of the
        projects it had put on hold; it is my considered view that the Respondent no longer had the burden
        to proof same.

   II. The general and fundamental rule of the law of evidence is that the court can only base its decision
       in any litigation on facts that are proved to exist by evidence. However section 123 of the Nigerian
       Evidence Act, 20 II, provides that no fact needs to be proved in any civil proceeding which the
       parties to the proceeding or their agents agree to admit at the hearing, or which, before the hearing,
       they agree to admit by any writing under their hands, or which by any rule or pleading in force at
       the time they are deemed to have admitted by their pleadings. Joseph Mangtup Din v. African
        Newspapers o(Nigeria Ltd delivered on 25'" day ofMay, 1990 Suit No. 44/1986 Supreme Court.
        The Claimant, having admitted the duty to mitigate is bound by it. See SUNDAY ADEGBITE
        TAIWO v. SARAH ADEGBORO delivered by the Supreme Court o 2fl" May 2011.


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   12. It is not tenable to award damages on the supposition that the C laimant will not be able to find an
       alternative work or project for twenty years. The crucial issue is for what part of the 20 years it is
       reasonable to compensate Claimant bearing in mind the admitted duty to mitigate and the fact that it
       had put other projects on hold and which it can return to immediately. Considering that the breach
       occurred in 2013, and that the project could not have started yielding proceeds earlier than 2015, it
       means that the C laimant had from 20 13 to attempt the mitigation of its damage or loss. Therefore a
       period of three years from 2015 to 2018 is reasonable. See again the Supreme Court case of Kosile v
       Folarin.

   13. In the related field of employment law, a plaintiff who cannot find reasonable alternative
       employment has a further duty to lower his or her sight, and the measure of damages would then be
       the difference between his previous earning and current earning. Mitigation of damages entails
       reduction or amelioration of the loss occasioned by the breach. The majority op inion seems to
       misconceive and misplace the duty to mitigate having been admitted by the C laimant. ln the instant
       matter, there is admission by C lai mant that it put other projects on hold in order to undertake the
       project contemplated under the GSPA. Two unassailable conclusions can be drawn from that
       admission.

   14. The first is the inability of Claimant ·to pursue more than one investment opportunity' at the same
       time. The second is the availability of another work to which C laimant could return thereby
       undercutting the indulgence of the majority opinion to Claimant on this point. In any event, it is
       absurd or anomalous for Claimant to admit the existence of a duty on itself, and then, without any
       evidence by way of a discharge of that duty, for the majority opinion to state that the Respondent
       has not proved what other work claimant would have undertaken. The party that has the duty has
       the burden to prove the discharge of that duty under N igerian law. The Claimant c learly bore the
       duty to prove its effort at mitigation.

   15. It is inconceivable, untenable and indefensible for Claimant to fold its hands and ask for damages
       for twenty years. Again, as I earlier stated, assuming the Claimant is paid for twenty years, does the
       respondent become subrogated to any income that claimant might earn from subsequent work
       within the twenty year period?

  16. In view of all the above, I find that the C laimant is not entitled to damages for loss from the breach
      for more than three years.

  17. CAPE X AND OPEX

  18. C laimant' s experts put the CAPEX at $514, I00,000 wh ile Respondent' s state that that figure
      should be upped by 40%. It would appear that Claimant' s estimates are rather very conservative,
      especially when juxtaposed with the purported expected proceeds from the project. A project that
      Claimant argued would yield $8.6 billion in profit in 20 years would cost, in the claimant's experts'
      opinion $514.lmillion, meaning that the cost of building the plant is recoverable jn only about a
      year or two.

  19. I am of the view that the C laimant's estimates on CAPEX and OPEX are grossly understated and
      that the Respondent's estimates are preferable. The points of divergence are that the Respondent
      added forty percent (40%) to the figure projected by the C laimant for CAPEX, and a lso added

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       twenty five percent (25%) to the suggested figure for OPEX. Unfortunately, by their very nature,
       the estimates can only be projections. This is especially so because Claimant did not build the plant.
       Although the award on liability held that the Claimant was not liable in failing to construct the
       plant, that omission certainly has impacted on the calculation of CAPEX and OPEX. Thus, the
       experts were all over the map on the figures . The challenge therefore is to essentially know which
       of the two competing speculations is more tenable.

   20. The Claimant's estimates are overly conservative and failed to take into account local
       circumstances. Calabar the proposed location for the plant is in the Niger-Delta and certainly is not
       immune from the challenges encountered by oil and o il related facilities in the region, and no
       reasonable investor will proceed with an investment in that area without paying regard to those
       challenges. On this score, the Respondent's estimates are, on the balance of probabilities, more
       tenable. This analysis is without prejudice to my earlier decision on the effect of the duty to
       mitigate.

  21. It will be a travesty to ignore the evidence of the Respondent on CA PEX s imply because it didn ' t
      follow the same methodology adopted by the C laimant. The burden is always on the Claimant to
      establish their case.

  22. The majority award suggested that Respondent offered no evidence on this issue. The evidence of
      the Respondent's expert on CAPEX spans several pages of the record. The Respondent was
      provided with the Claimant's expert report on the issue of CAPEX. He, the Respondent's expert,
      testified to the fact that the Claimant's estimates, as contained in the C laimant's expert's report,
      were understated by about 40%. This was maintained by that witness throughout cross examination.
      He testified that the figures on CAPEX shou ld be raised to 40%.

  23. This was after looking at the item by item estimates made by Claimant's expert. It would be grossly
      unfair to characterise such evidence as irrational. Certainly, by using a broad percentage, the
      Respondent was saved the task of testifying item by item. But this does not affect the probative
      value of the evidence, since he reviewed the underlying item by item estimates and found them to
      be understated by that percentage. It is not absurd for an expert who has reviewed the detailed
      figure of another expert to point o ut that those estimates were understated and to testify to the extent
      of the understating.

  24. It is also worthy to note that, in addition to Respondent's witness' expertise, he a lso has a working
      knowledge of the area where the project would have been s ited. In answer to cross examination on
      the issue of 40% he stated clearly'
                    ··so there is the BRG opinion of what a class 5 estimate will provide, there
                   is the Upstream opinion on that, and there is the opinion which is the
                   estimate you get at finally (sic) investment decision point. They didn 't have
                   that. We don't have that. So this is a range, an uncertainty range, so you
                   take your pick based on how familiar you are with what you expect will
                   happen. I happen to have a working knowledge of the Niger Delta on all
                   sides, including Calabar, and that 's where that has come from. So I think
                   the CAPEX expectation is understated, and a factor of 40 p er cent
                   definition of what project is about, yeah, is reasonable ".(pages 93-94
                   Day/ PID 1.130 AUGUST 2016)

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   25. It is really inaccurate for the majority opinion to suggest that on CAPEX the tribunal had no
       evidence at all to contradict Mr. Wolf's estimate. Mr. Dare, a competent expert witness, testified
       clearly and succinctly that Mr. Wolf's estimate is understated by 40 per cent plus.

   26. The Respondent's witness clarified the issue of OPEX in his oral testimony. A lthough the initial
       paper submission alluded to 2.5% of CAP EX as baseline, the witness stated clearly that that is a ru le
       of thumb applicable to projects of the value of $1 billion and above, and further that he attempted to
       withdraw that earlier statement when he discovered that it was not applicable to the project at hand,
       but that could not be done because it had already been filed. There could have been a procedural
       snafu on the part of counsel in not properly substituting such filing. This does not detract from the
       evidence and explanation of the witness. The witness addressed the issue of the Niger Delta security
       challenge at pages Ill to 113, providing details of the issues and items that would raise the OPEX
       by 25%.

   27. He also specifically stated the provision of fence in CAPEX would not be sufficient to meet such
       challenges as the need for provision of government security agents, engagement with the
       community, etc. See pages Ill to 113 of the record. It is curious to suggest that there is need to show
       why it is prudent to employ government security personnel. Mr. Dare's evidence alluded to these
       challenges.

  28. The majority opinion cannot aprobate and reprobate at the same time. It cannot complain that there
      is no evidence on these security challenges and other Niger Delta issues while at the same time
      observing that the Claimant had no opportunity to comment on Mr. Dare's evidence on these same
      matters.

  29. Claimant did not object to Mr. Dare's evidence on these matters, indeed some of the matters were
      raised in cross examination by Claimant. A refusal on the part of the majority opinion to apply
      probative value to such evidence elicited in cross examination by Claimant on the ground that
      Claimant did not have opportunity to comment on them, will be absurd and unfair.


  30. NGL YIELDS

  31. In relation to the yields, there are two major disagreements. The first relates to the probable times
      that the plant could operate. Claimant's experts argued that the Claimant should allow for only 10%
      of downtime (meaning 90% of uptime), whereas the Respondent's experts put the probable down
      time at about 50%. Again the difference owes to the respective assumptions of the parties and their
      experts. The Claimant assumes that there would be minimal interruption, and the Respondent
      assumes that significant d isruptions would have arisen from the Niger-Delta challenges and other
      intervening factors.

  32. I have already stated that a reasonable investor must contemplate the Niger-Delta issue. This can be
      two pronged ; first, as stated above, Calabar being in the Niger-Delta is not immune from the crisis
      that often manifest in that region and so it is not outside the realm of imagination or possibility that
      operations of the plant could be affected by such disturbances. The second aspect of such
      manifestation is the possibility of a disruption in the supply of wet gas to the plant in Calabar. This
      disruption can occur either at the plant in Calabar or even far away from Calabar depending on the
      location from where the wet gas is to be supplied to the plant.

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   33. In this second instance, the argument was made that it is the responsibility of the Respondent to
       ensure the supply of gas to the Claimant at the plant. That may well be so, but where the
       Respondent is prevented, by factors beyond its control from delivering such gas, certainly a claim
       of force majeure would avail the Respondent and therefore it is not unreasonable in estimating the
       frequency and regularity with which wet gas can be supplied to the plant over a period of time to
       consider the possibility, and indeed the probability, of disruption owing to such events. The
       combination of these possibilities will certainly reduce the uptime, and this is in addition to the
       normal maintenance time and such other periods or time that the plant may not be in operation.

   34. The flaw with the Claimant's expert's analysis is that they do not make allowance for these
       possibilities. They confine the probable periods that the plant will not operate to those times for
       maintenance and therefore discount any possibility of interruptions arising from other sources. In
       the circumstances, I am left with the Respondent's estimate in relation to these factors, and
       therefore accept the Respondent's estimates and hold that a period of uptime should be about s ixty
       percent (60%).

   35. The second major difference in the analysis of the experts for the parties is in relation to the
       proceeds in monetary term accruable to Claimant from the NGL. Both parties agree that the price of
       NGL tracks the price of crude oil; however Claimant states that the reference point of a projection
       of a cost of the NGL should be March 20 13 being the date on which the breach occurred.
       Since the price of crude oil was relatively high on that date, it would tend to have affected the
       estimates in an upward manner. Thus C laimant's expert puts the average price at over $100 per
       barre l.

  36. On the other hand, Respondent's experts would rather take into account the s ignificant fall in the
      price of crude oi I between 2014 and 201 5 with the result that their estimates are less rosy than the
      C laimant's. Similarly, because of the divergence in the estimate on uptime, the estimated yearly
      output by both s ides differs in material respects. C laimant's figures are higher because they have the
      higher percentage of estimated uptime whereas Respondent's figures are lower because they have a
      lower percentage of estimated uptime.

  37. It seems to me that while it may be appropriate to relate back to the date of the breach for the
      purposes of damages, it will be inappropriate for me to close my eyes to the evidence that the price
      of oil has fallen significantly and that future outlook may not be as positive as it was in 2013. To do
      otherwise w ill amount to playing the Ostrich. I am therefore persuaded that the projections of the
      Respondent's experts are more in consonance with reality and therefore more tenable. I therefore
      find that were it necessary to find the price of crude for 20 15-2035 the esti mates of the
      Respondent's experts would be a better forecast of such price.

  38. However in view of my dec ision on the obligation of the C laimant to mitigate damage, J hold that
      the relevant period is three years from (20 15-20 18). This is because although the breach occurred in
      20 13, if the contract had not been broken, the C laimant wouldn't have started enj oying the fruit
      thereof unti I 2 0 15.

  39. The totality of the ev idence reveals that the issue of Niger Delta crisis as affecting the facility
      uptime was clearly raised by the Respondent. C laimant' s position on this is that Calabar is insulated
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       from the phenomenon of the Niger Delta crisis and that the Respondent has not particularised
       incidents of disruption in Calabar as opposed to other parts of the Niger Delta region. Again the
       evidence of Mr. Dare proves the existence of that problem. It also indicates that the facility such as
       was envisaged by GSPA is not common in Nigeria let alone Calabar. In other words, it is essentially
       a trail blazer.

   40. To nitpick on whether the Niger Delta militants would have absolved a gas plant from its disruptions
       would be to ascribe to them a level of rationality and consideration inconsistent with their
       overarching campaign. Besides, it is clearly admitted that Calabar is in the Niger Delta region and to
       assume that the facility, if it had been established, would somehow be insulated from the social
       upheaval that has characterised that region, is not realistic. Again, it is to be noted that Mr. Dare
       testified to his factual knowledge of that area.

   41. The other issue in relation to the exact percentage of uptime or downtime is just a storm in a tea cup.
       Mr. Dare gave three figures of 40, 55 and 60 percent (all within the same ball-park). Certainly these
       are estimates by their very nature; it will be pretentious to assume that they would be exact. It is not
       a testimony on fact but a projection of what could have happened and so, necessarily, cannot be
       scientifically precise. His evidence clearly shows that the Niger Delta crisis would have had a
       significant impact on the operations of the plant. Certainly that evidence is preferable to that of the
       Claimant's experts which assumes that, and indeed wishes away, a phenomenon as pervasive and
       disruptive as the Niger Delta militancy and crisis in that region of which Calabar is a part.

  42. I find that the uptime or downtime as the case maybe is at a percentage equivalent to any of the
      figures (all of which are within the same ball-park) or their average. The Respondent certain ly cross
      examined Mr. Melling on the issue of down time and uptime.

  43. SUMMARY
  44. In summary, I am of the considered view that justice and fairness in this reference dictate that l ho ld
      as follows:

      I . I hold that the C laimant ought to have mitigated its loss and cannot sit and fold its hands for
          twenty years expecting a wi ndfall from the Respondent. As a result, I hold that the Claimant is
          entitled to damages for on ly three years.
      2. I hold that subject to I above, the operating expenditure (OPEX) that the Claimant could have
          incurred had the breach not occurred should not be less than $75million US dollars.
      3. I hold that subject to I above, the capital expenditure (CAP EX) should not be less than $US II ,
          986,000 US dollars
      4. I hold that had the project proceeded, the plant would operate for not more that 60% of the time
          in a year.

  45. FINALAWARD
  46. Having considered the relevant contract, correspondence and other documents put before me, and
      having carefully considered the written submissions of the parties, I HEREBY FIND, AWARD
      AND DECLARE as follows:

  The Respondent shall pay the Claimant the sum of $250million (250,000,000) US Do llars as damages
  for breach within ninety days from the date ofthis award . Since Article 20 of the GSPA which contained
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   the arbitration clause provides that the cost of this reference should be born equally by the parties and
   each party shall bear its own lawyer 's fees, I make no order as to cost except for any amount paid by the
   Claimant which the Respondent fa iled to pay; in which case such sum shall be refunded to the Claimant.


       Place of Arbitration: London, United Kingdom


      Dated the 31st Day of January 2017


    ~-F~~~~~~~~
       Bayo Ojo, SAN

      Arbitrator




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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                     PROCESS AND INDUSTRIAL
                     DEVELOPMENTS LIMITED,
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                                                           Petitioner,
                                              v.                                  Case No.   18-cv~00594-CRC


                     FEDERAL REPUBLIC OF NIGERIA AND                          ORAL ARGUMENT REQUESTED
                     MINISTRY OF PETROLEUM RESOURCES OF
                     THE FEDERAL REPUBLIC OF NIGERIA,
Filed: 04/01/2019




                                                        Res ondents.


                                            RESPONDENTS' MOTION TO DISMISS
                                        FOR LACK OF JURISDICTION UNDER THE FSIA

                            Respondents Federal Republic of Nigeria and the Ministry of Petroleum Resources of the

                     Federal Republic of Nigeria (together, "Nigeria"), by and through their undersigned counsel,
Document #1780490




                     hereby move to dismiss the petition to confirm a foreign arbitral award filed by Process and

                     Industrial Developments Limited (ECF No. 1) for lack of jurisdiction under the Foreign

                     Sovereign Immunities Act (the "FSIA"), 28 U.S.C. §§ I330, 1602 et seq. , pursuant to Rules

                     12(b)(l) and 12(b)(2) ofthe Federal Rules of Civil Procedure.

                            This motion is based on the accompanying Memorandum of Points and Authorities and
USCA Case #18-7154




                     the Declaration of Joseph D. Pizzurro, dated August 27,2018, filed concurrently herewith.




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                     Dated: Washington, D.C.
                            August 27, 2018
                                                                   Respectfu IIy submitted,

                                                                   CURTrS, MALLET-PREVOST,
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                                                                   COLT & MOSLE LLP

                                                                   By: Is! Joseph D. Pizzurro
                                                                   Joseph D. Pizzurro
                                                                   (D.C. Bar No. 468922)
                                                                   I 717 Pennsylvania Avenue, N.W.
                                                                   Washington, D.C. 20006
                                                                   Tel.: (202) 452-7373
Filed: 04/01/2019




                                                                   Fax: (202) 452-7333
                                                                   Email: jpizzurro@curtis.com

                                                                   -and-

                                                                   Kevin A. Meehan (pro hac vice pending)
                                                                   Juan 0. Perla (pro hac vice pending)
                                                                   I0 I Park Avenue
                                                                   New York, NY 10178
                                                                   Tel.: (212) 696-6000
Document #1780490




                                                                   Fax: (212) 697- I 559
                                                                   Email: kmeehan@curtis.com
                                                                   Email: jperla@curtis.com

                                                                   Allorneys for Respondents Federal
                                                                   Republic ofNigeria and Minisfly of
                                                                   Petroleum Resources of tile Federal
                                                                   Republic ofNigeria
USCA Case #18-7154




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                                                   UNITED STATES DISTRICf COURT
                                                   FOR THE DISTRICf OF COLUMBIA

                     PROCESS AND INDUSTRIAL
                     DEVELOPMENTS LIMITED,
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                                            Petitioner,
                                                                         Case No. 18-cv-594 (CRC)
                                            v.
                     FEDERAL REPUBLIC OF NIGERIA and
                     MINISTRY OF PETROLEUM
                     RESOURCESOFTHEFEDERAL
Filed: 04/01/2019




                     REPUBLIC OF NIGERIA,

                                            Respondents.


                                                           OPINION AND ORDER

                             Petitioner Process and Industrial Developments Limited ("P&ID") brought an action in

                     this Court to confirm an arbitral award against Respondents the Federal Republic ofNigeria and
Document #1780490




                     its Ministry of Petroleum Resources (together, "Nigeria"), pursuant to the 1958 Convention on

                     the Recognition and Enforcement of Foreign Arbitral Awards ("New York Convention").

                     Nigeria filed a Motion to Dismiss the Petition, claiming immunity under the Foreign Sovereign

                     Immunities Act ("FSIA"). In response, P&ID has filed what it styles a Motion for a Briefing

                     Schedule, which Nigeria opposes. In short, the parties disagree about how to proceed: P&ID's
USCA Case #18-7154




                     Motion asks the Court to continue under summary motions practice, which would require

                     Nigeria to present now all defenses- jurisdictional or otherwise- in response to the Petition.

                     Nigeria seeks instead an initial ruling on the Court's jurisdiction before briefing the merits of the

                     Petition. In light of analysis by the D.C . Circuit and another court in this district, the Court will

                     grant P&ID's Motion.

                             The FSIA immunizes a foreign state from suit except in limited circumstances. 28 U.S.C.

                     § 1604. The so-called arbitration exception allows actions against foreign states "to confirm an




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                     award made pursuant to . . . an agreement to arbitrate, if . .. the agreement or award is or may

                     be governed by a treaty or other international agreement in force for the United States calling for

                     the recognition and enforcement of arbitral awards[.]" ld. § 1605(a)(6). The New York
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                     Convention is one such international agreement and is codified in Chapter 2 of the Federal

                     Arbitration Act ("FAA"). See 9 U.S.C. § 20 I, et seq. The FAA directs courts to hear petitions

                     to confirm awards under the procedures governing motions practice.      & § 6.
                            Nigeria maintains that because the FAA docs not distinguish between sovereign and
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                     private respondents, the FSIA takes precedence and entitles it to an initial jurisdictional

                     determination. See Respondents' Opp' n to Mot. for Briefing Schedule ("Opp' n") at 5-7.

                     Nigeria' s reliance on the FSIA as a jurisdictional bar to confirming the award is familiar, but its

                     insistence on bifurcated proceedings is less common. Even when sovereign nations have filed

                     motions to dismiss such petitions, they have also filed responses on the merits, and courts
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                     typically have addressed all defenses together. See. e.e., Balkan Energy Ltd. v. Republic of

                     Ghana, 302 F. Supp. 3d 144, 149 (D.D.C. 20 18), appeal docketed, Case No. 18-7064 (D.C. Cir.

                     Apr. 30, 20 18); BC 8 Holdings Ltd. v. Gov't of Belize, 11 0 F. Supp. 3d 233, 238 (D.D.C. 20 15).

                            The D.C . Circuit's decision in TermoRio S.A. E.S.P. v. Electranta S.P., 487 F.3d 928

                     (D.C. Cir. 2007), charts the appropriate course here. It explained that the FAA's instruction in
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                     its Chapter I that "[a]ny application to the court .. . shall be made and heard in the manner . . .

                     for the making and hearing of motions," applies to its Chapter 2, which codifies the New York

                     Convention. ld. at 940 (first alteration in original) (quoting 9 U.S.C. § 6). The court concluded

                     that, as a consequence, "it appears that motions to enforce arbitral awards [pursuant to the New

                     York Convention] should proceed under motions practice, not notice pleading." ld. Importantly,




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                     the TermoRio respondents included Colombia, a sovereign under the FSIA, and the court gave

                     no indication that this fact altered its analysis.

                             Nigeria attempts to cabin TermoRio, contending that because the court "held that a
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                     petition is properly dismissed, as opposed to granted, in a summary procedure where the foreign

                     state voluntarily presented its jurisdictional and merits defenses at the same time," it "did not

                     address whether a motion to dismiss under the FSIA was sufficient as an initial response to a

                     petition to confirm an award." Opp'n at 7 n.3 (emphasis deleted). True, the procedural posture
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                     of that case differs from this one and the circuit did not answer the precise question before this

                     Court. But as P&ID notes, the TermoRio district court had found it had subject-matter

                     jurisdiction over the arbitration claim notwithstanding Colombia's invocation of the FSIA. See

                     TermoRio S.A. E.S.P. v. Electrificadora Del Atlantica S.A. E.S.P., 421 F. Supp. 2d 87, 93-94

                     (D.D.C. 2006). Assessing that decision, the D.C . Circuit found it "clear that the District Court
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                     [had] properly addressed [the] application for enforcement of the arbitration award" because it

                     had " reviewed [the] application and (the] response, reviewed the affidavits submitted by the

                     parties in support of their respective positions, and, on the basis of that review, arrived at its

                     judgment." TermoRio, 487 F. 3d at 940. More generally, TennoRio explained in detail how

                     cases brought pursuant to the New York Convention should proceed and gave no indication that
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                     the FSIA alters those procedures; its instruction is sufficiently broad to apply here. This Court

                     declines to ignore the circuit court's directive based on differences in procedural posture.

                             Another court in this district recently reached a similar conclusion. In Balkan Energy

                     Ltd. v. Republic of Ghana, a sovereign-nation respondent moved to dismiss for lack of

                     jurisdiction under the FSIA and submitted additional filings in which it raised merits defenses.

                     302 F. Supp. 3d at 149. The court depicted Ghana's procedural maneuvers as dubious, id., and



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                     cited TermoRio for the proposition that, pursuant to the FAA, "Ghana should have included all

                     arguments and supporting affidavits for denial of the Petition in its response to the Petition,

                     rather than submitting them in piecemeal fashion."      .!4:. at 149 n.2.
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                            Despite these decisions, Nigeria insists that it has an "absolute right to a definitive

                     sovereign immunity determination before being required to defend this lawsuit on the merits."

                     Opp'n at 2. But the cases it cites contemplate potentially arduous discovery and trial on the

                     merits. See. e.g., Bolivarian Republic of Venezuela v. Helmerich & Payne lnt'l Drilline Co.,
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                     137 S. Ct. 1312 (20 17) (lawsuit regarding liability for expropriation of property); Price v.

                     Socialist People's Libyan Arab Jamahiriya, 389 F.3d 192, 197 (D.C. Cir. 2004) (claim oftorture

                     and terrorism); Phoenix Consultinl! Inc. v. Republic of Angola, 216 F.3d 36,39 (D.C. Cir. 2000)

                     (noting, in breach of contract action, that FSIA creates "an immunity from trial and the attendant

                     burdens of litigation .... [and] to defer the question is to frustrate the significance and benefit of
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                     entitlement to immunity from suit." (emphasis added) (internal quotation marks and citation

                     omitted)). By contrast, the FAA's procedural provisions ensure swift resolution of P&ID's

                     Petition: Nigeria need only submit a single opposition to the Petition, to which P&ID must then

                     reply. This limited process does not rise to the level of discovery, trial, or other procedures from

                     which immunity is designed to shield foreign sovereigns. Cf. Balkan Energy, 302 F. Supp. 3d at
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                     157 (rejecting request for discovery to ensure that "proceeding remain summary in nature"

                     (internal quotation marks and citation omitted)).

                             Nigeria maintains that this case is distinct because it plans to present intricate defenses

                     including that "enforcement of the award would violate United States public policy against

                     contractual penalties and against imposing punitive damages on foreign states." Opp' n at 9. But

                     these types of merits defenses are " frequently raised" and "rarely ... successful." Balkan



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                     Enerl!y, 302 F. Supp. 3d at 158 (quoting BCB Holdinl!s Ltd., 110 F. Supp. 3d at 249)). Nigeria's

                     ostensibly complex merits defenses may succeed, but their mere invocation is insufficient to

                     upend the FAA procedures that the D.C. Circuit has directed this Court to follow. And, in any
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                     event, Nigeria has not explained how separate jurisdictional and merits stages, with attendant

                     appeals, would alleviate its burdens relative to the ordinary process of a single round of briefing

                     under motions practice.

                               For the foregoing reasons, it is hereby
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                               ORDERED that [31] Petitioner's Motion to Set a Briefing Schedule is GRANTED. It is

                     further

                               ORDERED that parties shall adhere to a briefing schedule as follows: Respondents shall

                     tile their opposition to [I] Petition to Confirm Arbitration Award on or before October 31, 20 18;

                     Petitioner shall tile its reply on or before November 21, 2018. It is further
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                               ORDERED that Respondents' opposition to [I] Petition to Confirm Arbitration Award

                     shall include all jurisdictional and merits arguments that it asks the Court to consider.

                               SO ORDERED.
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                                                                                   CHRISTOPHER R. COOPER
                                                                                   United States District Judge

                     Date: October I. 20 18




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 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF COLUMBIA

 PROCESS AND INDUSTRIAL
 DEVELOPMENTS LIMITED,

                                        Petitioner,
                           v.                                   Case No. 18-cv-00594-CRC

 FEDERAL REPUBLIC OF NIGERIA AND
 MINISTRY OF PETROLEUM RESOURCES OF
 THE FEDERAL REPUBLIC OF NIGERIA,

                                     Respondents.

                                      NOTICE OF APPEAL

        Notice is hereby given that Respondents Federal Republic of Nigeria and the Ministry of

 Petroleum Resources of the Federal Republic of Nigeria (together, “Nigeria”), hereby appeal to

 the United States Court of Appeals for the District of Columbia Circuit from this Court’s

 Opinion and Order dated October 1, 2018 [ECF No. 34] (“Order”) requiring Nigeria to defend

 the merits of the petition to confirm an arbitral award (“Petition”), filed by Process and Industrial

 Developments Limited (“P&ID”), before Nigeria’s assertion of sovereign immunity has been

 conclusively resolved under the Foreign Sovereign Immunities Act (“FSIA”).

        By requiring Nigeria to defend this lawsuit on the merits before a conclusive and

 authoritative decision on its sovereign immunity has been reached, the Order has the effect of

 abrogating Nigeria’s immunity from suit, i.e., “immunity not only from liability, but also from

 the costs, in time and expense, and other disruptions attendant to litigation.” Kelly v. Syria Shell

 Petroleum Dev. B.V., 213 F.3d 841, 849 (5th Cir. 2000). See Butler v. Sukhoi Co., 579 F.3d

 1307, 1311 (11th Cir. 2009) (“Inasmuch as the order on appeal required appellants to answer the

 complaint and called for discovery, it denied them immunity from suit under the FSIA.”); In re

 Republic of the Philippines, 309 F3d 1143, 1149 (9th Cir. 2002) (“We agree with the Republic




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 that the district court should have addressed the merits of the immunity question first in order to

 preserve the immunity that may be determined to exist.”); United States v. Moats, 961 F.2d 1198,

 1201, 1203 (5th Cir. 1992) (finding that a denial of immunity had occurred, even though “the

 district court did not specify lack of immunity,” because “the effect of the order [was] to require

 Pemex to defend the lawsuit,” and observing that “sovereign immunity is an immunity from the

 burdens of becoming involved in any part of the litigation process”); see also Blue Ridge Invs.,

 L.L.C. v. Republic of Argentina, 735 F.3d 72, 80 (2d Cir. 2013) (explaining that a denial of

 immunity from suit is no less injurious simply because the underlying action is based on a

 petition to confirm an arbitral award, rather than an action implicating a trial). Thus, as a denial

 of jurisdictional immunity under the FSIA, the Order is immediately appealable pursuant to the

 collateral order doctrine. See Princz v. Fed. Republic of Germany, 998 F.2d 1, 1 (D.C. Cir.

 1993) (per curiam) (Ginsburg, R.B., & Wald, J.J.); Butler, 579 F.3d at 1311; Republic of the

 Philippines, 309 F3d at 1149; Moats, 961 F.2d at 1201; Blue Ridge, 735 F.3d at 72.

        Accordingly, this Court has been divested of jurisdiction to resolve the merits of P&ID’s

 petition, and these proceedings are effectively stayed, pending the D.C. Circuit’s resolution of

 Nigeria’s appeal from the denial of its jurisdictional immunity under the FSIA. See Princz, 998

 F.2d at 1; Tatneft v. Ukraine, No. 17-cv-582-CKK, 2018 U.S. Dist. LEXIS 152356, at *2

 (D.D.C. May 2, 2018); see also In re Socialist People’s Libyan Arab Jamahiriya, No. 04-7038,

 2004 U.S. App. LEXIS 7244, at *1 (D.C. Cir. Apr. 13, 2004) (per curiam) (Edwards, Randolph,

 & Garland, J.J.) (granting writ of mandamus requiring the district court to halt “any and all

 proceedings” pending resolution of an appeal from a denial of foreign sovereign immunity).




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 Dated: Washington, D.C.
        October 5, 2018

                                          Respectfully submitted,

                                          CURTIS, MALLET-PREVOST,
                                          COLT & MOSLE LLP

                                          By: /s/ Joseph D. Pizzurro
                                          Joseph D. Pizzurro
                                          (D.C. Bar No. 468922)
                                          1717 Pennsylvania Avenue, N.W.
                                          Washington, D.C. 20006
                                          Tel.: (202) 452-7373
                                          Fax: (202) 452-7333
                                          Email: jpizzurro@curtis.com

                                          -and-

                                          Kevin A. Meehan (pro hac vice)
                                          Juan O. Perla (pro hac vice)
                                          101 Park Avenue
                                          New York, NY 10178
                                          Tel.: (212) 696-6000
                                          Fax: (212) 697-1559
                                          Email: kmeehan@curtis.com
                                          Email: jperla@curtis.com

                                          Attorneys for Respondents Federal
                                          Republic of Nigeria and Ministry of
                                          Petroleum Resources of the Federal
                                          Republic of Nigeria




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                                                  UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF COLUMBIA
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                      PROCESS AND INDUSTRIAL
                      DEVELOPMENTS LIMITED,

                                            Petitioner,

                                            v.                          Case No. 18-cv-594 (CRC)
Filed: 04/01/2019




                      FEDERAL REPUBLIC OF NIGERIA and
                      MINISTRY OF PETROLEUM
                      RESOURCES OF THE FEDERAL
                      REPUBLIC OF NIGERIA,

                                             Respondents.
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                                                          OPINION AND ORDER

                             Petitioner Process and Industrial Developments Limited ("P&ID") seeks to confirm an

                     arbitral award against Respondents the Federal Republic of Nigeria and its Ministry of Petroleum

                     Resources (together, "Nigeria"), pursuant to the 1958 Convention on the Recognition and

                     Enforcement of Foreign Arbitral Awards, codified in Chapter 2 of the Federal Arbitration Act
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                     ("FAA''). See 9 U.S.C. § 20 I, et seq. In its initial response to P&ID's Petition, Nigeria moved

                     to dismiss for lack of jurisdiction under the Foreign Sovereign Immunities Act ("FSIA"), which

                     allows courts to hear cases against foreign states only in limited circumstances. 28 U.S.C. §

                     1604.

                             P&ID objected that, because the FAA calls for single responses to petitions to enforce

                     arbitral awards, Nigeria improperly sought to bifurcate this proceeding into a jurisdictional phase

                     and a merits phase. See Petitioner's Motion for Briefing Schedule, ECF No. 31. The Court




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                     agreed and ordered Nigeria to file a response to the Petition that included all jurisdictional and

                     substantive defenses. See Order Granting Motion for Briefing Schedule, ECF No. 34

                     ("Scheduling Order").
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                            Rather than comply with the Order, Nigeria appealed, contending that the Court's Order

                     abrogated its sovereign immunity and that it is entitled to a definitive jurisdictional decision

                     before briefing the merits of its defense. Notice of Appeal, ECF No. 35. The Court stayed

                     proceedings because an appeal typically divests it of jurisdiction. October 9, 2018 Minute Order.
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                     P&ID now moves to lift that stay and asks the Court to re-assert jurisdiction by certifying the

                     appeal as invalid or frivolous. Petitioner' s Motion to Certify Appeal as Invalid or Frivolous,

                     Retain Jurisdiction, and Lift Stay, ECF No. 37 (''Petitioner's Motion"). While P&ID may well

                     be correct that Nigeria's appeal is dilatory, the Court cannot conclude that it is wholly invalid or

                     frivolous. Because the question of whether this interlocutory appeal is appropriate goes to the
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                     D.C. Circuit's own jurisdiction and is best answered there, this Court will deny P&ID's motion.

                       I.    Analysis

                            Generally, appeal is appropriate only when a district court has issued a " final decision[],"

                     28 U.S.C. § 1291, that "leaves nothing for the court to do but execute the judgment,'' Catlin v.

                     United States, 324 U.S. 229, 233 (1945). Nigeria's appeal here invokes one of several
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                     exceptions: A denial of sovereign immunity is immediately reviewable on interlocutory appeal.

                     See, e.g., Princz v. Fed. Republic ofGermany, 998 F.2d 1, 1 (D.C. Cir. 1993) (per curiam).

                             Yet interlocutory review is available only if an order"( 1) conclusively determine[s] the

                     disputed question, (2) resolve[s] an important issue completely separate from the merits of the

                     action, and (3) [is] effectively unreviewable on appeal from a final judgment." Will v. Hallock,




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                     546 U.S. 345, 349 (2006) (quoting P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddv. Inc .• 506

                     u.s. 139, 144 (1993)).
                            ..A non-frivolous appeal from the district court's order divests the district court of
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                     jurisdiction .. . and the district court may not proceed until the appeal is resolved.'' Bombardier

                     Corn. v. National R.R. Passenger Corn., No. 02-7125, 2002 WL 31818924, at* I (D .C. Cir. Dec.

                     12, 2002) (per curiam). But ''[i]t is settled that a notice of appeal from an unappealable order

                     does not divest the district court of jurisdiction.'' McKesson HBOC. Inc. v. Islamic Republic of
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                     Iran, 315 F. Supp. 2d 63, 66 (D.D.C. 2004). In such instances, "a notice of appeal [is] so

                     baseless that it does not invoke appellate jurisdiction," and the district court can retain

                     jurisdiction. Apostol v. Gallion. 870 F.2d 1335, 1339 (7th Cir. 1989).

                             P&ID's contention that Nigeria's appeal is invalid or frivolous rests largely on the notion

                     that the Court has not yet ruled on Nigeria's immunity and so the Scheduling Order did not
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                     conclusively determine the matter. Its point is sound: The Court's Order did not reject the

                     immunity defense, but merely required Nigeria to follow FAA procedures and submit a single

                     response that raised all defenses for simultaneous adjudication.

                             Nevertheless, Nigeria presents a non-frivolous theory that the Order is immediately

                     reviewable because it had the effecl of abrogating sovereign immunity. See Respondents'
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                     Opposition to Motion to Certify Appeal as Invalid or Frivolous, Retain Jurisdiction, and Lift

                     Stay, ECF No. 38, at 9; see uenerallv, Notice of Appeal. lfthe Court had rejected its immunity

                     defense, Nigeria would have been forced to submit a merits defense. Here, in rejecting its

                     procedural gambit, the Court's Order had the same consequence.

                             It bears repeating that the consequence of the Court's Order is not particularly

                     burdensome on Nigeria. See Scheduling Order at 4 (FAA procedures "ensure swift resolution"




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                     and require Nigeria to submit only a single response to the petition, a " limited process [that] does

                     not rise to the level of discovery, trial, or other procedures from which immunity is designed to

                     shield foreign sovereigns."). In fact, the bifurcated process Nigeria seeks would likely aggravate
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                     its litigation burdens relative to the FAA's summary procedures.

                            Nonetheless, the Circuit has never had occasion to determine the question presented here:

                     Whether a sovereign state may seek interlocutory appeal of a procedural order requiring it to act

                     before determination of its claimed sovereign immunity. A "crucial question" in this
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                     determination " is whether deferring review until final judgment so imperils the interest [at stake]

                     as to justify the cost of allowing immediate appeal[.]" Mohawk Indus .. Inc. v. Carpenter, 558

                     U.S. I 00, I08 (2009). The Court recognizes the sensitive nature of the interests protected by

                     sovereign immunity-denial of such immunity is immediately appealable precisely because of

                     its sensitivity. The political branches have carved out narrow exceptions to the principle that
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                     foreign sovereigns should not be dragged into U.S. courts, and there may be important policy

                     reasons for bifurcating the process here despite the FAA's call for summary procedures. That is

                     a question the Circuit has not yet answered squarely. See Scheduling Order at 3.

                             Given the effects of its Scheduling Order, the Court cannot conclude that Nigeria' s

                     contentions are so baseless as to assert jurisdiction despite the Notice of Appeal. P&ID remains
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                     free, of course, to press its jurisdictional arguments at the Circuit.




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                      II.   Conclusion

                            For the foregoing reasons, it is hereby

                            ORDERED that [37] Petitioner's Motion to Certify Respondents' Appeal as Invalid or
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                     Frivolous, Retain Jurisdiction, and Lift Stay is DENIED.

                            SO ORDERED.
Filed: 04/01/2019




                                                                                CHRISTOPHER R. COOPER
                                                                                United States District Judge

                     Date: November I. 2018
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